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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    PGX HOLDINGS, INC., et al., 1                               )        Case No. 23-10718 (CTG)
                                                                )
                              Debtors.                          )        (Joint Administration Requested)
                                                                )

                  DECLARATION OF CHAD WALLACE,
           CHIEF EXECUTIVE OFFICER OF PGX HOLDINGS, INC.,
IN SUPPORT OF DEBTORS’ CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS

             I, Chad Wallace, hereby declare under penalty of perjury:

             1.     I am the Chief Executive Officer and President of PGX Holdings, Inc. and certain

of its affiliated debtors and debtors in possession (collectively, with their Debtor affiliates,

the “Debtors” and, together with their non-Debtor affiliate CreditCo Limited, but excluding their

Debtor affiliate Lexington Law Firm, “PGX”). 2 PGX Holdings, Inc. is a private company based

in Salt Lake City, Utah, organized under the laws of Delaware, and a debtor and debtor in

possession in the above-captioned cases along with 11 of its direct and indirect subsidiaries.

             2.     I joined PGX as Director of Finance and Accounting in February 2014 and was

promoted to Vice President of Finance in 2018. In April 2023, I became the Chief Executive

Officer. I have over 16 years of experience with public and private companies, have held an SEC




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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are:      PGX Holdings, Inc. (2510); Credit Repair UK, Inc. (4798); Credit.com, Inc. (1580);
      Creditrepair.com Holdings, Inc. (7536); Creditrepair.com, Inc. (7680); eFolks Holdings, Inc. (5213);
      eFolks, LLC (5256); John C. Heath, Attorney At Law PC (8362); Progrexion ASG, Inc. (5153); Progrexion
      Holdings, Inc. (7123); Progrexion IP, Inc. (5179); Progrexion Marketing, Inc. (5073); and
      Progrexion Teleservices, Inc. (5110). The location of the Debtors’ service address for purposes of these chapter
      11 cases is: 257 East 200 South, Suite 1200, Salt Lake City, Utah 84111.
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      Capitalized terms used but not immediately defined herein have the meanings given to them in other sections
      herein.
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reporting position at Skullcandy, and prior to that, was a manager in assurance services at Ernst &

Young. I hold both a Bachelor’s of Science and an MBA from Weber State University.

        3.      Each of the Debtors filed voluntary petitions for relief under chapter 11 of the

United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), with the United States

Bankruptcy Court for the District of Delaware (the “Court”) on June 4, 2023 (the “Petition Date”).

To minimize the adverse effects on their business, the Debtors filed motions and pleadings seeking

various forms of relief (collectively, the “First Day Motions”).        I submit this declaration

(the “Declaration”) to assist the Court and the parties in interest in understanding the

circumstances that compelled the commencement of these chapter 11 cases and in support of the

Debtors’ chapter 11 petitions and the First Day Motions filed contemporaneously herewith.

        4.      As Chief Executive Officer of PGX, I am familiar with the day-to-day operations,

business and financial affairs, and books and records of PGX Holdings and its direct and indirect

debtor subsidiaries. I am also familiar with the main aspects of the business and financial affairs

of affiliated Debtor Lexington Law Firm, to which PGX provides comprehensive operational

support services under a set of Operating Agreements. Except as otherwise indicated, all facts set

forth in this Declaration are based upon my personal knowledge, my discussions with other

members of the Debtors’ management team and advisors (including the teams from Alvarez &

Marsal North America, LLC (“A&M”) and Greenhill & Co., LLC (“Greenhill”) who are working

under my supervision), my review of relevant documents and information concerning the Debtors’

operations, financial affairs, and restructuring initiatives, or my opinions based upon my

experience and knowledge. I am over the age of 18 and am authorized to submit this Declaration

on behalf of the Debtors. If called as a witness, I could and would testify competently to the facts

set forth in this Declaration.




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                                           Introduction

       5.      PGX is a technology and services company that specializes in credit report repair

services and consumer credit education. One of the nation’s leading credit repair service providers,

PGX helps customers repair their credit and achieve their credit goals. Setting the industry

standard for transparency, cutting edge technology-enabled solutions, and quality customer

service, PGX assists consumers with accessing and understanding the information contained in

their credit reports, ensures the information contained in those reports is fair, accurate, and

substantiated, educates consumers to make better financial decisions and build positive credit, and

helps to address other factors that may negatively impact customers’ credit scores.

       6.      PGX owns the consumer-facing brands and trademarks “Lexington Law,”

“CreditRepair.com,” and “Credit.com.” The Lexington Law brand is licensed to Debtor John C.

Heath, Attorney at Law P.C. (“Lexington Law Firm”), an independently-owned Utah professional

corporation that provides credit repair legal services directly to its clients. Through a set of

Operating Agreements, PGX provides comprehensive operational support services to Lexington

Law Firm, including marketing, custom proprietary software, technology, and administrative

services.

       7.      Consumers of credit nationwide have benefitted from the life-changing products

and services delivered by the Debtors. Today, the Debtors provide their products and services to

their 130,000 current customers who seek options to understand and improve their credit profile.

The Debtors’ customers, on average, see five negative items removed from their credit reports in

just six months. Overall, 71% of consumers see a credit score increase when using PGX’s

products. Of those consumers who saw a credit score increase, 79% saw an average improvement

of 40 points in their TransUnion credit score.




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       8.      Notwithstanding significant growth of the Debtors’ businesses in the period leading

up to 2016, since that time, these businesses have faced an increasingly challenging operational

environment, ongoing litigation with the Consumer Financial Protection Bureau (the “CFPB”),

and, ultimately, severe liquidity constraints.

       9.      On May 2, 2019, the CFPB filed a complaint against several PGX entities and

Lexington Law Firm in the case styled Bureau of Consumer Financial Protection v. Progrexion

Marketing, Inc., et al., Case No. 2:19-CV-00298-BSJ (the “CFPB Litigation”), currently pending

in the United States District Court for the District of Utah (the “District Court”). The CFPB

Litigation alleges the following under five counts: (a) certain violations of 16 C.F.R. § 310.4(a)(2),

which is the advance fee provision of the Telemarketing Services Rule (the “TSR”), under Count I,

and (b) various unlawful deceptive acts or practices, under Counts II˗V. Under Count I of the

complaint, the CFPB alleges that the TSR makes it unlawful for the Debtors to bill for credit repair

services until (a) the time frame represented for the delivery of all such services has expired and

(b) the seller has provided the customer with a credit report demonstrating promised results issued

more than six months after such results were achieved. Under Counts II˗V, the CFPB alleges,

among other things, that various unaffiliated third parties that refer customers to the Debtors have

made misleading statements to such customers about the efficacy of the Debtors’ services. The

Debtors deny the allegations in the CFPB Litigation and for years have vigorously defended the

lawsuit.

       10.     On March 10, 2023, the District Court granted a partial summary judgment against

the Debtors on Count I of the CFPB Litigation. In response to the ruling and upon the expiration

of an administrative stay following the ruling, the Debtors shut down approximately 80% of their

business, including their call center, and laid off approximately 900 employees, for the purpose of




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bringing the business into compliance with the interpretation of the TSR reflected in the District

Court’s ruling. Although the District Court has not yet made a determination on the remedies

resulting from its ruling on Count I, the CFPB has demanded nearly $3 billion in restitution or

refunds and other monetary relief and has requested certain injunctive relief.

       11.     In 2022, the Debtors had combined annual revenues of approximately $388 million.

As of the Petition Date, the Debtors have approximately $4 million in cash on hand. PGX has

approximately $423.5 million of funded debt, consisting of:

               •      approximately $243.5 million under a first lien credit facility secured by
                      substantially all the assets of PGX; and

               •      approximately $180.0 million under a second lien credit facility secured by
                      the same collateral.

Lexington Law Firm has no prepetition funded debt but it is a defendant to Count I in the CFPB

Litigation. John C. Heath, the directing attorney at Lexington Law Firm, owns 99% of its equity,

with the other 1% being owned by another attorney licensed in Utah.

       12.     The adverse ruling on Count I of the CFPB Litigation and the resulting shuttering

of a significant portion of the Debtors’ businesses immediately put severe stress on the Debtors’

operations. Accordingly, the Debtors retained Kirkland & Ellis LLP (“K&E”), Klehr Harrison

Harvey Branzburg LLP, A&M, and Greenhill to assist with contingency planning for potential

chapter 11 proceedings. Additionally, both PGX and Lexington Law Firm have appointed

independent directors (in the case of Lexington Law Firm, a licensed attorney) to their respective

boards and have hired Landis Rath & Cobb LLP (“Landis”) and Pachulski Stang

Ziehl & Jones LLP (“Pachulski”) as conflicts counsel, respectively. The Debtors also retained a

consumer privacy expert, Frejka PLLC, to address privacy issues and concerns related to potential

business transactions. In particular, Frejka PLLC is reviewing the Debtors’ privacy policies, terms

and conditions, and related data collection and marketing practices, and interfacing with potential


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third parties regarding the collection and permitted uses of personally identifiable information.

The Debtors also immediately began engaging with the secured lenders regarding a holistic

restructuring transaction to be effectuated through a chapter 11 process, which would include a

potential debtor-in-possession financing facility and one or more stalking horse bids for

substantially all the assets of PGX.

       13.     To that end, shortly before the Petition Date, the Debtors entered into the following

prepetition transactions to facilitate these chapter 11 cases:

               •       DIP Facility. A commitment for a $19.925 million new money super-
                       priority debtor-in-possession financing facility (the “DIP Facility”),
                       including $12 million on an interim basis, to be provided by Blue Torch and
                       Prospect, incurred on a joint and several basis by all Debtors, and secured
                       by a priming lien on substantially all of their assets. The DIP Facility will
                       also feature a roll-up of prepetition debt in the amount (a) $2.9 million,
                       which corresponds to the amount of the emergency bridge financing
                       provided the week before the Petition Date, subject to entry of the Interim
                       Order, and (b) $39.85 million, subject to entry of the Final Order. The DIP
                       Facility matures 105 days after the Petition Date.

               •       Stalking Horse Bids. The Debtors have negotiated and will enter into two
                       asset purchase agreements (together, the “APAs”) for each of PGX and
                       Lexington Law Firm. Under the APAs, a new entity to be formed by the
                       secured lenders will purchase substantially all the assets of PGX and a new
                       entity to be formed by the current equity holders of Lexington Law will
                       purchase substantially all the assets of Lexington Law Firm, subject in each
                       case to a court-approved overbidding process.

               •       Restructuring Support Agreement. The Debtors also entered into a
                       restructuring support agreement (the “Restructuring Support Agreement”)
                       with the secured lenders and equity holders pursuant to which they agreed
                       to contribute certain proceeds of the sale in order to effectuate an orderly
                       wind-down of the Debtors’ estates and support a liquidating chapter 11 plan
                       if the Debtors determine that a liquidating chapter 11 plan is in the best
                       interests of the estates.




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        14.      The DIP Facility, the APAs, and the Restructuring Support Agreement contain the

following milestones, among others, for a sale process for substantially all the assets of the Debtors

under section 363 of the Bankruptcy Code: 3

                 •   No later than two (2) calendar days after the Petition Date, the Debtors shall file
                     an appropriate motion with the Bankruptcy Court for the sale of any of the
                     Debtors’ assets pursuant to Section 363 of the Bankruptcy Code and the bid
                     procedures (the “Bid Procedures”) that establishes a date that is no later than
                     sixty (60) calendar days after the Petition Date as the deadline for the
                     submission of binding bids with respect to their assets;

                 •   No later than four (4) Business Days after the Petition Date, the Bankruptcy
                     Court shall have entered the Interim DIP Order;

                 •   No later than twenty-five (25) calendar days after the Petition Date, the
                     Bankruptcy Court shall have entered the Final DIP Order, subject to the
                     availability of the Bankruptcy Court to conduct the final hearing on the DIP
                     Facility;

                 •   No later than thirty (30) calendar days after the Petition Date, obtain entry by
                     the Bankruptcy Court of an order approving the Bid Procedures (the “Bid
                     Procedures Order”), which order shall be in form and substance acceptable to
                     the DIP Agent at the direction of the Required DIP Lenders;

                 •   No later than sixty-five (65) calendar days after the Petition Date, the Debtors
                     shall commence an auction for the Acquired Assets, in accordance with the Bid
                     Procedures Order; provided that if there is no higher or better offer submitted
                     in comparison to the stalking horse bid(s), no auction shall be held;

                 •   No later than seventy (70) calendar days after the Petition Date, the Bankruptcy
                     Court shall have entered one or more sale order(s) (which shall be in form and
                     substance acceptable to Required DIP Lenders) approving each of the winning
                     bid(s) resulting from such sale(s); and

                 •   Consummation of the sale and transactions contemplated thereby shall occur no
                     later than the date that is one hundred and five (105) calendar days after the
                     Petition Date.




3
    Capitalized terms used but not immediately defined herein have the meanings given to them in the DIP Facility
    documents or Restructuring Support Agreement documents, as applicable.



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       15.     Pursuant to this sale process, the Debtors intend to seek court approval of a sale of

substantially all of their assets free and clear of all claims, interests, and encumbrances, including

obligations stemming from the CFPB Litigation. Time is of the essence in consummating the sale.

The Debtors’ businesses, which have been significantly downsized, are rapidly burning cash and

cannot afford an extended stay in chapter 11. The Debtors vigorously negotiated for the largest

postpetition financing commitment and longest maturity possible to afford enough time to market

their assets, but ultimately were unable to obtain a larger committed amount, longer maturity, or

longer milestones than those contained in the DIP Facility. Absent consummation of a sale on the

timeline contemplated by the DIP Facility, I believe the Debtors’ businesses would be at significant

risk of liquidating, which would cost jobs, erode recoveries for creditors, and prevent hard-working

customers from receiving these vital services.

       16.     Against that backdrop, the Debtors ultimately commenced these chapter 11 cases

to fully and fairly resolve their liabilities in an effective, efficient, expeditious, and centralized

forum under the Bankruptcy Code. The Debtors are singularly focused on preserving value for

stakeholders enterprise-wide, preserving jobs, and maintaining the ability to deliver best-in-class

credit repair services to enable their customers to maximize their participation in society.

The Debtors believe that commencing a sale process as expeditiously as possible and allowing

potential purchasers, including the stalking horse bidder, to implement a refreshed strategy for a

new business based on the updated interpretation of the law advanced by the CFPB through

consummation of one or more in-court restructuring transactions and utilizing the tools of the

Bankruptcy Code will maximize the value of the Debtors’ estates.




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         17.        To familiarize the Court with the Debtors, their businesses, the circumstances

leading to these chapter 11 cases, and the relief the Debtors seek in the First Day Motions, this

Declaration is organized as follows:

               •    Part I provides an overview of the Debtors’ corporate history, structure, and
                    business operations;

               •    Part II describes the Debtors’ prepetition capital structure;

               •    Part III describes the circumstances leading to the filing of these chapter 11 cases;

               •    Part IV describes the Debtors’ proposed debtor-in-possession financing and use of
                    cash collateral; and

               •    Part V and Exhibit A attached hereto provides the factual support for the Petitions
                    and the First Day Motions.

                                                 Discussion

I.       The Debtors’ Corporate History, Structure, and Business Operations.

         A.         PGX’s Corporate History, Structure, and Business Operations.

         18.        There are few business records in a person’s life more important than their credit

reports with the three major credit reporting agencies, Experian, Equifax, and TransUnion.

A spotless credit report and favorable credit score are “must-haves” for consumers looking for

competitive car loans, mortgages, credit cards, insurance, and the multiplicity of other credit

products consumers use every day to participate in the global economy and society and provide

for their families. Credit reporting also impacts consumers’ employment opportunities, as many

employers run credit checks on potential employees. But despite the critical importance of fair

and accurate credit reporting, as many as one in four American consumers carry on with a

“potentially material error” on their credit report. 4 Correcting these errors may mean the difference




4
     See Statement of Federal Trade Commissioner Julie Brill on the Federal Trade Commission’s Sixth and Final
     Report to Congress Under Section 319 of the Fair and Accurate Credit Transactions Act of 2003, January 21,


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between a lower and higher credit risk tier and resulting access to superior credit products, job

opportunities, and other benefits for hard-working consumers who are otherwise safe credit risks.

       19.     Enter the “credit repair” industry. PGX was founded more than 20 years ago with

three goals: (a) to establish credit repair as a necessary and full participant in the credit risk

analysis and reporting ecosystem; (b) to facilitate expeditious and accurate delivery of credit repair

services to consumers through leveraging proprietary, industry-standard predictive technology;

and (c) to crystallize credit repair businesses in the mind of the American consumer as an

invaluable consumer advocacy service. In short, PGX was founded to serve as the primary

technology-enabled destination for hard working Americans seeking to improve their financial

well-being.

       20.     Over two decades later, PGX has largely delivered on these goals. PGX has grown

into the premier credit repair services provider in the United States. In 2012, PGX established the

“CreditRepair.com” brand to deliver direct-to-consumer credit report repair services. In 2015,

PGX acquired the “Credit.com” brand, adding to its business one of the first internet-based credit

education, information, and products and services companies focused on consumer access to free

credit scores and related educational content and tools. Today, with its headquarters in Salt Lake

City, Utah, PGX employs approximately 300 full-time employees, and generated approximately

$335 million in revenue in 2022.




   2015, available at https://www.ftc.gov/public-statements/2015/01/statement-commissioner-brill-federal-trade-
   commissions-sixth-final-report.



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       21.        PGX’s business is divided into four segments, corresponding to products and

services offered to consumers:

             •    Awareness and Education. PGX offers consumers access to financial products
                  and numerous educational resources to help make smart financial decisions and
                  build positive trade lines.

             •    Credit Repair. Credit repair is the principal business unit for PGX and its
                  consumer-facing brand, CreditRepair.com. The service leverages the Fair Credit
                  Reporting Act and other consumer protection statutes to work directly with
                  creditors and credit bureaus in verifying the information found in consumer credit
                  reports. Inaccurate or unverifiable information must be removed in accordance
                  with applicable law. PGX and Lexington Law Firm have been successful in
                  empowering consumers to have consumer reporting agencies remove tens of
                  millions of inaccurate or unverifiable negative items from consumer credit reports.

             •    Credit Care. In exchange for a fee, PGX helps consumers understand the
                  information found in their credit reports, while monitoring and protecting that
                  information to prevent the errors that can later require credit repair. Care services
                  also provide other protections for consumers including identity theft protection.

             •    Lexington Law Firm Services. Pursuant to the Operating Agreements, PGX
                  provides Lexington Law Firm with vital non-legal operational support and services.
                  PGX, among other things, advertises and helps engage clients for Lexington Law
                  Firm’s credit repair services, in compliance with the rules of professional conduct
                  applicable to Lexington Law Firm. PGX also provides proprietary software and
                  administrative, operational, and technological support. Lexington Law Firm pays
                  PGX for these services pursuant to the Operating Agreements. In the twelve-month
                  period before the Petition Date, PGX derived approximately 87% of its revenue
                  from provision of operating services to Lexington Law Firm.

       22.        PGX offers many of its products and services to consumers at no cost, and for those

products and services for which it charges, PGX may charge as little as $74.95 per month under

contracts cancelable at any time without additional charge, and in all respects compliant with

applicable laws and regulations.         The services PGX provides to consumers are hugely

impactful: for example, consumers using PGX’s CreditRepair.com branded services over the

course of just a six-month period see an average of 5 negative items removed from their credit

reports. Overall, 71% of consumers see a credit score increase when using PGX’s products. Of




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those consumers who saw a credit score increase, 79% saw an average improvement of 40 points

in their TransUnion credit score.

       23.     As set forth on the structure chart attached as Exhibit B, Debtor

PGX Holdings, Inc. is the parent company of PGX, and has 12 wholly-owned direct and indirect

subsidiaries, 11 of which are Debtors in these chapter 11 cases. Non-Debtor PGX TopCo LLC, a

subsidiary of non-Debtor publicly-traded closed-end investment company Prospect Capital

Corporation (“Prospect”), owns the majority of the equity of Debtor PGX Holdings, Inc. pursuant

to that certain Transfer Agreement (as defined below).

       B.      Lexington Law Firm’s Corporate History, Structure, and Business
               Operations.

       24.     John C. Heath, Attorney at Law, P.C. is a Utah-based law firm, organized as a

professional corporation under Utah state law, that does business as “Lexington Law.” Lexington

Law Firm is independently owned by Utah-licensed attorneys John C. Heath and Eric Kamerath,

who serves as the Chief Legal Officer of PGX. Mr. Heath, who currently serves as the Chief

Executive Officer and Directing Attorney at Lexington Law Firm, took on his leadership role at

Lexington Law Firm in 2004 and reoriented the primary focus of the firm’s practice to consumer

credit report repair. Since Mr. Heath’s involvement with the firm, Lexington Law Firm has grown

into one of the nation’s top providers of legal representation in the consumer credit report repair

field. Servicing 50 states, Lexington Law Firm employs around 13-15 internal attorneys and

currently around 50 additional personnel in support of the legal representation for clients.

       25.     Lexington Law Firm offers customers a multi-tiered recurring service model, which

at all levels of service includes representation and advice related to challenges with the major credit

reporting agencies and creditors, assistance with credit inquiries, provision of identity theft

insurance through insurance partners, and access to certain proprietary technology tools (many of



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which are operated by PGX through the Operating Agreements) that provide customers with

customized credit repair advice.

       26.        Since 2004, PGX has provided Lexington Law Firm with vital operational support

and services pursuant to certain contracts between PGX entities and Lexington Law Firm

(collectively, as each may have been amended, restated, supplemented, or otherwise modified from

time to time, the “Operating Agreements”). The Operating Agreements consist of the following:

             •    The Software Licensing Agreement. Pursuant to that certain Amended and
                  Restated Intellectual Property Licensing and Custom Software Hosting Services
                  Agreement, by and between Progrexion IP, Inc. and Lexington Law Firm, effective
                  as of September 1, 2021 (the “Software Licensing Agreement”), PGX licenses to
                  Lexington Law Firm the “Lexington Law” trademark and other intellectual
                  property, and provides consulting, IT services, proprietary software services, and
                  other services to Lexington Law Firm in furtherance of the operation of Lexington
                  Law Firm’s credit repair services business.

             •    The Advertising Agreement. Pursuant to that certain Amended and Restated
                  Advertising and Marketing Agreement, by and between Progrexion Marketing, Inc.
                  and Lexington Law Firm, effective as of September 1, 2021 (the “Advertising
                  Agreement”), PGX provides Lexington Law Firm with comprehensive marketing
                  and advertising services, including the provision of internet domain names,
                  advertising and web site content development, web site design, development and
                  hosting services, and other similar services.

             •    The Administrative Services Agreement. Pursuant to that certain Amended and
                  Restated Administrative Services Agreement, by and between Progrexion ASG,
                  Inc. and Lexington Law Firm, effective as of September 1, 2021
                  (the “Administrative Services Agreement”), PGX provides Lexington Law Firm
                  with certain critical shared administrative operational services, including
                  accounting, human resource management, benefits management, payment
                  processing, payroll management, vendor management and negotiation, and
                  intellectual technologies management services.

             •    The Teleservices Outsourcing Agreement. Pursuant to that certain Amended and
                  Restated Teleservices Outsourcing Agreement, by and between Progrexion
                  Teleservices, Inc. and Lexington Law Firm, effective as of September 1, 2021
                  (the “Teleservices Outsourcing Agreement”), PGX provided Lexington Law Firm
                  with certain sales teleservices, including making telephone sales calls on Lexington
                  Law Firm’s behalf and in compliance with the rules of professional conduct
                  applicable to Lexington Law Firm, sales script generation, and other supporting
                  teleservices. As described below, both PGX and Lexington Law Firm have ceased



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               all telemarketing operations in response to the District Court’s recent decision in
               the CFPB Litigation.

       27.     Through the Operating Agreements, Lexington Law Firm pays PGX substantial

compensation for operational services based on different compensation formulas. Compensation

and other terms of the Operating Agreements, including the effective period of the Operating

Agreements, were amended by the 2017 Amendments to Operating Agreements, by and between

Progrexion Holdings, Inc., Progrexion IP, Inc., Progrexion Marketing, Inc., Progrexion ASG, Inc.,

and Progrexion Teleservices, Inc., and Lexington Law Firm. In the twelve-month period before

the Petition Date, Lexington Law Firm’s payment obligations to PGX were $251.6 million on

account of the Operating Agreements. As of the Petition Date, Lexington Law owes PGX

approximately $27.9 million on account of the Operating Agreements.             In the context of

negotiations with Lenders regarding the DIP financing and sale, Lexington Law and PGX agreed

upon certain temporary modifications to the payment terms under the Operating Agreements,

while allowing time for the Debtors to figure out an optimal go-forward strategy. At the closing

of a sale, the entity purchasing Lexington Law will assume any amounts outstanding.

       28.     As set forth on the structure chart attached as Exhibit B, Lexington Law Firm is

owned 99% by attorney John C. Heath and 1% by attorney Eric Kamerath, who currently serves

as the Chief Legal Officer at PGX.

       C.      Operational Restructuring Efforts in Response to the CFPB Litigation.

       29.     Described in more detail below, on March 10, 2023, the United States District Court

for the District of Utah granted partial summary judgment against certain of the Debtors, including

Lexington Law Firm, finding that those Debtors had violated the advance fee provision of the TSR.

Immediately following the ruling, the Debtors began to implement an operational restructuring

based on the interpretation of the law advanced by the CFPB, immediately stopping all



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telemarketing and closing call centers and instituting a review of billing practices across their

businesses. With the assistance of their advisors, the Debtors are in the process of developing

additional operational changes in response to the court’s decision, with a refreshed focus on mass

consumer marketing and development of additional business-to-business relationships.

II.       The Debtors’ Prepetition Capital Structure.

          30.     As of the Petition Date, PGX had approximately $423.5 million in total funded debt

obligations:

                                                                        Approximate
    Funded Debt
                                                                        Principal Amount Outstanding
    First Lien Term Loan                                                $243.5 million
    Second Lien Term Loan                                               $180.0 million
    Total Funded Debt Obligations                                       $423.5 million

          A.      First Lien Facility.

          31.     Debtor PGX Holdings, Inc., as parent and guarantor, and Debtors Progrexion

Holdings, Inc., Credit.com, Inc., eFolks Holdings, Inc., and CreditRepair.com Holdings, Inc., as

borrowers, and Debtors Progrexion Marketing, Inc., Progrexion Teleservices, Inc., Progrexion

ASG, Inc., Progrexion IP, Inc., eFolks, LLC, CreditRepair.com, Inc., and Credit Repair UK, Inc.,

as guarantors, the lenders party thereto from time to time (the “First Lien Lenders”), and Blue

Torch Finance LLC (“Blue Torch”), as administrative agent and collateral agent, are parties to that

certain First Lien Financing Agreement, dated as of July 21, 2021, 5 providing for the PGX

Debtors’ first-lien term loan credit facility (the “First Lien Facility”).



5
      For the avoidance of doubt, such agreement was amended by Amendment No. 1 to First Lien Financing
      Agreement, dated as of July 20, 2022, as further amended by Amendment No. 2 to First Lien Financing
      Agreement, dated as of December 28, 2022, as further amended by Amendment No. 3 to First Lien Financing
      Agreement, dated as of March 31, 2023 and as may otherwise be amended, restated, supplemented, or otherwise
      modified from time to time (the “First Lien Credit Agreement”).



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        32.      Pursuant to the First Lien Credit Agreement, the First Lien Facility is secured on a

first-priority basis (subject to customary exceptions) by a lien on substantially all of the assets of

the PGX Debtors and the equity of each of the subsidiaries of Debtor PGX Holdings, Inc.

The maturity date of the First Lien Facility is July 21, 2026. As of the Petition Date, approximately

$243.5 million of principal remains outstanding under the First Lien Facility.

        B.       Second Lien Facility.

        33.      Debtor PGX Holdings, Inc., as parent and guarantor, and Debtors Progrexion

Holdings, Inc., Credit.com, Inc., eFolks Holdings, Inc., and CreditRepair.com Holdings, Inc., as

borrowers, and Debtors Progrexion Marketing, Inc., Progrexion Teleservices, Inc., Progrexion

ASG, Inc., Progrexion IP, Inc., eFolks, LLC, CreditRepair.com, Inc., and Credit Repair UK, Inc.,

as guarantors, the lenders party thereto from time to time (the “Second Lien Lenders” and, together

with the First Lien Lenders, the “Prepetition Lenders”), and Prospect, as administrative agent and

collateral agent, are parties to that certain Second Lien Financing Agreement, dated as of

July 21, 2021, 6 providing for the PGX Debtors’ second-lien term loan credit facility (the “Second

Lien Facility” and, together with the First Lien Facility, the “Prepetition Facilities”).

        34.      Pursuant to the Second Lien Credit Agreement, and as subordinated to the First

Lien Credit Agreement under that certain Intercreditor Agreement, dated as of July 21, 2021, 7 the

Second Lien Facility is secured on a second-priority basis (subject to customary exceptions)

relative to the First Lien Facility by a lien on substantially all of the assets of the PGX Debtors and



6
    As amended by Amendment No. 1 to Second Lien Financing Agreement, dated as of December 28, 2022 and as
    may otherwise be amended, restated, supplemented, or otherwise modified from time to time (the “Second Lien
    Credit Agreement”).

7
    As amended by that certain Consent and Amendment No. 1 to Intercreditor Agreement, dated as of December 28,
    2022, and as further amended, restated, supplemented or otherwise modified from time to time (the “Intercreditor
    Agreement”).



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the equity of each of the subsidiaries of Debtor PGX Holdings, Inc. The maturity date of the

Second Lien Facility is July 21, 2027. As of the Petition Date, approximately $180 million of

principal remains outstanding under the Second Lien Facility.

       C.      PGX’s Equity.

       35.     Before January 29, 2023, H.I.G. Capital, LLC, through its subsidiary H.I.G.

Progrexion, LLC (“HIG”), was a majority stockholder of Debtor PGX Holdings, Inc.

On December 28, 2022, PGX Holdings, Inc., H.I.G, Progrexion, LLC, and non-Debtor PGX

TopCo LLC entered into that certain Transfer Agreement (the “Transfer Agreement”), pursuant to

which, effective January 28, 2023, HIG transferred its shares to non-Debtor PGX TopCo LLC.

Non-Debtor PGX TopCo LLC is a subsidiary of Prospect.

III.   Events Leading to the Commencement of the Chapter 11 Cases.

       36.     The Debtors do not take lightly the decision to commence these chapter 11 cases,

and they have worked for several years to explore and execute alternative out-of-court

restructuring transactions in an effort to maximize value for all stakeholders. The events leading

to a restructuring process began in 2016, towards the conclusion of a period of substantial revenue

growth at PGX and Lexington Law Firm and the simultaneous acceleration of investigation efforts

by the CFPB into alleged unlawful and deceptive business practices. Notwithstanding these and

other business challenges, the Debtors, with the assistance of their advisors, have engaged with

their stakeholders every step of the way on potential out-of-court solutions, and now come to this

Court only at the conclusion of (a) several years of exhaustive review of available pathways,

(b) a recent adverse ruling in the CFPB Litigation, (c) a macroeconomic environment that remains

difficult for the credit repair industry, and (d) pressure caused by the upcoming termination of the

forbearance term under those Forbearance Agreements granted to the Debtors by the Prepetition

Lenders. Simply put, these chapter 11 cases are the Debtors’ best opportunity to fully and fairly


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resolve their liabilities in a manner that preserves value and maintains the Debtors’ ability to

deliver their consumer-first products and services to their hard-working customer base.

       A.      The CFPB Litigation.

       37.     The principal long-term challenge facing the Debtors’ businesses has been the

management of potential liability in connection with the CFPB Litigation.

       38.     In the years before the Petition Date, one component of the Debtors’ sales lead

generation process included transfer of telemarketed customer leads to the Debtors from

third-party, unaffiliated, and independent financial products and services companies (“Hotswap

Partners”).   In addition to the Hotswap Partners lead generation process, the Debtors also

telemarketed their products and services directly to consumers. The CFPB has been reviewing

these telemarketing operations and Hotswap Partners relationships for nearly a decade, as part of

the CFPB’s broader investigation efforts to determine whether credit repair companies have

engaged in unlawful acts or practices related to the manner in which they market, advertise, or

provide credit repair services. On October 3, 2014, the CFPB issued a Civil Investigative Demand

to Lexington Law Firm, seeking materials and information related to Lexington Law Firm’s

marketing and advertising. In the years following issuance of the Civil Investigative Demand,

Lexington Law Firm fully cooperated with the CFPB’s investigation process. On February 2,

2016, the CFPB sent an additional Civil Investigative Demand to Debtors PGX Holdings, Inc.,

Progrexion Marketing, Inc., Progrexion Teleservices, Inc., and eFolks, LLC. The PGX entities

likewise fully cooperated with the CFPB’s investigation.

       39.     Notwithstanding, in September 2017, PGX was notified that the CFPB’s Office of

Enforcement was considering recommending that the CFPB take legal action against both PGX

and Lexington Law Firm. Attempts to resolve the CFPB’s concerns were unsuccessful and, on

May 2, 2019, the CFPB filed a complaint in the District Court against Progrexion Marketing, Inc.,


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PGX Holdings, Inc., Progrexion Teleservices, Inc., eFolks, LLC, CreditRepair.com, Inc., and

Lexington Law Firm (collectively, the “Debtor Defendants”), amended by complaint filed on

August 17, 2022, on five counts:

             •    Alleged Violation by the Debtor Defendants of the TSR Advance Fee Provision
                  (“Count I”). The CFPB alleges that the Debtor Defendants committed ongoing
                  violations of 16 C.F.R. § 310.4(a)(2), the advance fee provision of the TSR,
                  beginning on March 8, 2016, by their billing practices. The advance-fee provision
                  of the TSR is a Federal Trade Commission rule that purports to prohibit an
                  organization from billing for credit repair services until the time frame represented
                  for the delivery of all such services has expired and the seller has provided the
                  customer with a credit report demonstrating promised results, issued more than six
                  months after such results were achieved.

             •    Alleged Deceptive Acts or Practices in Violation of the Consumer Financial
                  Protection Act of 2010 (“Count II”). The CFPB alleges that the Debtor
                  Defendants (excluding Lexington Law Firm), through their marketing activities and
                  conduct related to their Hotswap Partner relationships, engaged in deceptive acts or
                  practices in violation of 12 U.S.C. §§ 5531 and 5536(a)(1)(B).

             •    Alleged False or Misleading Statements Made to Induce Payment for Goods or
                  Services in Violation of the TSR (“Count III”). The CFPB alleges that the Debtor
                  Defendants (excluding Lexington Law Firm), in connection with their
                  telemarketing of Lexington Law Firm and the CreditRepair.com branded services
                  and arrangements with their Hotswap Partners made certain false or misleading
                  statements in violation of 16 C.F.R. § 310.3(a)(4) of the TSR.

             •    Alleged Substantial Assistance of a Covered Person Engaged in Deceptive Acts
                  or Practices in Violation of the Consumer Financial Protection Act of 2010
                  (“Count IV”). The CFPB alleges that the Debtor Defendants (excluding Lexington
                  Law Firm) unlawfully knowingly or recklessly provided substantial assistance to
                  certain Hotswap Partners, allegedly covered persons or service providers under 12
                  U.S.C. § 5481(6)(A), in violations of the Consumer Financial Protection Act of
                  2010, 12 U.S.C. §§ 5531 and 5536(a)(1)(B).

             •    Alleged Assistance and Facilitation of Violations of the TSR (“Count V”). The
                  CFPB alleges that the Debtor Defendants (excluding Lexington Law Firm) engaged
                  in a deceptive acts or practices by providing substantial assistance or support to
                  certain Hotswap Partners, alleged “telemarketers” as defined by 16 C.F.R. §
                  310(ff), in violations of the TSR, 16 C.F.R. § 310.3(a)(4).

       40.        The Debtors maintain that they have not violated any law or regulation and that the

operation of their businesses has been fully consistent with applicable laws and regulations, as they



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have been interpreted historically since before 2000. 8 The CFPB Litigation has continued for

nearly four years since the CFPB’s initial complaint. However, on March 10, 2023, the District

Court granted the CFPB’s motion for summary judgment on Count I, finding in favor of the CFPB

and holding that the Debtor Defendants violated the advance fee provision of the TSR.

        41.      While the Debtor Defendants appealed the partial summary judgment ruling to the

United States Court of Appeals for the Tenth Circuit (the “Tenth Circuit”), the Tenth Circuit

denied the Debtors Defendants’ request for a stay on April 3, 2023, and the District Court followed

on April 6, 2023. The administrative stay on the District Court’s judgment has been lifted, and the

Debtors filed Defendants’ Notice of Withdrawal of Motion to Certify the Court’s Order for

Interlocutory Appeal, withdrawing the interlocutory appeal and reserving all rights to appeal a

final judgment or other future appealable order. The District Court is currently considering the

CFPB’s Motion for Award of Monetary and Injunctive Relief, Assessment of Civil Money

Penalties, and Entry of Final Judgment Against All Defendants on Count I, which seeks, among

other things, prospective injunctive relief enjoining future violations of the advance fee provision

and over $2.7 billion in monetary relief from the Debtor Defendants. Litigation on Counts II˗V is

pending, and the parties are to report back to the Court in the coming weeks on their efforts to

resolve those counts.

        B.       Other Business Challenges.

        42.      Google’s Ban on Paid Credit Repair Services Ads. One of the Debtors’ primary

and most effective tools to attract new consumers is online advertising. Historically, a notable



8
    While the “advance fee” provision was designed by the FTC over 25 years ago to protect against a breed of
    predatory credit repair companies, the rule has rarely been invoked in recent years. A federal statute enacted a
    year later, the Credit Repair Organizations Act (15 U.S.C. § 1679 et seq.), provides the fundamental guidelines
    for how credit repair companies can charge consumers, and PGX and Lexington Law Firm have been in
    compliance with these fundamental guidelines.



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percentage of the Debtors’ new leads have come from paid advertising on Google. In November

2019, Google announced that it would update its policies to restrict the advertisement of credit

repair services. Since then, paid ads for credit repair services are no longer allowed. This policy

applied globally to all accounts that advertised credit repair services directly, to lead generators,

and to those who connect consumers with third-party services. With more than 93% market share,

Google consistently dominates the market shares of all search engines worldwide. As a result of

Google’s new policy, the Debtors lost the opportunity to reach hundreds of thousands of potential

consumers. In June 2022, Google updated the enforcement procedures for repeat violations of the

ban and began implementing a strike-based system for the credit repair services policies.

In addition to penalties that progressively increase with each violation, businesses that continue to

advertise credit repair services receive strikes.     When a business reaches three strikes, the

three˗strike system automatically puts it on a “red list,” permanently prohibiting it from advertising

its business. The Google policy change has been significantly detrimental to the Debtors’ business.

Combined with the effects of the CFPB Litigation on the Debtors’ sales and marketing processes,

this policy has the effect of cutting off the Debtors from large swaths of the market for their

products and services.

       43.     Challenging Macroeconomic Conditions for the Credit Repair Industry.

Macroeconomic conditions continue to contribute to challenging environment for the Debtors,

placing pressure on core credit repair demand. For example, in 2022, the average FICO credit

score in the U.S. reached an all-time high of 726, following eleven consecutive years of increase.

Unemployment is at its lowest level in fifty years. And overall, demand for credit has softened:

according to the January 2023 Senior Loan Officer Opinion Survey on Bank Lending Practices,

banks reported that demand for loans to households, including credit card, auto, and other




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consumer loans, has weakened relative to prior months. Each of these trends has reduced demand

for credit repair services, relative to prior years.

        44.     Deteriorating Financial Performance at PGX. PGX operations have failed to

rebound from continual declines that began in 2019, and the business model changes occasioned

by the CFPB Litigation will accelerate this trend. PGX’s internal forecast of liquidity projects

negative net operating cash flow for the next six months, and absent the debtor-in-possession

financing discussed herein, the Debtors’ existing liquidity is expected to be exhausted in early

June.

        45.     Challenging Contractual Obligations at Lexington Law Firm.               The current

internal forecast of liquidity for Lexington Law Firm projects that the firm will not be able in the

near time to satisfy its contractual obligations to pay PGX for the support services PGX provides

to the firm. This will increase obligations owed to PGX over time. Given that PGX derives

approximately 87% of its revenue from the provision of operating services to Lexington Law Firm,

changes in Lexington Law Firm’s liquidity will have an immediate effect on PGX and the PGX

Debtors.

        C.      Prepetition Negotiations and Transactions at PGX.

        46.     The Debtors have been engaged for several years with advisors and stakeholders to

address these business challenges and the uncertainty and potential liabilities associated with the

CFPB Litigation. In 2019, when the CFPB investigation intensified, the Debtors’ businesses came

under significant stress financially, with projections at the time showing a business at PGX unable

to sustain its then-existing debt burden. In response to these challenges, beginning in June 2019,

PGX engaged restructuring advisors—including K&E as restructuring counsel and A&M as

financial advisor—to begin initial evaluation of potential alternatives, including consideration of

in-court and out-of-court transaction structures.        In September 2019, PGX and its advisors


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determined that it was in the best interests of the company to appoint Mr. Neal Goldman as a

disinterested director to the board of directors of Debtor PGX Holdings to assist in review and

consideration of potential transactions and any potential conflict matters.

       47.     The 2020 “Amend and Extend” Transaction. Through 2019 and early 2020,

PGX’s financial health continued to decline, which was largely compounded with the stress and

uncertainty surrounding the beginning of the COVID-19 pandemic. After extensive negotiations

through 2019 and early 2020 with an ad hoc group of first lien lenders, Prospect (as PGX’s

principal second lien lender at the time), and HIG (as PGX’s equity sponsor at the time), PGX

consummated an “amend and extend” transaction whereby PGX obtained a three-year maturity

extension of its credit facilities, $15.85 million of incremental liquidity through a new money

“1.5 lien” credit facility provided by HIG used to fund existing debt paydown and general

operations, amended covenants, and a decreased junior cash debt service burden through

conversion of interest and amendment fees to payments in kind. The amend and extend transaction

was executed with unanimous lender consent and provided PGX with runway to navigate the

uncertainties surrounding the ongoing high-stakes litigation and provided PGX a position of

strength to continue to serve the hard-working customers during the pandemic.

       48.     Interim Refinancing, Entry into the First and Second Lien Credit Facilities, and

Continued Runway. Following the amend-and-extend in 2020, the PGX Debtors entered into the

existing First Lien Facility and the existing Second Lien Facility as part of a comprehensive

refinancing of PGX’s capital structure in July 2021. Through the refinancing transaction, PGX

achieved certain interest expense savings and extended maturity dates relative to the previous first-

and second- lien facilities. The “1.5 lien” credit facility was paid down in full through proceeds




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of the transaction. The refinanced First Lien Facility and Second Lien Facility included additional

liquidity tests to apply in the event of a judgment or resolution of the CFPB Litigation.

       49.     COVID Stimulus Payment.          In addition to the refinancing transaction, 2020

became a record-breaking year for PGX in terms of revenue and profitability due to the federal

stimulus payments made pursuant to the Coronavirus Aid, Relief and Economic Security Act.

However, the effect of the stimulus payment was temporary and by the latter half of 2021 the

macroeconomic environment shifted again, creating challenges for the Debtors’ business.

       D.      Recent Operational, Governance, and Financial Developments at the Debtors.

       50.     PGX’s Prepetition Restructuring Transactions.          By the fall of 2022, with

persistent headwinds to the credit repair industry, as the temporary benefits of the COVID stimulus

payments waned, and with the overhang of the ongoing CFPB Litigation, PGX again faced an

imminent liquidity need and the likelihood of defaults under the First Lien Facility and the Second

Lien Facility with respect to liquidity covenant tests and interest payments. In September 2022,

PGX re-engaged with its advisors to explore possible recapitalization or restructuring transactions.

Following preliminary discussions with key stakeholders throughout the capital structure, Prospect

approached PGX with a transaction proposal whereby, in exchange for amendments to the credit

facilities that would provide certain covenant relief and additional liquidity to ameliorate the

liquidity crunch, HIG would transfer its equity ownership in PGX to an entity formed for the

benefit of the Second Lien Lenders.

       51.     Negotiations surrounding this framework would eventually culminate in the

December 28, 2022 transactions, which included (i) the Transfer Agreement discussed above, by

which Prospect (through PGX TopCo, LLC) obtained majority equity ownership in PGX;

(ii) the provision of $45 million of new liquidity by the First Lien and Second Lien Lenders, which

included $15 million of an incremental term loan funded on December 28, 2022, and an additional


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$30 million of incremental funding through a delayed draw term loan construct to provide

additional liquidity for the business in the first quarter of 2023; and (iii) amendments to the terms

of the Prepetition Facilities resulting in reduced debt-service costs. The transactions also provided

for a smaller, reconstituted board of directors at PGX Holdings, Inc., consisting of four members

including Seb Cervinka, as Chairman; Michael DeVico, President and Chief Executive Officer of

PGX; and the two existing disinterested directors at the time, Mr. Goldman and Mr. David

Gibbons.

        52.     Necessary Operational Pivots in Light of the CFPB Litigation Adverse Ruling.

As described above, on March 10, 2023, the District Court entered summary judgment in favor of

the CFPB on Count 1 in the CFPB Litigation, setting up a potential damages exposure for the

Debtors of more than $2.7 billion, should the CFPB prevail on its requested relief in the near-term.

While the Defendants evaluated all options in response to this adverse ruling, the Debtors ceased

all telemarketing activities and monthly billing for over 80% of their credit repair clients, i.e. those

who signed up for services over the phone.

        53.     The resulting change to the Debtors’ operations drastically altered the Debtors’

liquidity outlook. In addition to looming liabilities as a result of the CFPB Litigation, the PGX

Debtors faced a $7.7 million interest payment under their existing Prepetition Facilities, due

March 31, 2023. PGX requested that Prospect fund the $30 million of delay draw term loans;

however, Prospect did not fund, citing that the Company had not satisfied all conditions precedent

to such advance. The Company defaulted on March 31, 2023 but these developments brought all

stakeholders back to the negotiating table.

        54.     The Debtors engaged with First Lien Lenders and Prospect to chart a value-

maximizing path forward. Given the Debtors’ need to right-size their operations and capital




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structure to align with their revised business plan, obtain a much-needed capital infusion to

implement this business plan, and emerge from the overhang of the CFPB Litigation, the Debtors

and stakeholders determined that chapter 11 would be the best path forward. Cognizant of the fact

that the business could not withstand a long, protracted bankruptcy process, the Debtors worked

to develop a path that will maximize value for all stakeholders and allow a potential purchaser to

utilize the Company’s assets to focus on helping hard-working Americans improve their credit.

       55.      To conserve cash, the board of directors of PGX Holdings, Inc. determined, in its

reasonable business judgment, that the prudent course of action was to not make the interest

payment due on March 31, 2023, while comprehensive restructuring discussions commenced. The

PGX Debtors negotiated a short forbearance with the Prepetition Lenders, entering into successive

forbearance agreements with respect to the Prepetition Facilities (collectively, the “Forbearance

Agreements”) effective through June 4, 2023. With the Forbearance Agreements in hand, the PGX

Debtors quickly pivoted to the larger task at hand, negotiating a comprehensive restructuring

transaction.

       E.       The Proposed Restructuring Transaction.

       56.      The Restructuring Support Agreement. Although aligned on the general guiding

principles, the Debtors, First Lien Lenders, and Prospect engaged in a series of negotiations to

implement a comprehensive restructuring transaction. While tenuous at times, these hard-fought

negotiations ultimately proved fruitful. On June 4, 2023, the Debtors, each of the First Lien

Lenders, and Prospect (in its capacity as Second Lien Lender and majority equityholder) executed

a Restructuring Support Agreement, attached hereto as Exhibit C. As contemplated by the

Restructuring Support Agreement, the Debtors commenced these chapter 11 cases to execute a

value-maximizing section 363 sale to sell these assets free and clear of all claims and interests,

followed by a liquidating chapter 11 plan if the Debtors determine that a liquidating chapter 11


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plan is in the best interests of the Debtors’ estates. Time is of the essence. While the Debtors

negotiated for as much runway as possible, the lenders emphasized the need for discipline given

the Debtors’ liquidity profile. Accordingly, the milestones set forth in the Restructuring Support

Agreement and debtor-in-possession financing (as described further below) contemplate a brief

but robust postpetition marketing process and sale.

       57.     The Bid Procedures. In parallel with the negotiations for the Restructuring Support

Agreement, the Debtors and their advisors negotiated entry into separate stalking horse purchase

agreements with (a) PGX Asset-BidCo for substantially all of the assets of PGX Holdings, Inc.

and its subsidiaries and (b) Lexington Law-BidCo for substantially all of the assets of Lexington

Law Firm, against which higher or otherwise better offers may be sought, providing a clear path

to consummate a transaction. The stalking horses, described in greater detail in the Bid Procedures

Motion (filed substantially contemporaneously herewith), set the floor for a competitive bidding

process, where topping bids could yield additional value that would inure to the benefit of all

stakeholders. The Debtors have already begun engaging with interested parties and will market

test the stalking horse bids to ensure that the Debtors obtain the highest or otherwise best offer or

combination of offers for substantially all of the business assets or some or all of their assets.

If approved, the proposed Bid Procedures will enable the Debtors to expeditiously sell their assets

free and clear of liens, claims, rights, interests, pledges, obligations, restrictions, limitations,

charges, encumbrances, and other interests and wind up the chapter 11 cases shortly thereafter.

       58.     Strengthening Corporate Governance. To ensure that the entire restructuring

process is fair and efficient, the Debtors have implemented strong governance protocols.

Mr. Eugene Davis was appointed as a disinterested director to the board of PGX Holdings, Inc. in

April 2023. He replaced prior disinterested directors at that entity. He has retained Landis as




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conflicts counsel to advise on any matters where PGX may have an interest adverse to Lexington

Law Firm. At Lexington Law Firm, Mr. Roger Meltzer, licensed attorney, was appointed as a

disinterested director in May 2023. He has retained Pachulski as conflicts counsel to advise on

any matters where Lexington Law Firm may be adverse to PGX. With these governance

safeguards in place, the Debtors are ready to navigate the chapter 11 process swiftly.

IV.    The Proposed Debtor in Possession Financing.

       59.     To provide the Debtors with liquidity to commence a smooth landing into these

chapter 11 cases, the Prepetition First Lien Lenders agreed to provide the DIP Facility, following

the funding of $2.9 million in emergency bridge financing the week prior to the Petition Date, as

well as access to prepetition cash collateral (the “Cash Collateral”). The DIP Facility and access

to Cash Collateral will provide the Debtors with the necessary liquidity to fund their business

operations and administrative expenses during these chapter 11 cases.

       A.      Need for DIP Financing.

       60.     As discussed throughout this Declaration, the Debtors’ need for immediate liquidity

in the form of the proposed DIP Facility is largely driven by operational challenges exacerbated

by a potentially significant judgment liability in the CFPB Litigation. The DIP Facility was

carefully negotiated and will provide cash to administer these chapter 11 cases, fund the business,

pay vendors in the ordinary course, and ensure that wages, taxes, and other obligations are paid.

The DIP Facility is the best available financing under the circumstances. Access to such financing

at this time is mission critical for executing on the more comprehensive restructuring transactions

discussed above. The Roll-Up is an integral component of the DIP Facility and was required by

the DIP Lenders as consideration for the extension of postpetition financing and the prepetition

bridge financing.

       B.      The Debtors’ Proposed Use of Cash Collateral.


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        61.     Pursuant to the Motion of Debtors for Entry of Interim and Final Orders

(I) Authorizing the Debtors to (A) Obtain Postpetition Financing and (B) Utilize Cash Collateral,

(II) Granting Liens and Superpriority Administrative Expense Claims, (III) Modifying the

Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief (the “DIP

Motion”), the Debtors also seek the continued use of the Prepetition Lenders’ Cash Collateral to

provide sufficient liquidity for their operations during these chapter 11 cases. Without access to

Cash Collateral, the Debtors would be unable to operate their business and administer their estates,

and their stakeholders would be immediately and irreparably harmed as a result. Authorization to

use Cash Collateral during the duration of these chapter 11 cases will provide the Debtors with

sufficient liquidity to continue operating as a going-concern and to maintain relationships with key

vendors and personnel, continue to provide services to their customers, and pay wages to

employees.

        62.     In consideration for the consensual use of Cash Collateral, the Debtors have agreed

to provide the Prepetition Lenders with adequate protection as set forth in the DIP Motion and the

accompanying proposed interim order. The Debtors’ use of Cash Collateral will generally be

subject to the same milestones agreed upon in the DIP Facility. In addition, the Debtors have

agreed on additional reporting covenants for the benefit of the prepetition agent and DIP agent,

including rights to participate in calls with the Debtors’ management and cooperation with the

Debtors’ financial advisors. During these calls, the confidentiality of the Lexington Law Firm

clients will be fully protected.

V.      Evidence in Support of First Day Motions.

        63.     Contemporaneously herewith, the Debtors have filed a number of First Day

Motions seeking orders granting various forms of relief intended to stabilize the Debtors’ business




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operations, facilitate the efficient administration of these chapter 11 cases, and expedite a swift

and smooth restructuring of the Debtors’ balance sheet.

       64.     The First Day Motions request authority to pay certain prepetition claims. I

understand that Federal Rule of Bankruptcy Procedure 6003 provides, in relevant part, that the

Court shall not consider motions to pay prepetition claims during the first 21 days following the

filing of a chapter 11 petition, “except to the extent relief is necessary to avoid immediate and

irreparable harm.” In light of this requirement, the Debtors have narrowly tailored their requests

for immediate authority to pay certain prepetition claims to those circumstances where the failure

to pay such claims would cause immediate and irreparable harm to the Debtors and their estates.

Other relief will be deferred for consideration at a later hearing.

       65.     I am familiar with the information contained in each First Day Motions and believe

that the relief sought in each motion (a) is necessary to enable the Debtors to operate in chapter 11

with minimal disruption or loss of productivity and value, (b) constitutes a critical element for the

Debtors to successfully implement a chapter 11 strategy, and (c) best serves the Debtors’ estates

and creditors’ interests. A description of the relief requested and the facts supporting each of the

First Day Motions is detailed in Exhibit A.

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             Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.


Dated: June 4, 2023                          /s/ Chad Wallace
Salt Lake City, Utah                         Name: Chad Wallace
                                             Title: Chief Executive Officer and President, PGX
                                                    Holdings, Inc.
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                        Exhibit A

         Evidentiary Support for First Day Motions
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                    EVIDENTIARY SUPPORT FOR FIRST DAY MOTIONS1

I.       Administrative and Procedural Motions.

         A.       Motion of Debtors for Entry of an Order (I) Directing Joint Administration of
                  Chapter 11 Cases and (II) Granting Related Relief (the “Joint Administration
                  Motion”).

         1.       Pursuant to the Joint Administration Motion, the Debtors seek entry of an order

directing procedural consolidation and joint administration of these chapter 11 cases. Given the

integrated nature of the Debtors’ operations, and the fact that each of the Debtors will be obligors

on the Debtors’ proposed DIP financing, joint administration of these chapter 11 cases will provide

significant administrative convenience without harming the substantive rights of any party in

interest. Through a set of Operating Agreements, PGX provides comprehensive operational

support services to Lexington Law Firm, including marketing, custom proprietary software,

technology, and administrative services. Many of the motions, hearings, and orders in these

chapter 11 cases will affect each Debtor entity. The entry of an order directing joint administration

of these chapter 11 cases will reduce fees and costs by avoiding duplicative filings, objections, or

multiple hearings on common issues. Joint administration will also allow the United States Trustee

and all parties in interest to monitor these chapter 11 cases with greater ease and efficiency.

         2.       Moreover, joint administration will not adversely affect the Debtors’ respective

constituencies because the Joint Administration Motion seeks only administrative, not substantive,

consolidation of the Debtors’ estates. I believe that parties in interest will not be harmed by the

relief requested; instead, parties in interest will benefit from the cost reductions associated with

the joint administration of these chapter 11 cases.                 Accordingly, I believe that the joint



1    Capitalized terms used but not defined have the meanings ascribed to them in the applicable First Day Motion
     filed contemporaneously herewith. All exhibits attached to the applicable First Day Motion or interim or final
     order thereof are incorporated by reference herein.
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administration of these chapter 11 cases is in the best interests of the Debtors’ estates, their

creditors, and all other parties in interest.

        B.      Motion of Debtors for Entry of an Order (I) Extending Time to File Schedules
                of Assets and Liabilities, Schedules of Current Income and Expenditures,
                Schedules of Executory Contracts and Unexpired Leases, Statements of
                Financial Affairs, and Rule 2015.3 Financial reports and (II) Granting Related
                Relief (the “SOFA Motion”).

        3.      Pursuant to the SOFA Motion, the Debtors seek entry of an order (a) extending the

deadline by which the Debtors must file their schedules of assets and liabilities, schedules of

current income and expenditures, schedules of executory contracts and unexpired leases, and

statements of financial affairs as required by section 521 of the Bankruptcy Code and rule 1007

of the Bankruptcy Rules (collectively, the “Schedules and Statements”) by thirty days, in addition

to the extension provided by rule 1007-1(b) of the Local Rules, for a total of fifty-eight days from

the Petition Date, to and including August 1, 2023, without prejudice to the Debtors’ ability to

request additional extensions for cause shown, (b) extending the deadline by which the Debtors

must file their initial reports of financial information with respect to entities in which the Debtors

hold a controlling or substantial interest as set forth in Bankruptcy Rule 2015.3

(the “2015.3 Reports”), or to file a motion with the Court seeking a modification of such reporting

requirements for cause, to the later of (i) thirty days after the meeting of creditors to be held

pursuant to section 341 of the Bankruptcy Code (the “341 Meeting”) or (ii) forty-four days from

the Petition Date, without prejudice to the Debtors’ ability to request additional extensions, and

(c) granting related relief.

        4.      Good and sufficient cause exists for granting an extension of time to file the

Schedules and Statements. The ordinary operation of the Debtors’ business requires the Debtors

to maintain voluminous books, records, and complex accounting systems.               To prepare the

Schedules and Statements, the Debtors must compile information from books, records, and


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documents relating to a myriad of claims of their creditors, many of whom are customers, and the

Debtors’ many assets and contracts. This information is extensive and located in numerous places

throughout the Debtors’ organization. Collecting the necessary information requires an enormous

expenditure of time and effort on the part of the Debtors, their employees, and their professional

advisors in the near term.

       5.      Given the substantial burdens already imposed on the Debtors’ management by the

TSR ruling, the ongoing CFPB litigation, and commencement of these chapter 11 cases, the

competing demands upon the Debtors’ employees to collect information, and the time and

attention the Debtors must devote to the restructuring process, the Debtors submit that good cause

exists to extend the current deadline by thirty days, until fifty-eight days after the Petition Date.

The requested extension will enhance the accuracy of the Schedules and Statements when filed

and help avoid the potential necessity of substantial subsequent amendments. The Debtors request

such an extension without prejudice to their rights to seek further extensions or waivers from the

Court for cause shown. Moreover, an extension will not harm creditors or other parties in interest

because, even under the extended deadline, the Debtors will file the Schedules and Statements in

advance of any deadline for filing proofs of claim in these chapter 11 cases.

       6.      Further, certain of the Debtors maintain an interest in a non-debtor subsidiary that

is subject to Bankruptcy Rule 2015.3 and, as such, are required to file 2015.3 Reports. The Debtors

are not in a position to complete the initial 2015.3 Report within the time required under

Bankruptcy Rule 2015.3 due to (a) the size, complexity, and geographic scope of the Debtors’

businesses, (b) the substantial burdens imposed by complying with Bankruptcy Rule 2015.3 in the

early days of these chapter 11 cases, and (c) the same considerations supporting an extension of




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the date by which to file the Schedules and Statements. Cause accordingly exists to extend the

deadline for filing the initial 2015.3 Report as requested in the SOFA Motion.

          7.    Extending the deadline to file the initial 2015.3 Report will enable the Debtors to

work with their advisors and the United States Trustee for the District of Delaware

(the “U.S. Trustee”) to determine the appropriate nature and scope of the reports and any proposed

modifications to the reporting requirements established by Bankruptcy Rule 2015.3. Accordingly,

the Debtors respectfully request that the Court grant an extension of the time by which the Debtors

must file their initial 2015.3 Reports to the later of (a) thirty days after the 341 Meeting, or

(b) forty-four days from the Petition Date pursuant to Bankruptcy Rule 2015.3(d).

          8.    Accordingly, I believe that the relief sought in the SOFA Motion is in the best

interests of the Debtors’ estates, their creditors, and all other parties in interest.

          C.    Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the
                Debtors to (A) File a Consolidated List of Creditors in Lieu of Submitting a
                Separate Mailing Matrix for Each Debtor, (B) File a Consolidated List of the
                Debtors’ Thirty Largest Unsecured Creditors, (C) Serve Parties in Interest by
                Email, (D) Approve the Form and Manner of Service of the Notice of
                Commencement, (E) Redact or Withhold Certain Confidential Information,
                and (F) Redact Certain Personally Identifiable Information and (II) Granting
                Related Relief (the “Creditor Matrix Motion”).

          9.    Pursuant to the Creditor Matrix Motion, the Debtors seek entry of interim and final

orders (i) authorizing, but not directing, the Debtors to (a) file a consolidated list of creditors in

lieu of submitting a separate mailing matrix for each Debtor, (b) file a consolidated list of the

Debtors’ thirty largest unsecured creditors in lieu of filing lists for each Debtor, (c) serve certain

parties in interest by email, (d) approve the form and manner of service of the notice of

commencement of these chapter 11 cases, (e) redact or withhold certain confidential information

of customers, and (f) redact certain personally identifiable information and (ii) granting related

relief.



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       10.     Requiring the Debtors to segregate and convert their computerized records to a

Debtor-specific creditor matrix format would be an unnecessarily burdensome task and could

result in duplicative mailings.

       11.     Because the Top 20 Lists of the Debtors could overlap, and certain Debtors may

have fewer than thirty significant unsecured creditors, filing separate Top 20 Lists for each Debtor

would be of limited utility. In addition, compiling separate Top 20 Lists for each individual Debtor

could consume an excessive amount of the Debtors’ and their advisors’ limited time and resources.

I believe that the consolidated Top 30 List will better aid the U.S. Trustee in its efforts to

communicate with these creditors and form an official committee of general unsecured creditors.

       12.     The Debtors currently serve approximately 130,000 customers and have provided

services to a total of approximately two million customers over the last two years. Thus, a

significant portion of the parties that need to be provided notice in these chapter 11 cases consist

of the Debtors’ customer base. Because the Debtors operate an e-commerce platform, the Debtors

typically interact with their customers online through web-based applications and email.

Specifically, customers agree to transact with the Debtors electronically as part of the terms of

service, which includes customers certifying that they have access to the Internet and agreeing to

receive important notices to a provided up-to-date, valid email address. Accordingly, the Debtors

request authority to serve their creditors by email, where an email address is available to the

Debtors.

       13.     Based on discussions with KCC, the Debtors understand that serving customers

physical mailings solely of the Notice of Commencement would cost more than approximately

$3 million. I believe such mailings would be cost-prohibitive in light of the aggregate amount of

the DIP financing for these chapter 11 cases. Accordingly, the Debtors seek authority to provide




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service of the Notice and other pleadings to customers via email, which was the customary form

of communication with their customers prior to the Petition Date. In addition, email service will

help alleviate administrative burdens. Not only is email service likely the most efficient and cost-

effective manner by which service of all interested parties can be completed, it is also the most

likely to facilitate creditor responses because, with only rare exceptions, the customer base

currently receives all notices electronically from the Debtors.

        14.     The Debtors and I believe that using KCC to promptly provide notices to all

applicable parties will maximize efficiency in administering these chapter 11 cases and will ease

administrative burdens that would otherwise fall upon the Court and the U.S. Trustee.

Additionally, KCC will assist the Debtors in preparing creditor lists and mailing initial notices,

and, therefore, it is more efficient to authorize KCC to mail the Notices. Accordingly, KCC should

undertake such mailings and email service.

        15.     Confidential commercial information, including the names and all associated

identifying information of the Debtors’ clients and customers, is the single most important asset

of the Debtors’ business, and publicly revealing that information risks the Debtors’ relationships

with their clients. The Debtors help customers repair their credit and achieve their credit goals.

This is a relationship in which customers value their privacy. Revealing the identity of such

customers at this critical junction may put these customer relationships at risk and jeopardize the

Debtors’ go-forward business. The Debtors’ customer list, and related customer data, is an

important and valuable asset of the Debtors, and it is vital that the Debtors maintain their customer

list in strict confidence.

        16.     The Debtors do business in California and the Debtors’ annual gross revenue for

2022 was $388 million.




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        17.     The Debtors do business in Utah, had operations there within the last year, and, in

2022, controlled the personal data of 100,000 or more consumers and had annual gross revenue of

$388 million.

        18.     The Debtors in these chapter 11 cases are unique in that they operate a law firm

with office locations in Salt Lake City, Utah, and Phoenix, Arizona, and service clients in all fifty

states, which implicates certain obligations under legal ethical cannons and rules that mandate that

client information be kept confidential. The attorneys of Lexington Law are subject to legal ethical

rules governing the confidentiality of client information.

        19.     Accordingly, I believe that the relief sought in the Creditor Matrix Motion is in the

best interests of the Debtors’ estates, their creditors, and all other parties in interest.

        D.      Application of Debtors for Authorization to Employ and Retain Kurtzman
                Carson Consultants LLC as Claims and Noticing Agent Effective as of the
                Petition Date (the “KCC Retention Application”).

        20.     Pursuant to the Kurtzman Carson Consultants LLC 156(c) Retention Application,

the Debtors seek entry of an order appointing Kurtzman Carson Consultants LLC (“KCC”) as

claims, noticing, and solicitation agent (the “Claims and Noticing Agent”) for the Debtors in their

chapter 11 cases, effective as of the Petition Date to, among other things, (i) prepare and serve

required notices and documents in these chapter 11 cases; (ii) maintain an official copy of the

Debtors’ schedules of assets and liabilities and statements of financial affairs; (iii) furnish a notice

to all potential creditors of the last date for filing proofs of claim and a form for filing a proof of

claim, after such notice and form are approved by the Court, and notify such potential creditors of

the existence, amount and classification of their respective claims as set forth in the Schedules;

(iv) maintain a post office box or address for the purpose of receiving claims and returned mail,

and process all mail received; (v) prepare and file, or cause to be filed, with the Clerk an affidavit

or certificate of service; (vii) process all proofs of claim received; and (viii) maintain the official


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claims register for each Debtor, in each case, pursuant to the terms of the engagement agreement,

dated May 4, 2023, between the Debtors and KCC.

        21.     Based on my discussions with the Debtors’ advisors, I believe that the Debtors’

selection of KCC to act as the Claims and Noticing Agent is appropriate under the circumstances,

is in the best interests of the estates, and satisfies the Claims Agent Protocol. Moreover, it is my

understanding, based on all engagement proposals obtained and reviewed, that KCC’s rates are

competitive and comparable to the rates charged by their competitors for similar services.

        22.     The Debtors anticipate that there will be thousands of persons and entities to be

noticed in these chapter 11 cases. In light of the number of parties in interest and the complexity

of the Debtors’ business, the appointment of a claims and noticing agent is in the best interests of

the Debtors’ estates, their creditors, and all other parties in interest because it will provide the most

effective and efficient means of, and relieve the Debtors and/or the Clerk’s office of the

administrative burden of, noticing and processing proofs of claim.

        E.      Motion of Debtors for Entry of Interim and Final Orders (I) Approving
                Notification and Hearing Procedures for Certain Transfers of and
                Declarations of Worthlessness with Respect to Common Stock and
                (II) Granting Related Relief (the “NOL Motion”).

        23.     Pursuant to the NOL Motion, the Debtors seek entry of interim and final orders:

(a) approving certain notification and hearing Procedures related to certain transfers of, or

declarations of worthlessness with respect to, PGX Holdings, Inc.’s existing classes of Common

Stock and with respect to John C. Heath, Attorney at Law PC’s existing classes of Common Stock

or any Beneficial Ownership therein; (b) directing that any purchase, sale, other transfer of, or

declaration of worthlessness with respect to Common Stock in violation of the Procedures shall be

null and void ab initio; and (c) granting related relief.




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        24.      PGX currently estimates that, as of December 31, 2022, it had approximately

$39.1 million of state NOLs and approximately $110 million of 163(j) Carryforwards. Separately,

Lexington Law currently estimates that, as of December 31, 2022, it had approximately

$14 million of federal NOLs, approximately $8.7 million in state NOLs, and approximately

$309,000 of general business credits (together, with PGX’s tax attributes and certain other tax

attributes, the “Tax Attributes”).2 The Debtors may generate additional Tax Attributes in the 2023

tax year, including during the pendency of these chapter 11 cases. The Tax Attributes are

potentially of significant value to the Debtors and their estates because the Debtors may be able to

utilize the Tax Attributes to offset any taxable income, including any such taxable income

generated by transactions consummated during these chapter 11 cases (including with respect to

any taxable disposition of some or all of the Debtors’ assets). Additionally, depending on the

structure utilized in the Plan, in the event any of the Debtors’ Tax Attributes were to survive, the

Debtors may be able to carry forward certain of those Tax Attributes to offset federal taxable

income or federal tax liability in future years. The relief requested is expected to preserve the

value of the Tax Attributes to the benefit of the Debtors’ stakeholders.

        25.      Additionally, the Debtors seek to establish procedures only to monitor those types

of transactions that would pose a serious risk under the ownership change test pursuant to

sections 382 and 383 of the IRC and to preserve the Debtors’ ability to seek substantive relief if it

appears that a proposed transfer or declaration of worthlessness could jeopardize the Debtors’

utilization of the Tax Attributes. Because the Tax Attributes are of significant value to the Debtors

and their estates, an ownership change of Common Stock may negatively impact the

Debtors’ utilization of the Tax Attributes. Accordingly, it is necessary to closely monitor certain


2   Amounts are estimates and subject to change.



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transfers of Common Stock so as to be in a position to act expeditiously to prevent such transfers,

if necessary, with the purpose of preserving the Tax Attributes. The Debtors also propose that the

Court direct that any purchase, sale, other transfer of, or declaration of worthlessness with respect

to Common Stock in violation of the Procedures be null and void ab initio.

        26.     For all of these reasons, I believe the relief in the NOL Motion is in the best interests

of the Debtors’ estates, their creditors, and all other parties in interest.

II.     Operational Motions.

        A.      Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the
                Debtors to (A) Pay Prepetition Wages, Salaries, Other Compensation, and
                Reimbursable Expenses and (B) Continue Employee Benefits Programs and
                (II) Granting Related Relief (the “Wages Motion”).

        27.     Pursuant to the Wages Motion, the Debtors seek entry of interim and final orders:

(i) authorizing, but not directing, the Debtors to: (a) pay all prepetition wages, salaries, other

compensation, and Reimbursable Expenses on account of the Employee Compensation and

Benefits (as defined in the Wages Motion) and continue to administer the Employee Compensation

and Benefits Programs in the ordinary course of business, including payment of prepetition

obligations related thereto; and (b) granting related relief.

        28.     As of the Petition Date, the Debtors employ approximately 370 employees

(the “Employees”), each of which are employed on a full-time basis, other than four part-time

Employees. The Employees perform a wide variety of functions critical to the administration of

these chapter 11 cases and the Debtors’ restructuring. Their skills, knowledge, and understanding

of the Debtors’ operations and infrastructure are essential to preserving operational stability and

efficiency.   In many instances, the Employees include highly-trained personnel, including

attorneys and paralegals, who are not easily replaced. Without the continued, uninterrupted

services of their Employees, the Debtors’ business operations will be halted.



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         29.    The number of Employees who are salaried versus paid on an hourly basis is

approximately 255 and 115 Employees, respectively. None of the Employees are represented by

a collective bargaining unit. The Debtors’ Employees perform a wide variety of functions critical

to the Debtors’ operations at both their headquarters and remotely. In addition to the Employees,

the Debtors also periodically retain specialized individuals, including certain of counsel attorneys,

as independent contractors and temporary staff (collectively, the “Temporary Staff”), to complete

discrete projects or fulfill certain duties on a short˗term and extended basis. The Debtors work

with certain staffing agencies (the “Staffing Agencies”) to satisfy their staffing and project

requirements for Temporary Staff members on an as˗needed basis. As of the Petition Date, the

Debtors retained approximately 210 personnel as Temporary Staff. The Debtors’ ability to

maintain Temporary Staff is a critical supplement to the efforts of the Debtors’ Employees.

         30.    In many instances, the Debtors’ Employees and Temporary Staff rely exclusively

on their compensation and benefits to pay their daily living expenses and to support their families.

Employees and Temporary Staff will be exposed to significant financial hardship and may leave

the employ of the company to the detriment of the estates in the event the Debtors are not permitted

to continue paying wages and salaries, providing employee benefits, and maintaining existing

employee programs in the ordinary course of business. Consequently, the relief requested in the

Wages Motion is necessary and appropriate under the facts and circumstances of these chapter 11

cases.




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 Employee Compensation and Benefits                   Approximate             Approximate Final
                                                      Interim Amount          Amount
 Compensation and Withholding Obligations
 Unpaid Wages                                         $600,000                $600,000
 Unpaid Temporary Staff Obligations                   $2,116,000              $2,116,000
 Payroll Fees                                         $88,000                 $88,000
 Withholding Obligations                              $305,000                $305,000
 Expenses                                             $29,000                 $29,000
 Non-Insider Quarterly Incentive Plan                 $0                      $592,000
 Non-Insider PROPs Bonus                              $0                      $10,000
 Non-Insider Quarterly Retention Program              $0                      $0
 Benefits and Entitlements
 Health Insurance Programs                            $105,000                $105,000
 Life and AD&D Insurance and Disability               $4,000                  $4,000
 Benefits
 Workers’ Compensation Program                        $0                      $0
 401(k) Plans                                         $283,000                $283,000
 Other Employee Benefits
 Employee Assistance Program                          $37,000                 $37,000
 Vacation Obligations                                 $348,000                $348,000
 Total                                                $3,915,000              $4,517,000


         31.    Subject to the Court’s approval of the relief requested in the Wages Motion, the

Debtors intend to continue their prepetition Employee Compensation and Benefits in the ordinary

course of business. In light of the Debtors’ recent operational updates and the need to align

employment practices with operational goals due to the adverse ruling in the CFPB Litigation (as

further described in the First Day Declaration), the Debtors request the right to modify, change,

and discontinue any of their Employee Compensation and Benefits and to implement new

programs, policies, and benefits, in the ordinary course of business during these chapter 11 cases

and without the need for further Court approval, subject to applicable law.




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        32.      Pursuant to the Wages Motion, the Debtors seek authority to pay the aggregate

prepetition amounts owed on account of the Employee Compensation and Benefits Programs set

forth in the table above.

        33.      For all of these reasons, the Debtors would suffer immediate and irreparable harm

to their business without the relief sought in the Wages Motion. The Debtors’ Employees are

critical to their operations and restructuring efforts. Accordingly, I believe such relief is in the

best interests of the Debtors’ estates, their creditors, and all other parties in interest, and will enable

the Debtors to continue to operate their business in chapter 11 without disruption.

        B.       Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the
                 Payment of Certain Taxes and Fees and (II) Granting Related Relief
                 (the “Taxes Motion”).

        34.      Pursuant to the Taxes Motion, the Debtors seek entry of interim and final orders

(i) authorizing, but not directing, the Debtors, to remit and pay (or use tax credits to offset) certain

prepetition obligations accrued in the ordinary course of business on account of undisputed Taxes

and Fees (as defined below), in an aggregate amount not to exceed $150,000 on an interim basis,

and (ii) granting related relief.

        35.      The Debtors collect, withhold, and incur sales, use, withholding, income, franchise,

and property taxes, as well as other business and regulatory fees, and pay fees owed to various tax

service providers on account of tax consulting services provided to the Debtors and license, permit,

annual report, and limited liability company fees.3 The Debtors remit the Taxes and Fees to

various federal, state, and local governments, including taxing authorities. Taxes and Fees are

remitted and paid by the Debtors through checks and electronic funds transfers that are processed




3   By the Taxes Motion, the Debtors do not seek the authority to collect and remit state and federal employee-related
    taxes and withholdings. Such relief is instead requested in the Wages Motion.



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through their banks and other financial institutions. From time to time, the Debtors may also

receive tax credits for overpayments or refunds in respect of Taxes and Fees. The Debtors

generally use these credits to offset against future Taxes and Fees or have the amount of such

credits refunded to the Debtors. The Debtors estimate that approximately $350,000 in Taxes and

Fees are outstanding as of the Petition Date, of which $150,000 is currently payable or will become

due and owing to the Authorities within the first 30 days of these chapter 11 cases in the ordinary

course.

          36.    Additionally, the Debtors may become subject to routine audit investigations on

account of tax returns and/or tax obligations in respect of prior years (“Audits”) during these

chapter 11 cases, including as a result of any voluntary disclosure agreements or similar procedural

mechanisms (if applicable). Audits may result in additional prepetition Taxes and Fees being

assessed against the Debtors (such additional Taxes and Fees, “Assessments”).4 Accordingly, the

Debtors seek authority, but not direction, to pay or remit tax obligations on account of the

Assessments as they arise, including as a result of any resolutions of issues addressed in an Audit,

including with respect to kinds of Taxes and Fees otherwise addressed in the Wages Motion.

          37.    The Debtors pay the Taxes and Fees to the Authorities on a periodic basis, remitting

them monthly, quarterly, semi-annually, or annually depending on the nature and incurrence of the

particular category of Taxes and Fees, each of which is further discussed below. Although the

Debtors believe that they are substantially current with respect to their payment of Taxes and Fees,

the Debtors seek authority pursuant to this motion to make such payments where: (a) Taxes and

Fees accrue or are incurred postpetition; (b) Taxes and Fees accrued or were incurred prepetition


4   Nothing in the Taxes Motion or any related order constitutes, or should be construed, as an admission of liability
    by the Debtors with respect to any Audit or Assessment. The Debtors expressly reserve all rights with respect to
    any Audit and the right to contest any Assessments claimed to be due as a result of any Audit.



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but were not paid prepetition or were paid in an amount less than actually owed; (c) Taxes and

Fees paid prepetition by the Debtors were lost or otherwise not received in full by any of the

Authorities; or (d) Taxes and Fees incurred for prepetition periods may become due after the

commencement of these chapter 11 cases. In addition, for the avoidance of doubt, the Debtors

seek authority, but not direction, to pay Taxes and Fees for so-called “straddle” periods

(i.e., periods that include the Petition Date).5

        38.       In addition, the Debtors collect and hold certain outstanding tax liabilities in trust

for the benefit of the applicable Authorities, and these funds may not constitute property of the

Debtors’ estates.

        39.       The Debtors estimate that approximately $350,000, in the aggregate, in Taxes and

Fees is outstanding as of the Petition Date, approximately $150,000 of which will become due and

owning within twenty-one days of the Petition Date.

                                                                             Approximate           Approximate
                                                                           Amount Accrued          Amount Due
     Category                            Description
                                                                           and Unpaid as of       During Interim
                                                                             Petition Date            Period

Sales and Use          Taxes imposed on the sale and use of certain             $160,000               $60,000
Taxes                  goods and services.

Income and             Taxes imposed on the Debtors’ income and                 $60,000                $40,000
Franchise Taxes        taxes imposed upon the Debtors to operate their
                       businesses pursuant to state laws.

Property Taxes         Taxes and obligations related to real and                $80,000                  $0
                       personal property holdings.




5   The Debtors reserve their rights with respect to the proper characterization of any “straddle” Taxes and Fees and
    to seek reimbursement of any portion of any payment made that ultimately is not entitled to administrative or
    priority treatment.



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                                                                                 Approximate            Approximate
                                                                               Amount Accrued           Amount Due
        Category                           Description
                                                                               and Unpaid as of        During Interim
                                                                                 Petition Date             Period

Business License        Fees related to compliance with state licensing             $50,000                 $50,000
and Other Taxes         and registration related to teleservice, including
and Fees                permits, surety bonds,6 reporting, and other fees
                        paid to state and local agencies.

Total                                                                               $350,000               $150,000


          40.      For all of these reasons, the Debtors would suffer immediate and irreparable harm

to their business without the relief sought in the Taxes Motion. Accordingly, I believe such relief

is in the best interests of the Debtors’ estates, their creditors, and all other parties in interest, and

will enable the Debtors to continue to operate their business in chapter 11 without disruption.

          C.       Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the
                   Debtors to (A) Maintain Insurance and Surety Coverage Entered into
                   Prepetition and Pay Related Prepetition Obligations and (B) Renew,
                   Supplement, Modify, or Purchase Insurance Coverage and (II) Granting
                   Related Relief (the “Insurance Motion”).

          41.      Pursuant to the Insurance Motion, the Debtors seek entry of interim and final orders

(a) authorizing, but not directing, the Debtors to (i) maintain coverage under the Insurance Policies

and Surety Bonds and pay any related obligations and (ii) renew, supplement, modify, or purchase

insurance and surety coverage in the ordinary course of business and (b) granting related relief.

          42.      The Debtors’ ability to maintain the Insurance Policies and Surety Bonds, to renew,

supplement, and modify the same as needed, and to enter into new insurance policies and surety

bonds as needed in the ordinary course of business, is essential to preserving the value of the

Debtors’ estates. Moreover, in many instances, insurance or surety coverage is required by



6   For the avoidance of doubt, the Debtors seek relief in connection with such surety bonds solely to the extent not
    duplicative of the relief sought on account of surety bonds in favor of certain taxing authorities, as set forth in the
    Insurance Motion.



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statutes, rules, regulations, and contracts that govern the Debtors’ commercial activities, including

the requirements of the United States Trustee for the District of Delaware that a debtor maintain

adequate coverage given the circumstances of its chapter 11 case. The Debtors are required to

maintain the Surety Bonds under certain state law in order to lawfully conduct their business and

operations in the applicable jurisdictions.

        43.      In the ordinary course of business, the Debtors maintain approximately

29 Insurance Policies administered by various third-party insurance carriers, as well as 69 Surety

Bonds issued by Capital Indemnity Corporation. The Insurance Policies provide the Debtors and

non-Debtor entities7 coverage for, among other things, the Debtors’ property, general liability,

employee benefits liability, earthquake, flood, automobile liability, technology errors & omission,

cyber liability, workers’ compensation,8 umbrella coverage, crime, kidnap & ransom, business

travel accident, and directors’ and officers’ liability. The Surety Bonds are issued in favor of

various federal, state, and industry regulatory agencies to guarantee certain obligations related to

various state licenses and permits.

        44.      The Insurance Policies and Surety Bonds are essential to the ongoing operation of

the Debtors’ business. The Insurance Policies generally are one year in length, with no affirmative

obligation to renew upon expiration. The total annual premiums for the Insurance Policies was

approximately $1.5 million in the aggregate for the 2022-23 term, not including applicable



7   In some instances, the Debtors are insured under an insurance policy that also provides coverage to a certain
    non-Debtor too. For example, certain Insurance Policies related to director and officer liability also provide
    coverage to non-Debtor PGX TopCo, LLC. Intercompany transactions are described, and relief is requested, in
    the Cash Management Motion.

8   For the avoidance of doubt, the Debtors’ workers’ compensation policies are reflected on Exhibit C to the
    Insurance Motion and throughout the Insurance Motion to the extent the relief requested in the Wages Motion is
    not coextensive with the relief sought in the Insurance Motion. This motion asks the Court to authorize, but not
    direct, the Debtors’ payment of any prepetition obligations on account of the related Insurance Policies.



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deductibles or self-insured retentions.9 The total annual premiums for the Surety Bonds is

approximately $67,950 in the aggregate. The premiums for the Insurance Policies are paid in a

single lump sum shortly after the Insurance Policy inception date. The premiums associated with

the Debtors’ workers’ compensation policy are subject to adjustments at the end of the term.

The Debtors estimate that, as of the Petition Date, there are no outstanding premiums due on

account of the Insurance Policies (other than, potentially on account of the workers’ compensation

policy).10 Nevertheless, out of an abundance of caution, the Debtors seek authority, but not

direction, to pay any prepetition obligations owing on account of the Insurance Policies and the

Surety Bonds in the ordinary course of business as they become due to ensure uninterrupted

coverage thereunder.

         45.      The Debtors obtain most of their Insurance Policies and Surety Bonds through

Diversified Insurance Inc.11 The Broker, among other things: (a) assists the Debtors in obtaining

comprehensive insurance and surety coverage for their operations in a cost-effective manner;

(b) manages renewal data; and (c) provides ongoing support throughout the applicable policy periods

for the Insurance Policies and the Surety Bonds. In exchange for these services, the Debtors pay



9    Some of the Insurance Policies require the Debtors to pay a per-incident deductible. Generally, if a claim is made
     against such Insurance Policies, the applicable Insurance Carrier will administer the claim and make payments in
     connection therewith in accordance with the terms of such policy, and the Insurance Carrier will have a claim
     against the Debtors in the amount of the applicable Deductible. Alternatively, certain of the Insurance Policies
     use self-insured retentions on a per˗claim basis instead of Deductibles. If a claim is made under such Insurance
     Policies, the Debtors must make payments in the first instance (whether related to defense costs or on account of
     the underlying liability) up to the amount of the SIR and, once the Debtors have made payments to satisfy such
     amount, the carrier becomes obligated to cover remaining costs in accordance with the terms of such policy. Out
     of an abundance of caution, the Debtors seek authority, but not direction, to pay all prepetition amounts that may
     be due and owing on account of the Deductibles and to continue honoring all payment obligations under the
     Deductibles in the ordinary course of business to ensure uninterrupted coverage thereunder.

10   In light of the Debtors recently reducing their employee headcount, the Debtors anticipate that the annual true-up
     of the workers’ compensation policy premium will result in a refund of a portion of the annual premium.

11   For the avoidance of doubt, Diversified Insurance, an IMA, Inc. Company, is the broker for the Debtors’ workers’
     compensation policy, for which relief is requested in the Wages Motion.



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broker commissions and brokerage fees, usually at the same time the Debtors pay their premiums.

As of the Petition Date, the Debtors do not believe that they owe any amounts to the Broker on

account of Broker Fees. Out of an abundance of caution, however, the Debtors seek authority, but

not direction, to pay any prepetition obligations owed to the Broker and continue to pay the Broker

for services rendered in the ordinary course of business to ensure uninterrupted coverage under

their Insurance Policies and Surety Bonds.

        46.     Accordingly, I believe the relief requested in the Insurance Motion is in the best

interests of the Debtors’ estates, their creditors, and all other parties in interest, and will enable the

Debtors to continue to operate their business in chapter 11 without disruption.

        D.      Motion of Debtors for Entry of Interim and Final Orders (I) Approving the
                Debtors’ Proposed Adequate Assurance of Payment for Future Utility
                Services, (II) Approving the Debtors’ Proposed Procedures for Resolving
                Additional Assurance Requests, (III) Prohibiting Utility Providers from
                Altering, Refusing, or Discontinuing Services, and (IV) Granting Related
                Relief (the “Utilities Motion”).

        47.     Pursuant to the Utilities Motion, the Debtors seek entry of interim and final orders,

(a) approving the Debtors’ proposed adequate assurance of payment for future utility services,

(b) approving the Debtors’ proposed procedures for resolving additional adequate assurance

requests, (c) prohibiting utility providers from altering, refusing, or discontinuing services, and

(d) granting related relief.

        48.     In the ordinary course of their business, the Debtors obtain electricity, gas,

telecommunications, cable/television, water, waste management (including sewer and trash),

internet, and other similar services (collectively, the “Utility Services”) from a number of utility

providers or brokers (each, a “Utility Provider” and collectively, the “Utility Providers”).




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       49.     Pursuant to the leases for several of the Debtors’ rental properties, certain Utility

Services are billed directly to the Debtors’ landlords and passed through to the Debtors as part of

the Debtors’ lease payments in accordance with the applicable lease agreements.

       50.     Uninterrupted Utility Services are essential to the Debtors’ ongoing business

operations and, hence, the overall success of these chapter 11 cases. The Debtors’ business

operations require uninterrupted electricity, telecommunications, internet, heat, water, and other

utility services to operate. Specifically, the Debtors must maintain constant communication with

their customers to properly serve their needs, which requires a dependable provision of Utility

Services. Additionally, the Debtors are a services provider and require workable office space with

continued utility services to properly operate their business. Should any Utility Provider refuse or

discontinue service, even for a brief period, the Debtors’ business operations would be severely

disrupted. Such disruption would adversely affect customer goodwill and employee relations,

which, in turn, would jeopardize the Debtors’ reorganization efforts.

       51.     The Debtors are not in default or arrearages with respect to their obligations for

prepetition Utility Services. The Debtors pay approximately $154,000 each month for Utility

Services, calculated as a historical average payment for the 12-month period ended

March 31, 2023.

       52.     The Debtors intend to satisfy postpetition obligations owed to the Utility Providers

in a timely manner. Cash held by the Debtors, cash generated in the ordinary course of business,

and the Debtors’ anticipated access to cash collateral and debtor-in-possession financing will

provide sufficient liquidity to pay the Debtors’ Utility Service obligations in accordance with their

prepetition practice. To provide additional assurance of payment, the Debtors propose to deposit

$76,534 (the “Adequate Assurance Deposit”) into a segregated account (the “Adequate Assurance




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Account”). The Adequate Assurance Deposit represents an amount equal to approximately one-

half of the Debtors’ average monthly cost of Utility Services, calculated as the historical average

payment for the 12-month period ending March 31, 2023.

        53.       The Adequate Assurance Deposit will be held in a segregated account that is

maintained by the Debtors for the duration of these chapter 11 cases, for the benefit of each Utility

Provider, subject to the Debtors’ right to terminate or discontinue the applicable Utility Services,

and it may be applied to any postpetition defaults in payment to the Utility Providers.

The Adequate Assurance Deposit will be held by the Debtors, and the Debtors’ creditors will have

no lien on any of the Adequate Assurance Deposit to the extent not returned to the Debtors,

pursuant to the terms set forth in the Orders or the Adequate Assurance Account.

        54.       Any Utility Provider that is not satisfied with the Proposed Adequate Assurance

may make an Additional Assurance Request pursuant to the Adequate Assurance Procedures.

        55.       The Adequate Assurance Procedures provide a streamlined process for Utility

Providers to address potential concerns with respect to the Proposed Adequate Assurance.

Specifically, the Adequate Assurance Procedures permit a Utility Provider to object to the

Proposed Adequate Assurance by filing and serving an Additional Assurance Request upon certain

notice parties.

        56.       The Debtors may, in their discretion, resolve any Additional Assurance Request by

mutual agreement with the applicable Utility Provider and without further order of the Court. If the

Debtors determine that the Additional Assurance Request cannot be resolved by mutual agreement,

the Debtors may seek Court resolution of the Additional Assurance Request.

        57.       The Debtors have made an extensive and good-faith effort to identify all Utility

Providers and include them on the Utility Providers List. Nonetheless, to the extent the Debtors




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identify new or additional Utility Providers or discontinue services from existing Utility Providers,

the Debtors seek authority to add or remove such parties from the Utility Providers List.

       58.     I believe such relief sought in the Utilities Motion is in the best interests of the

Debtors’ estates, their creditors, and all other parties in interest, and will enable the Debtors to

continue to operate their business in chapter 11 without disruption.

       E.      Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the
               Debtors to (A) Continue to Operate the Cash Management Systems, (B) Honor
               Certain Prepetition Obligations Related Thereto, (C) Maintain Existing
               Business Forms, (D) Continue to Perform Intercompany Transactions, and
               (II) Granting Related Relief (the “Cash Management Motion”).

       59.     Pursuant to the Cash Management Motion, the Debtors seek entry of interim and

final orders: (a) authorizing the Debtors to continue to operate their Cash Management Systems,

illustrated on Exhibit 1 annexed to the Interim Order and Final Order of the Cash Management

Motion, honor certain prepetition obligations related thereto, maintain existing business forms in

the ordinary course of business, continue to perform intercompany transactions consistent with

historical practice, and grant administrative expense status to postpetition intercompany balances;

and (b) granting related relief.

       60.     In the ordinary course of business, the Debtors maintain the Cash Management

Systems to facilitate the efficient operation of their business, as illustrated on Exhibit 1 annexed

to the Interim Order and Final Order attached to the Cash Management Motion. The Cash

Management Systems are comparable to the centralized cash management systems used by

similarly situated companies to manage the cash of operating units in a cost-effective manner and

ensure the availability of adequate funds at each Debtor entity. The Debtors use the Cash

Management Systems in the ordinary course of their business to collect, transfer, and disburse

funds generated from their operations and to facilitate cash monitoring, forecasting, and reporting.




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       61.     The Debtors’ Cash Management Systems are comprised of two systems:

the Progrexion Cash Management System and the Lexington Law Cash Management System.

       62.     The Progrexion Cash Management System is centralized around the Master

Concentration Account held at Bank of America, N.A. (“BofA”).                The Progrexion Cash

Management System includes a total of 15 bank accounts, each of which is identified on Exhibit 2

annexed to the Interim Order and Final Order attached to the Cash Management Motion and consist

of the following:

               ten Bank Accounts held at BofA;

              four Bank Accounts held at JPMorgan Chase Bank (“JPM”); and

              one Bank Account held at Comerica Incorporated (“Comerica”).

       63.     The Progrexion Debtors’ accounting department manages the Progrexion Bank

Accounts, including the opening, closing, and day-to-day maintenance of the Progrexion Cash

Management System and implements controls for entering, processing, and releasing funds in the

ordinary course of the Progrexion Debtors’ business, including in connection with the

intercompany transactions and performs weekly reconciliations of the Progrexion Bank Accounts

to the Progrexion Debtors’ books and records to ensure that all transfers are accounted for properly.

       64.     The Progrexion Debtors have used the Progrexion Cash Management System

without substantial modification since October 2014. The Progrexion Cash Management System

consists of two discrete systems, corresponding to the time period before and after the adoption of

the current Progrexion Cash Management System. The Progrexion Debtors’ cash receipts related

to recurring customer subscription services from prior to October 2014 (such customers,

the “Legacy Customers”) utilize the Progrexion Bank Accounts held at JPM. Additionally, the

Progrexion Debtors have used the Progrexion Bank Account held at Comerica to adjust refunds

and payment disputes with Legacy Customers and to fund certain employee incentive payments


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(the Accounts held at JPM and Comerica being the “Legacy Accounts”). The remainder of the

Progrexion Debtors’ receipts from operations utilize the Progrexion Bank Accounts at BofA.

       65.    The Lexington Law Cash Management System includes a total of 7 bank accounts,

each of which is identified on Exhibit 3 annexed to the Interim Order and Final Order of the Cash

Management Motion and consist of the following:

              two Lexington Law Bank Accounts held at BofA;

             four Lexington Law Bank Accounts held at JPM; and

             one Lexington Law Bank Account held at Comerica.

       66.    The Lexington Law Cash Management System includes an attorney operating

account and an Interest on Lawyers’ Trust Account (“IOLTA”). The IOLTA account is used to

deposit client funds that are unrelated to Lexington Law’s credit repair work. Funds held in the

IOLTA account are maintained by Debtor Lexington Law for the benefit of or on account of its

clients. The IOLTA account, and the funds maintained therein, is segregated from the Debtors’

other accounts and funds at all times, and not comingled. Client funds are from time to time

manually transferred to Debtor Lexington Law’s attorney operating account when and solely to

the extent such funds are earned by Debtor Lexington Law in consideration for services provided

and invoiced to its clients. The IOLTA account complies with rule 14-1001 of the Utah Supreme

Court Rules of Professional Practice. The Lexington Law Cash Management System interacts

periodically with the Progrexion Cash Management System.

       67.    The Progrexion Debtors pay the Cash Management Banks approximately $9,800

per month in the aggregate in Bank Fees, and Lexington Law pays the Cash Management Banks

approximately $2,600 per month in the aggregate in Bank Fees. The Debtors estimate that they

owe approximately $12,400 in the aggregate on account of Bank Fees as of the Petition Date.




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       68.     As part of the Cash Management System, the Debtors provide certain employees

with access to corporate credit cards through American Express and Chase Bank on arm’s-length

terms. The Progrexion Debtors maintain 60 Credit Cards with American Express and Lexington

Law maintains eight Credit Cards with American Express and one Credit Card with Chase Bank.

The Progrexion Credit Cards are reimbursed from the BofA account ending 8312 while the

Lexington Law Credit Cards (both American Express and Chase) are reimbursed from the BofA

account ending 8510. The Credit Cards are used by the Debtors’ employees to pay for certain

work-related expenses, such as work-related travel, meals, office supplies, employee incentives,

vendor payments, and small, non-recurring purchases made on behalf of the Progrexion Debtors.

The Debtors estimate that there are no amounts outstanding on account of the Credit Card Program

as of the Petition Date.

       69.     Intercompany Transactions occur as part of the ordinary course operation of the

Progrexion Cash Management System, and at any given time, there may be Intercompany Claims

owing by one Debtor to another Debtor. Specifically, at the end of each day, the Master

Concentration Account receives excess cash swept from the Zero Balance Accounts. Conversely,

where subsidiaries of Debtor PGX Holdings, Inc. need to make certain disbursements, such

subsidiaries may from time to time draw cash from the Master Concentration Account.

Intercompany Transactions are recorded at such occasions. Intercompany Transactions are also

frequently conducted pursuant to prepetition shared services and intercompany trade

arrangements, among others. As such, at any given time there may be Intercompany Claims owing

by one Progrexion Debtor to another Progrexion Debtor. The Intercompany Claims are reflected

as journal entry receivables and payables, as applicable, in the respective Progrexion Debtors’

accounting systems, and no settlement of these Intercompany Claims are typically made in cash.




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       70.     The Progrexion Cash Management System and the Lexington Law Cash

Management System regularly interact with each other in the ordinary course of business on

account of services that certain Progrexion Debtors provide to Lexington Law as well as in

connection with the reimbursement of certain costs paid on another Debtors’ behalf. Specifically,

Debtors Progrexion Marketing, Inc., Progrexion Teleservices, Inc., Progrexion ASG, Inc., and

Progrexion IP, Inc. (collectively, the “Progrexion Providers”), provide Debtor Lexington Law

administrative, support, marketing, credit repair services, and intellectual property licenses

pursuant to certain operating agreements (as may be amended, supplemented, or modified from

time to time, the “Operating Agreements”).       The consideration owed for these services is

calculated on a monthly basis, usually within 15 days after the end of the month where such

services are rendered. Lexington Law historically made estimated progress payments on a weekly

basis to the Progrexion Providers for services rendered during that same month. Historically, such

progress payment were made based on a percentage of the prior month’s invoiced amount. Once

the total payments owed for the month is known (i.e., approximately 15 days after the end of the

month), the remaining consideration owed for the month that was not already paid through such

estimated progress payments are billed to Lexington Law and due 30 days in arrears from the end

of the month where such services were delivered. As such, the Debtors may have outstanding

prepetition Intercompany Claims that may only become known postpetition. As further described

in the First Day Declaration, in the twelve-month period before the Petition Date, the Progrexion

Debtors derived approximately 87 percent of their revenue from provision of operating services to

Lexington Law. As of the Petition Date, Debtor Lexington Law owes the Progrexion Providers

approximately $27.9 million for services rendered under the Operating Agreements. Per the Cash




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Management Motion, the Debtors do not intend to pay such amounts owed under the Operating

Agreements.

         71.    It is crucial for the continued operations of the Progrexion Debtors, including for

the provision of services under the Operating Agreements, which in turn is crucial for the continued

operations of Lexington Law to continue to make payments under the Operating Agreements

following the commencement of these chapter 11 cases, even though the prepetition intercompany

claim will remain outstanding until cured in the context of the proposed sale process. The Debtors’

compliance with the terms of the DIP Facility and their ability to obtain postpetition financing are

dependent upon the payment of amounts owed under the Operating Agreements on a go-forward

basis.

         72.    Separately, certain invoices charged by Lexington Law to a PGX Debtor or by a

PGX Debtor to Lexington Law are for the reimbursement of certain costs that may be paid by one

Debtor on behalf of another Debtor. For example, Lexington Law and a PGX Debtor may both

receive services from the same credit bureau or office supply vendor, in which case Lexington

Law may be invoiced for expenses incurred by both Debtors. In that instance, Lexington Law

would pay for such expenses on behalf of the PGX Debtor, at which point an intercompany payable

is created for the corresponding amount, and Lexington Law would then bill the applicable PGX

Debtor for reimbursement of such costs in cash. Such reimbursement payments are generally

made approximately 30 days in arrears.

         73.    The Debtors closely track all fund transfers in their respective accounting systems

and can ascertain, trace, and account for all Intercompany Transactions. The Debtors, with the

assistance of their advisors, have also put in place monitoring systems to be able to track

postpetition intercompany transfers.




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          74.    As part of the Cash Management System, the Debtors utilize numerous business

forms in the ordinary course of their business, including letterhead, purchase orders, invoices, and

checks. With respect to any checks that are generated electronically after the Petition Date, the

Debtors will update such checks to indicate their status as “Debtor in Possession” and the

bankruptcy case numbers. The Debtors do not believe they currently have preprinted checks.

However, out of an abundance of caution, the Debtors request that, to the extent there are any pre-

printed checks and other Business Forms, the Court authorize the Debtors’ continued use of all

such Business Forms in existence immediately before the Petition Date, without reference to the

Debtors’ status as debtors in possession to minimize expenses to their estates and avoid confusion

on the part of employees, customers, vendors, and suppliers during the pendency of these chapter

11 cases.

          75.    For all of these reasons, the Debtors would suffer immediate and irreparable harm

to their business without the relief sought in the Cash Management Motion. Accordingly, I believe

such relief is in the best interests of the Debtors’ estates and their creditors and stakeholders and

will enable the Debtors to continue to operate their business in chapter 11 without disruption.

          F.     Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing
                 Debtors to Pay Certain Prepetition Claims of Critical Vendors and
                 (II) Granting Related Relief (the “Critical Vendors Motion”).

          76.    Pursuant to the Critical Vendors Motion, the Debtors seek entry of an order:

(a) authorizing, but not directing, the Debtors to pay Critical Vendors Claims in an amount not to

exceed $4.64 million on an interim basis and $5.74 million on a final basis and (b) granting related

relief.

          77.    Prior to the Petition Date, the Debtors, with the assistance of their advisors, spent

significant time reviewing and analyzing their books and records, consulting operations

management and purchasing personnel, reviewing contracts, and analyzing applicable laws,


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regulations, and historical practice to identify certain critical business relationships—the loss of

which could materially harm their business, reduce their enterprise value, and/or impair

going-concern viability. In this process, the Debtors considered a variety of factors, including:

                   whether a vendor is a sole- or limited-source of services critical to the Debtors’
                    business operations;

                   whether alternative vendors are available that can provide requisite volumes of
                    similar goods or services on equal (or better) terms and, if so, whether the
                    Debtors would be able to continue operating while transitioning business
                    thereto;

                   whether an agreement exists by which the Debtors could compel a vendor to
                    continue performing on prepetition terms;

                   whether certain specifications or contract requirements prevent, directly or
                    indirectly, the Debtors from obtaining services from alternative sources; and

                   whether failure to pay all or part of a particular vendor’s claim could cause the
                    vendor to refuse to provide critical services on a postpetition basis.

       78.      Following this analysis, the Debtors and their advisors examined the health of each

vendor relationship, the vendor’s familiarity with the chapter 11 process, and the extent to which

each vendor’s prepetition claims could be satisfied elsewhere in the chapter 11 process.

The Debtors identified certain critical vendors utilized in the ordinary course—that likely would

be impossible to replace at this critical juncture in these chapter 11 cases—as potential

beneficiaries of the relief requested in the Critical Vendors Motion (the “Critical Vendors”).

The Debtors submit that the relief requested in the Critical Vendors Motion will allow the Debtors

to preserve stakeholder value by paying the prepetition claims of certain counterparties that are

critical to the Debtors’ business enterprise. Failure to pay these counterparties would result in a

severe negative effect on the value of the Debtors’ estates and the recoveries available to

stakeholders.




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       79.     The Debtors, through online platforms, offer credit report repair services to

customers who believe their credit scores have been erroneously downgraded due to various

reporting errors. In order to provide its customers with this valuable service, the Debtors rely on

certain vendors, who support the operations of the Debtors. The services provided by the Critical

Vendors are crucial in enabling the Debtors to successfully maintain operations and to preserve

value of the estates.

       80.     The Debtors have two main groups of critical service providers: (a) marketing

partners and (b) marketing agencies. Each of these groups of Critical Vendors provide essential

services, including lead generation and other marketing efforts, upon which the Debtors’

businesses depend. Accordingly, the failure to pay these critical vendors would result in a severe

negative effect on the value of the Debtors’ estates and the recoveries available to stakeholders.

       81.     Lead generation is critical to the Debtors business as a driver for new customer

acquisition, which is key to the continued cash generation of the Debtors, especially as the Debtors

navigate the operational changes in response to the TSR ruling. On average, the Debtors maintain

relationships with each individual customer for approximately six to seven months, meaning that

the Debtors’ customer base has a high turnover rate. Historically, the Debtors have completely

“turned” (completely refilled their customer base with new customers) more than once each fiscal

year. This high customer turnover rate is an intrinsic component of the Debtors’ business and must

be maintained if the Debtors are to successfully continue operations. Together, the relatively low

tenure of the average customer combined with the high turn rate for the Debtors’ business model

displays the necessity of new lead generators to replenish, grow, and simply maintain the Debtors’

business.




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       82.     The Debtors engage various small businesses and individuals to market their

services to customers as the Debtors’ affiliate marketing partners (the “Marketing Partners”).

The Marketing Partners market the Debtors’ services through their online platform accounts and

earn a commission for every sale the Debtors make through their accounts. Given this business

model, the Marketing Partners’ services are crucial to the Debtors’ continued operations by

continuing to drive new customers to the business, creating the ultimate source of revenue and

liquidity that the Debtors need to emerge successfully from this reorganization process.

The Marketing Partners Claims account for approximately 13 percent of the Critical Vendors

Claims.

       83.     To further facilitate this crucial acquisition of new customers, the Debtors also

engage various marketing agency platforms that enable the Debtors to advertise their businesses.

These agencies include online marketers, who use branded and non-branded terms to direct

customers to the Debtors’ business, as well as other offline marketers who provide radio and

television commercials to drive traffic towards the Debtors’ business (together, the “Marketing

Agencies”). The Marketing Agencies typically have only short-term or non-binding contracts and

engage with the Debtors on an at-will basis. The continued services from the Marketing Agencies

are crucial to the Debtors operations due to the high customer turnover rate that is inherent to the

Debtors’ business. The Marketing Agencies Claims account for approximately 70 percent of the

Critical Vendors Claims.

       84.     Finally, the Debtors rely on a limited number of other Critical Vendors to provide

various types of services that are critical to the Debtors’ business such as, branding, content

writing, consulting services, corporate and compliance services, delivery and shipping services,

payment platform services, and payment processing solutions (the “Other Critical Vendors”).




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The Other Critical Vendors Claims account for approximately 17 percent of the Critical Vendors

Claims.

        85.     I believe the Debtors’ estates could be materially, if not irreparably, harmed if they

were to lose access to the services provided by the Critical Vendors. The Debtors therefore seek

authority, but not direction, to honor prepetition obligations to Critical Vendors. The Debtors

submit that the requested relief will allow the Debtors to preserve stakeholder value by paying the

prepetition claims of certain counterparties that are critical to the Debtors’ business enterprise.

Moreover, the relief requested is necessary because many of the Critical Vendors have no

obligation to continue providing services under the relevant contracts, if any exist. Additionally,

the Debtors do not seek authorization to honor prepetition obligations arising under contract,

except where the Debtors determine, in their business judgment, such parties may be capable of

terminating their contracts notwithstanding section 362(a) of the Bankruptcy Code or may

otherwise inflict immediate and irreparable harm on the Debtors by their refusal to comply with

their contractual obligations.

        86.     I believe that the relief requested in the Critical Vendors Motion will allow the

Debtors to preserve stakeholder value by paying the prepetition claims of certain counterparties

that are critical to the Debtors’ business enterprise. I believe that the relief requested in the Critical

Vendors Motion is in the best interests of the Debtors’ estates, their creditors, and all other parties

in interest, and will enable the Debtors to continue to operate their business in chapter 11.

Accordingly, on behalf of the Debtors, I respectfully submit that the Court should approve the

Critical Vendors Motion.




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        G.      Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the
                Debtors to Maintain and Administer Their Existing Customer Programs and
                Honor Certain Prepetition Obligations Related Thereto and (II) Granting
                Related Relief (the “Customer Programs Motion”).

        87.     Pursuant to the Customer Programs Motion, the Debtors seek entry of interim and

final orders: (a) authorizing, but not directing, the Debtors to maintain and administer their

customer-related programs and honor certain prepetition obligations related thereto; and

(b) granting related relief.

        88.     The Debtors provide services to customers across the United States who seek to

access and understand the information contained in their credit reports and to ensure such

information contained is fair, accurate, and substantiated. In the twelve-month period ending in

March 2023, the Debtors provided such services to more than 2.18 million customers. These

customers fall into the following categories:

               Lexington Law. John C. Heath, Attorney At Law PC (d/b/a Lexington Law)
                (“Lexington Law”), a law firm, provides credit-related legal counseling to clients.
                The Debtors (other than Lexington Law) support Lexington Law by providing
                certain sales and marketing, custom software, technology, and administrative
                services. In the twelve-month period ending in March 2023, Debtor Lexington Law
                provided services to more than 1.13 million clients. Such services provided by the
                Debtors accounted for approximately eighty-eight percent of revenue over the same
                time period.

               Creditrepair.com. The Debtors provide certain credit report repair and monitoring
                services to customers on a direct-to-consumer basis through Creditrepair.com.
                In the twelve-month period ending in March 2023, the Debtors provided such
                services to approximately 110,000 customers that, collectively, accounted for
                approximately ten percent of the Debtors’ revenue during that timeframe.

               Credit.com. The Debtors provide certain services directly to customers through
                Credit.com, a website that matches customers to a financial product such as a credit
                card or loan and provides consumers access to free credit scores, educational
                content, and other tools. The Debtors provided such services to approximately
                940,000 customers in the twelve-month period ending in March 2023, accounting
                for approximately two percent of the Debtors’ revenue over that same period.
                In addition, Credit.com has attracted website traffic of approximately 549,000
                visitors per month for the twelve months ending April 2023.



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         89.      Consistent with common industry practice, the Debtors have historically provided

certain Customer Programs including incentives, discounts, and accommodations to their

customers to attract and maintain positive customer relationships. I believe that the Debtors’

ability to continue the Customer Programs and to honor their obligations thereunder in the ordinary

course of business is necessary to retain their reputation for reliability, to meet competitive market

pressures, and to ensure customer satisfaction, thereby retaining current customers, attracting new

ones, and, ultimately, enhancing revenue and profitability for the benefit of all of the Debtors’

stakeholders.        The Debtors estimate that, of their prepetition obligations under the

Customer Programs, they owe approximately $165,000 on account of customer refunds,12 but have

no other accrued adjustments, discounts, or other similar obligations owing to their customers.

         90.      It is my understanding that the Debtors comply with “right-to-rescission” laws

around the country in connection with the sale of their credit report repair and monitoring services.

         91.      Separately, through their Refund Program, the Debtors provide refunds to

customers who are dissatisfied with the services or products they have purchased.13 The Debtors

also provide a goodwill refund in certain situations, such as if a customer incurred an overdraft fee

when a payment was attempted. Pursuant to the Refund Program, customers are generally

refunded the full purchase price in the manner in which they purchased the services or, if the

Debtors are not able to refund the amount to the customer’s payment information on file, customers

are generally issued checks to refund the purchase price. There is no time limit in which customers




12   Approximately $46,000 of such amount is owing based on outstanding checks. The remaining balance consists
     of refunds to be made on credit cards and debit cards.

13   For the avoidance of doubt, in light of the nature of legal services, Debtor Lexington Law has historically
     considered providing refunds to clients on a case-by-case basis in light of the particular facts and circumstances,
     but Lexington Law has no standard refund policy or satisfaction guarantee.



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can receive a refund. From April 2022 to March 2023, the Debtors issued approximately

$6.65 million in the aggregate to customers on account of the Refund Program.

       92.     In the ordinary course of business, the Debtors also offer certain special-rate pricing

discounts to their customers. From April 2022 to March 2023, the market value of the Debtors’

discounts to customers was approximately $50 million in the aggregate. For example, the Debtors

(other than Lexington Law) have historically offered preferred pricing to customers who purchase

multiple services for other members in the same household or certain one-time price discounts,

historically at rates no greater than fifteen percent off the non-discounted price. Lexington Law

has historically offered certain price discounts to incentivize signups, such as when a client’s

engagement includes their spouse or significant other (historically no more than fifty percent off

the non-discounted price), along with other discount structures.

       93.     In addition to cash, the Debtors accept the following methods of payment from

customers via online points of sale: (i) Visa, MasterCard, and Discover credit cards; (ii) debit

cards; and (iii) checks (the “Non-Cash Payments”). To process Non-Cash Payments, the Debtors

are party to certain agreements (the “Payment Processing Agreements”) with payment processors

(the “Payment Processing Companies”). Pursuant to the Payment Processing Agreements, the

Debtors generally receive the net customer sales less any chargebacks and processing fees charged

(the “Processing Fees”). The fees owing to these companies are set off from the funds that are

remitted to the Debtors on account of the Non-Cash Payments on a daily basis.

       94.     When customers dispute charges with a Payment Processing Company, the Debtors

typically refund to such Payment Processing Company the purchase price of the disputed product

or service, subject to certain adjustments (collectively, “Chargebacks,” and together with the

Processing Fees, the “Processing Obligations”). Generally, Chargebacks are satisfied by netting




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the amount charged against pending payments owed by a Payment Processing Company to the

Debtors. It is possible that certain Processing Obligations incurred by the Debtors immediately

prior to the Petition Date may not have been fully netted out against the payments received by the

Debtors prior to the Petition Date.

        95.     The Debtors’ continued acceptance of Non-Cash Payments is essential to the

operation of the Debtors’ businesses because the majority of the Debtors’ sales are made using

Non-Cash Payments. Declining to accept Non-Cash Payments would have a severe negative effect

on the Debtors’ ongoing operations, the cost of which would be borne by their estates. To avoid

disrupting these vital payment processing services, the Debtors seek authority to continue paying

the Processing Obligations in the ordinary course of their business pursuant to the terms of the

Payment Processing Agreements, and request that the Court authorize the Payment Processing

Companies to continue to set off the Processing Obligations against amounts remitted to the

Debtors, whether arising before or after the Petition Date, in a manner consistent with past

practices.

        96.     In light of the importance of the Customer Programs to the Debtors’ businesses, I

believe that obtaining authority to continue to honor obligations related to these programs in the

ordinary course of business is in the best interests of the Debtors’ estates, their creditors, and all

other parties in interest.


        H.      Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the
                Debtors to (A) Obtain Postpetition Financing and (B) Utilize Cash Collateral,
                (II) Granting Liens and Superpriority Administrative Expense Claims,
                (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and
                (V) Granting Related Relief (the “DIP Motion”).

        97.     Pursuant to the DIP Motion, the Debtors seek entry of interim and final orders

authorizing the Debtors to receive senior secured postpetition financing, use cash collateral, enter



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into the DIP Loan Agreement, grant senior liens and superpriority administrative expense status

to the DIP Lenders, modify the automatic stay, and schedule a final hearing to consider entry of

the Final Order. Additional evidentiary support for the DIP Motion is provided in the Augustine

Declaration filed contemporaneously herewith.

       98.     The DIP Facility is necessary to fund these chapter 11 cases, including a

value-maximizing sale process pursuant to section 363 of the Bankruptcy Code. The DIP Facility

includes a $19.925 million new-money commitment, including $12 million on an interim basis,

and has a 105-day maturity. The Restructuring Support Agreement commits the lenders to support

a liquidating plan thereafter and the DIP Facility includes a wind-down budget in an amount of no

less than $2.625 million to support implementation of that plan, which will be automatically

increased to a maximum of $3 million to the extent the Debtors have capital in excess of that listed

in the then-current Budget. The DIP Facility, the APAs, and the RSAs are all conditioned on

effectuation of a sale within 105 days of the Petition Date, including a bid deadline with 60 days,

an auction with 65 days, a sale order within 70 days, and a closing within 105 days.

       99.     The DIP Facility also features a roll-up of prepetition debt belonging to Blue Torch

Finance LLC (“Blue Torch”) into the DIP Obligations. The DIP Lenders requested, and the

Debtors agreed to, the Roll-Up in the amount of (a) $2.9 million, which corresponds to the amount

of the emergency bridge financing provided the week before the Petition Date, subject to entry of

the Interim Order, and (b) $39.85 million, subject to entry of the Final Order. The Roll-Up

constitutes a key aspect of the DIP Facility, and I understand that the DIP Lenders would not accept

to provide the DIP Facility absent the Roll-Up. The Roll-Up of the emergency bridge financing is

also critical as the DIP Lenders would not have agreed to provide such bridge financing absent

such Roll-Up subject to entry of the Interim Order. Additionally, as security for the DIP




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Obligations, the Debtors granted the DIP Agent a first lien on unencumbered property (including

all of the previously unencumbered assets of the Lexington Law Firm) and a priming lien on

prepetition collateral.

        100.    In parallel with discussions with their Prepetition Secured Lenders, the Debtors

re-engaged Greenhill & Co., LLC (“Greenhill”) as their investment bankers to conduct a marketing

process designed to identify other parties that may be interested in providing postpetition financing

to the Debtors. I understand that Greenhill contacted approximately thirty third party financial

institutions, of which seven executed an NDA. I understand that the Prepetition Secured Lenders

would not consent to being primed by a third party, and no party other than the Prepetition Secured

Lenders provided the Debtors with an out-of-court or debtor-in-possession financing facility.

        101.    Once it became clear that a debtor-in-possession financing facility would only be

attainable from the Prepetition Secured Lenders, the Debtors and their advisors engaged in

hard-fought negotiations on the terms of the DIP Facility in order to obtain the best possible terms.

As part of these discussions, the Debtors and their advisors pressed the Prepetition Secured

Lenders for a greater amount of postpetition financing and a longer term of the DIP Facility, among

other material terms. Following weeks of extensive negotiations, the DIP Facility as presented to

the Court today represents the best possible debtor-in-possession financing facility that the Debtors

could obtain.

        102.    The DIP Facility is critical to the Debtors’ ability to fund their operations and the

marketing process while providing sufficient liquidity at the outset of these chapter 11 cases.

The DIP Facility is an essential component to providing a successful path forward while the

Debtors expeditiously conduct their chapter 11 sale process. The proposed DIP Facility is




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therefore in the best interests of the Debtors, is necessary to avoid irreparable harm to the Debtors

and their estates, and therefore should be approved.



                           [Remainder of Page Intentionally Left Blank]




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                       Exhibit B

               Corporate Structure Chart
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                                                               Prospect-                      Employees/Other
                                                                                                                                                 John C. Heath    Eric Kamerath
                                                           Controlled Entities                 Equityholders

                                                                                                                                             99.0%                            1.0%
                                                              90.7%                                9.3%

                                                                                                                                                                                              LEGEND
 Debtor Entities                                                             PGX Holdings,
                                                                                 Inc.                                                                                                          Investing Individuals/
                                                                              (Delaware)                                                                                                       Entities
                                                                                                                                                                                               Prepetition First Lien
                                                                                                                                                                                               Loan Borrower

                                                                                                                                                                                               Prepetition Second
                                  Progrexion                                             eFolks                          Creditrepair.com                                                      Lien Loan Borrower
                                                          Credit.com, Inc.
                                 Holdings, Inc.                                       Holdings, Inc.                      Holdings, Inc.
                                                            (Delaware)
                                  (Delaware)                                           (Delaware)                          (Delaware)                                                          Prepetition First
                                                                                                                                                                                               Lien Loan Guarantor
                                                                                                                                                                                               Prepetition Second
                                                                                                                                                                                               Lien Loan Guarantor
                                                                                                                                                             John C. Heath,
 Progrexion            Progrexion            Progrexion          Progrexion IP,                                 Creditrepair.      Credit Repair,           Attorney At Law                    Defendant in CFPB
                                                                                         eFolks, LLC                                                            PC d/b/a
Marketing, Inc.     Teleservices, Inc.        ASG, Inc.               Inc.                                       com, Inc.           UK, Inc.                                                  Litigation
                                                                                          (Delaware)                                                        Lexington Law
 (Delaware)            (Delaware)            (Delaware)           (Delaware)                                     (Florida)          (Delaware)
                                                                                                                                                                 (Utah)                        Operating Agreement


        Advertising &                                                        IP Licensing &                                           CreditCo
                              Teleservices         Administrative
         Marketing                                                              Software                                              Limited
                              Agreement             Agreement
         Agreement                                                             Agreement                                               (UK)




                                                                                                                                                                                     Approximate Principal
                                                                                                                                                           Funded Debt
                                                                                                                                                                                      Amount Outstanding
                                                                                                                                                     First Lien
                                                                                                                                                                                          $243 million
                                                                                                                                                     Prepetition Loan
                                                                                                                                                     Second Lien
                                                                                                                                                                                          $180 million
                                                                                                                                                     Prepetition Loan
                                                                                                                                                     Total Funded Debt
                                                                                                                                                                                         $423 million
                                                                                                                                                     Obligations
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                       Exhibit C

            Restructuring Support Agreement
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                                                                                                Execution Version


THIS RESTRUCTURING SUPPORT AGREEMENT AND THE DOCUMENTS
ATTACHED    HERETO    COLLECTIVELY    DESCRIBE   A   PROPOSED
RESTRUCTURING OF THE COMPANY PARTIES THAT WILL BE EFFECTUATED
THROUGH CHAPTER 11 CASES IN THE BANKRUPTCY COURT ON THE TERMS
DESCRIBED HEREIN.

THIS RESTRUCTURING SUPPORT AGREEMENT IS NOT AN OFFER OR
ACCEPTANCE WITH RESPECT TO ANY SECURITIES OR A SOLICITATION OF
ACCEPTANCES OF A CHAPTER 11 PLAN WITHIN THE MEANING OF
SECTION 1125 OF THE BANKRUPTCY CODE.      ANY SUCH OFFER OR
SOLICITATION WILL COMPLY WITH ALL APPLICABLE SECURITIES LAWS
AND/OR PROVISIONS OF THE BANKRUPTCY CODE. NOTHING CONTAINED IN
THIS RESTRUCTURING SUPPORT AGREEMENT SHALL BE AN ADMISSION OF
FACT OR LIABILITY OR, UNTIL THE OCCURRENCE OF THE AGREEMENT
EFFECTIVE DATE ON THE TERMS DESCRIBED HEREIN, DEEMED BINDING ON
ANY OF THE PARTIES HERETO.

THIS RESTRUCTURING SUPPORT AGREEMENT IS THE PRODUCT OF
SETTLEMENT DISCUSSIONS AMONG THE PARTIES HERETO. ACCORDINGLY,
THIS RESTRUCTURING SUPPORT AGREEMENT IS PROTECTED BY RULE 408 OF
THE FEDERAL RULES OF EVIDENCE AND ANY OTHER APPLICABLE STATUTES
OR DOCTRINES PROTECTING THE USE OR DISCLOSURE OF CONFIDENTIAL
SETTLEMENT DISCUSSIONS.

THIS RESTRUCTURING SUPPORT AGREEMENT DOES NOT PURPORT TO
SUMMARIZE ALL OF THE TERMS, CONDITIONS, REPRESENTATIONS,
WARRANTIES, AND OTHER PROVISIONS WITH RESPECT TO THE
RESTRUCTURING      TRANSACTIONS     DESCRIBED     HEREIN,  WHICH
TRANSACTIONS WILL BE SUBJECT TO THE COMPLETION OF DEFINITIVE
DOCUMENTS INCORPORATING THE TERMS SET FORTH HEREIN. THE CLOSING
OF ANY TRANSACTION SHALL BE SUBJECT TO THE TERMS AND CONDITIONS
SET FORTH IN SUCH DEFINITIVE DOCUMENTS AND THE APPROVAL RIGHTS OF
THE PARTIES SET FORTH HEREIN AND IN SUCH DEFINITIVE DOCUMENTS.

                            RESTRUCTURING SUPPORT AGREEMENT

        This RESTRUCTURING SUPPORT AGREEMENT (including all exhibits, annexes, and
schedules hereto in accordance with Section 16.02, this “Agreement”) is made and entered into
as of June 4, 2023 (the “Agreement Effective Date”), by and among the following parties (each
of the following described in sub-clauses (i) through (iv) of this preamble, a “Party,” and
collectively, the “Parties”):1

        i.       (A) PGX Holdings, Inc., a company incorporated under the Laws of Delaware
                 (“PGX”), and each of its direct and indirect subsidiaries that have executed and

1   Capitalized terms used but not defined in the preamble and recitals to this Agreement have the meanings ascribed
    to them in Section 1.
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               delivered counterpart signature pages to this Agreement, and (B) John C. Heath,
               Attorney At Law PC (d/b/a Lexington Law Firm), a professional corporation
               incorporated under the Laws of Utah (“Lexington Law” and, together with the
               Entities in clause (i)(A), as listed on Exhibit A, collectively, the “Company
               Parties” and, each, a “Company Party”);

       ii.     the undersigned holders of, or investment advisors, sub-advisors, or managers of
               discretionary accounts that hold First Lien Claims (as defined herein) that have
               executed and delivered counterpart signature pages to this Agreement, a Joinder, or
               a Transfer Agreement, as applicable, to counsel to the Company Parties (the
               Entities in this clause (ii), collectively, the “Consenting First Lien Lenders”);

       iii.    the undersigned holders of, or investment advisors, sub-advisors, or managers of
               discretionary accounts that hold Second Lien Claims (as defined herein) that have
               executed and delivered counterpart signature pages to this Agreement, a Joinder, or
               a Transfer Agreement, as applicable, to counsel to the Company Parties (the
               Entities in this clause (iii), collectively, the “Consenting Second Lien Lender”
               and, together with the other entities in clause (ii), the “Consenting Lenders”); and

       iv.     PGX TopCo, LLC (the “Sponsor” and, together with the other Entities in clauses
               (ii) and (iii), the “Consenting Stakeholders”).

                                           RECITALS

        WHEREAS, the Company Parties and the Consenting Stakeholders have in good faith and
at arms’ length negotiated or been apprised of certain restructuring and recapitalization
transactions with respect to the Company Parties’ capital structure on the terms set forth in this
Agreement and the exhibits hereto, including the term sheet attached as Exhibit B hereto (as may
be amended, supplemented, or otherwise modified from time to time pursuant to this Agreement,
the “Restructuring Term Sheet” and the Stalking Horse APA (as defined herein), such
transactions as described in this Agreement and the exhibits hereto, the “Restructuring
Transactions”);

       WHEREAS, the Company Parties intend to implement the Restructuring Transactions,
including through the commencement by the Debtors of voluntary cases under chapter 11 of the
Bankruptcy Code in the Bankruptcy Court (the cases commenced, the “Chapter 11 Cases”);

       WHEREAS, the Parties have agreed to take certain actions in support of the Restructuring
Transactions on the terms and conditions set forth in this Agreement and the Restructuring Term
Sheet.

        NOW, THEREFORE, in consideration of the covenants and agreements contained
herein, and for other valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, each Party, intending to be legally bound hereby, agrees as follows:




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                                          AGREEMENT

Section 1.      Definitions and Interpretation.

       1.01.    Definitions. The following terms shall have the following definitions:

       “Acceptable Plan” has the meaning set forth in the Restructuring Term Sheet.

        “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code as if such
entity was a debtor in a case under the Bankruptcy Code.

      “Agent” means each of, and in each case in its capacity as such, the First Lien Agent, the
Second Lien Agent, and the DIP Agent.

       “Agreement” has the meaning set forth in the preamble to this Agreement and, for the
avoidance of doubt, includes all the exhibits, annexes, and schedules hereto in accordance with
Section 16.02 (including the Restructuring Term Sheet).

      “Agreement Effective Period” means, with respect to a Party, the period from the
Agreement Effective Date to the Termination Date applicable to that Party.

        “Alternative Restructuring Proposal” means any inquiry, proposal, offer, bid, term
sheet, discussion, or agreement with respect to a sale, disposition, new-money investment,
restructuring, reorganization, merger, amalgamation, acquisition, consolidation, dissolution, debt
investment, equity investment, liquidation, tender offer, recapitalization, plan of reorganization,
share exchange, business combination, or similar transaction involving any one or more Company
Parties or the debt, equity, or other interests in any one or more Company Parties that is an
alternative to one or more of the Restructuring Transactions.

        “Avoidance Actions” means any and all actual or potential avoidance, recovery,
subordination, or other Claims, causes of action, or remedies that may be brought by or on behalf
of the Company Parties, their estates, or other parties in interest under sections 502, 510, 542, 544,
545, 547 through 553, and 724(a) or other applicable sections of the Bankruptcy Code or under
similar or related local, state, federal, or foreign statutes and common law, including fraudulent
transfer laws.

      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as
amended.

      “Bankruptcy Court” means the United States Bankruptcy Court for the District of
Delaware.

       “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated
under section 2075 of the Judicial Code and the general, local, and chambers rules of the
Bankruptcy Court, each, as amended from time to time.

        “Bidding Procedures” means the procedures governing the sale and marketing process
for the Sale Transaction.


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      “Bidding Procedures Motion” means the motion seeking approval of the Bidding
Procedures.

       “Bidding Procedures Order” means the order entered by the Bankruptcy Court approving
the Bidding Procedures, which Bidding Procedures Order shall be consistent with this Agreement
and the Restructuring Term Sheet.

     “Business Day” means any day other than a Saturday, Sunday, or other day on which
commercial banks are authorized to close under the Laws of, or are in fact closed in, the state of
New York.

         “Causes of Action” means any action, Claim, cause of action, Avoidance Action,
controversy, demand, right, action, lien, indemnity, equity interest, guaranty, suit, obligation,
liability, damage, judgment, account, defense, offset, power, privilege, license, and franchise of
any kind or character whatsoever, whether known, unknown, contingent or noncontingent,
matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or
undisputed, secured or unsecured, assertable directly or derivatively, in contract or in tort, in law
or in equity, or pursuant to any other theory of law.

       “Chapter 11 Cases” has the meaning set forth in the recitals of this Agreement.

       “Claim” has the meaning ascribed to it in section 101(5) of the Bankruptcy Code.

        “Company Claims/Interests” means any Claim against, or Equity Interest in, a Company
Party, including the First Lien Claims and Second Lien Claims.

       “Company Parties” has the meaning set forth in the recitals to this Agreement.

        “Company Releasing Party” means each of the Company Parties, and, to the maximum
extent permitted by Law, each of the Company Parties, on behalf of their respective Affiliates and
Related Parties.

        “Confidentiality Agreement” means an executed confidentiality agreement, including
with respect to the issuance of a “cleansing letter” or other public disclosure of material non-public
information agreement, in connection with any proposed Restructuring Transactions.

       “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases within the meaning of Bankruptcy
Rules 5003 and 9021.

       “Confirmation Order” means the confirmation order with respect to the Plan.

       “Consenting First Lien Lenders Advisors” means, collectively, (a) King & Spalding
LLP, and (b) one local counsel, in each case, in their capacity as professional advisors to the
administrative agent and the Consenting First Lien Lenders.




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       “Consenting Second Lien Lender Advisors” means, collectively, (a) Proskauer Rose
LLP, and (b) one local counsel, in each case, in their capacity as professional advisors to the
administrative agent and the Consenting Second Lien Lender.

        “Consenting Stakeholder Releasing Party” means, each of, and in each case in its
capacity as such: (a) the Consenting First Lien Lenders; (b) the Consenting Second Lien Lender;
(c) the Sponsor, (d) the Agent; (e) to the maximum extent permitted by Law, each current and
former Affiliate of each Entity in clause (a) through the following clause (f); and (f) to the
maximum extent permitted by Law, each Related Party of each Entity in clause (a) through this
clause (f).

       “Consenting Stakeholders” has the meaning set forth in the preamble to this Agreement.

       “Debtors” means the Company Parties that commence Chapter 11 Cases.

       “Definitive Documents” means the documents listed in Section 3.01.

       “DIP Agent” means Blue Torch Finance LLC (in such capacity, together with its
successors and assigns).

       “DIP Credit Agreement” means that certain DIP Credit Agreement, dated as of June [●],
2023, by and among PGX, the First Lien Lenders, and the First Lien Agent.

         “DIP Lenders” means First Lien Lenders that, either directly or through one or more
affiliates (or funds or accounts advised or sub-advised by such person) finance the DIP Facility.

       “DIP Orders” means the Interim DIP Order and Final DIP Order.

       “DIP Facility” means a secured superpriority priming debtor-in-possession
non˗amortizing facility comprised of (i) a new money term loan facility available in multiple draws
for an aggregate maximum principal amount of $19,925,000 and (ii) a roll-up facility in an
aggregate maximum principal amount of $42,750,000, each as set forth in the DIP Credit
Agreement and related documents.

       “Direction Letter” means the Credit Bid Direction Letter, dated as of June 4, 2023,
executed by the First Lien Lenders, the DIP Lenders and the Second Lien Lenders.

       “Entity” shall have the meaning set forth in section 101(15) of the Bankruptcy Code.

         “Equity Interests” means any common stock, limited liability company interest, equity
security (as defined in section 101(16) of the Bankruptcy Code), equity, ownership, profit interests,
unit, or share in a Company Party, including all issued, unissued, authorized, or outstanding shares
of capital stock of the Company Parties and any other rights, options, warrants, stock appreciation
rights, phantom stock rights, restricted stock units, redemption rights, repurchase rights,
convertible, exercisable or exchangeable securities or other agreements, arrangements or
commitments of any character relating to, or whose value is related to, any such interest or other
ownership interest in any Company Party.



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       “Event of Default” has the meaning set forth in the DIP Credit Agreement.

       “First Day Pleadings” means the first-day pleadings that the Company Parties file with
the Bankruptcy Court upon the commencement of the Chapter 11 Cases.

        “Final DIP Order” means the order entered by the Bankruptcy Court approving the DIP
Facility on a final basis.

        “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court or
other court of competent jurisdiction with respect to the relevant subject matter, which has not
been reversed, vacated, stayed, modified, or amended, and as to which the time to appeal, seek
certiorari, or move for a new trial, reargument, or rehearing has expired and no appeal, petition for
certiorari, or other proceeding for a new trial, reargument, or rehearing thereof has been timely
sought, or if an appeal, writ of certiorari, new trial, reargument, or rehearing thereof has been
sought, such order or judgment shall have been affirmed by the highest court to which such order
was appealed, or certiorari shall have been denied, or a new trial, reargument, or rehearing shall
have been denied or resulted in no modification of such order, and the time to take any further
appeal, petition for certiorari, or move for a new trial, reargument, or rehearing shall have expired;
provided, however, that no order or judgment shall fail to be a “Final Order” solely because of the
possibility that a motion under Rules 59 or 60 of the Federal Rules of Civil Procedure or any
analogous Bankruptcy Rule (or any analogous rules applicable in another court of competent
jurisdiction) or sections 502(j) or 1144 of the Bankruptcy Code has been or may be filed with
respect to such order or judgment.

        “First Lien Agent” means Blue Torch Finance LLC, in its capacity as administrative agent
and collateral agent under the First Lien Credit Agreement, or any successor administrative agent
or collateral agent as permitted by the terms set forth in the First Lien Credit Agreement.

       “First Lien Claims” means any Claims against any Company Party arising under, derived
from, or based upon the First Lien Loans under the First Lien Credit Agreement.

       “First Lien Credit Agreement” means that certain First Lien Credit Agreement, dated as
of September 29, 2014, as amended, supplemented, or modified from time to time, by and among
PGX, the First Lien Lenders, and the First Lien Agent.

       “First Lien Lenders” means, collectively, the banks, financial institutions, and other
lenders party to the First Lien Credit Agreement from time to time, each solely in their capacity as
such.

       “First Lien Loans” means loans outstanding under the First Lien Credit Agreement.

       “Governmental Regulatory Authority” means any federal, state, local, or other
governmental regulatory authority having jurisdiction over any of the Company Parties or
otherwise required to approve or clear any aspect of the Restructuring Transactions.

       “Interim DIP Order” means the order entered by the Bankruptcy Court approving the
interim DIP order.



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      “Joinder” means a joinder to this Agreement substantially in the form attached to this
Agreement as Exhibit C.

       “Law” means any federal, state, local, or foreign law (including common law), statute,
code, ordinance, rule, regulation, order, ruling, or judgment, in each case, that is validly adopted,
promulgated, issued, or entered by a governmental authority of competent jurisdiction (including
the Bankruptcy Court).

        “Milestones” have the meaning set forth in Section 4.01 of this Agreement.

        “Parties” has the meaning set forth in the preamble to this Agreement.

       “Permitted Transferee” means each transferee of any Company Claims/Interests who
meets the requirements of Section 11.01.

        “Person” means an individual, corporation, limited liability company, partnership,
association, joint-stock company, trust, unincorporated organization, joint venture or other
enterprise or entity or Governmental Regulatory Authority.

        “Petition Date” means the first date any of the Company Parties commences a Chapter 11
Case.

      “Plan” means a joint plan of liquidation filed by the Debtors under chapter 11 of the
Bankruptcy Code.

        “Plan Effective Date” means the occurrence of the effective date of the Plan according to
its terms.

        “Purchase Agreement” means the purchase agreement pursuant to which the Company
Parties will effectuate the Sale Transaction.

        “Qualified Marketmaker” means an entity that (a) holds itself out to the public or the
applicable private markets as standing ready in the ordinary course of business to purchase from
customers and sell to customers Company Claims/Interests (or enter with customers into long and
short positions in Company Claims/Interests), in its capacity as a dealer or market maker in
Company Claims/Interests and (b) is, in fact, regularly in the business of making a market in claims
against issuers or borrowers (including debt securities or other debt).

        “Related Party” means each of, and in each case in its capacity as such, current and former
directors, managers, officers, committee members, members of any governing body, equity
holders (regardless of whether such interests are held directly or indirectly), affiliated investment
funds or investment vehicles, managed accounts or funds, predecessors, participants, successors,
assigns, subsidiaries, Affiliates, partners, limited partners, general partners, principals, members,
management companies, fund advisors or managers, employees, agents, trustees, advisory board
members, financial advisors, attorneys (including any other attorneys or professionals retained by
any current or former director or manager in his or her capacity as director or manager of an Entity),
accountants, investment bankers, consultants, representatives, and other professionals and advisors
and any such Person’s or Entity’s respective heirs, executors, estates, and nominees.


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       “Released Claim” means, with respect to any Releasing Party, any Claim, or Cause of
Action that is released by such Releasing Party under Section 13 of this Agreement.

       “Released Company Parties” means each of, and in each case in its capacity as such:
(a) Company Party; (b) current and former Affiliates of each Entity in clause (a) through the
following clause (c); and (c) each Related Party of each Entity in clause (a) through this clause (c).

         “Released Parties” means each Released Company party and each Released Stakeholder
Party.

        “Released Stakeholder Parties” means, each of, and in each case in its capacity as such:
(a) the Consenting First Lien Lenders; (b) the Consenting Second Lien Lender; (c) the Sponsor,
(d) the Agent; (e) current and former Affiliates of each Entity in clause (a) through the following
clause (f); and (f) each Related Party of each Entity in clause (a) through this clause (f).

         “Releases” means the releases contained in Section 13 of this Agreement.

      “Releasing Parties” means, collectively, each Company Releasing Party and each
Consenting Stakeholder Releasing Party.

       “Required Consenting Lenders” means, as of the relevant date, Consenting Lenders
holding at least 50.01% of the aggregate outstanding principal amount of the First Lien Loans and
the Second Lien Loans that are held by all Consenting Lenders.

      “Required Consenting Stakeholders” means the Required Consenting Lenders and the
Sponsor.

      “Required DIP Lender” has the meaning ascribed to such term in the DIP Credit
Agreement.

         “Rules” means Rule 501(a)(1), (2), (3), and (7) of the Securities Act.

       “Sale Documents” means all motions, filings, documents, and agreements related to the
Sale Transaction, including the Purchase Agreement(s), the Bidding Procedures Motion, the
Bidding Procedures, the Bidding Procedures Order, and the Sale Order.

         “Sale Motion” means the motion seeking approval of the Sale Order.

        “Sale Order” means the order of the Bankruptcy Court authorizing the Debtors to enter
into the Purchase Agreement(s).

       “Sale Transaction” means a sale involving all or substantially all of the assets of the
Company Parties to a purchaser formed by the Consenting Lenders or a higher or otherwise better
bidder pursuant to section 363 of the Bankruptcy Code.

       “Second Lien Agent” means Prospect Capital Corporation, in its capacity as
administrative agent and collateral agent under the Second Lien Credit Agreement, or any




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successor administrative agent or collateral agent as permitted by the terms set forth in the Second
Lien Credit Agreement.

        “Second Lien Claims” means any Claims against any Company Party arising under,
derived from, or based upon the Second Lien Loans under the Second Lien Credit Agreement.

       “Second Lien Credit Agreement” means that certain Second Lien Credit Agreement,
dated as of September 29, 2014, as amended, supplemented, or modified from time to time, by and
among PGX, the Second Lien Lender, and the Second Lien Agent.

       “Second Lien Lenders” means, collectively, the banks, financial institutions, and other
lenders party to the Second Lien Credit Agreement from time to time, each solely in their capacity
as such.

       “Second Lien Loans” means loans outstanding under the Second Lien Credit Agreement.

       “Securities Act” means the Securities Act of 1933, as amended.

       “Stalking Horse APA” has the meaning set forth in the Restructuring Term Sheet.

        “Termination Date” means the date on which termination of this Agreement as to a Party
is effective in accordance with Sections 14.01, 14.02, 14.03, 14.04, 14.05, or 14.06.

       “Transfer” has the meaning set forth in section 101(54) of the Bankruptcy Code.

       “Transfer Agreement” means an executed form of the transfer agreement providing,
among other things, that a transferee is bound by the terms of this Agreement and substantially in
the form attached hereto as Exhibit D.

       1.02.    Interpretation. For purposes of this Agreement:

        (a)    in the appropriate context, each term, whether stated in the singular or the plural,
shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or
neuter gender shall include the masculine, feminine, and the neuter gender;

        (b)    capitalized terms defined only in the plural or singular form shall nonetheless have
their defined meanings when used in the opposite form;

        (c)     unless otherwise specified, any reference herein to a contract, lease, instrument,
release, indenture, or other agreement or document (other than a Definitive Document) being in a
particular form or on particular terms and conditions means that such document shall be
substantially in such form or substantially on such terms and conditions;

        (d)     unless otherwise specified, any reference herein to an existing document, schedule,
or exhibit shall mean such document, schedule, or exhibit, as it may have been or may be amended,
restated, supplemented, or otherwise modified from time to time; provided that any capitalized
terms herein which are defined with reference to another agreement, are defined with reference to
such other agreement as of the date of this Agreement, without giving effect to any termination of


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such other agreement or amendments to such capitalized terms in any such other agreement
following the date hereof;

       (e)      unless otherwise specified, all references herein to “Sections” are references to
Sections of this Agreement;

        (f)     the words “herein,” “hereof,” and “hereto” refer to this Agreement in its entirety
rather than to any particular portion of this Agreement;

       (g)      captions and headings to Sections are inserted for convenience of reference only
and are not intended to be a part of or to affect the interpretation of this Agreement;

        (h)      references to “shareholders,” “directors,” and/or “officers” shall also include
“members” and/or “managers,” as applicable, as such terms are defined under the applicable
limited liability company Laws;

       (i)     the use of “include” or “including” is without limitation, whether stated or not;

       (j)    the phrase “counsel to the Consenting Stakeholders” refers in this Agreement to
each counsel specified in Section 16.09 other than counsel to the Company Parties.

Section 2.     Effectiveness of this Agreement. This Agreement shall become effective and
binding upon each of the Parties at 12:00 a.m., prevailing Eastern Time, on the Agreement
Effective Date, which is the date on which each of the following conditions have been satisfied or
waived in accordance with this Agreement:

       (a)     each of the Company Parties shall have executed and delivered counterpart
signature pages of this Agreement to counsel to each of the Parties;

        (b)   holders of at least two-thirds of the aggregate outstanding principal amount of the
First Lien Loans and holders of at least two-thirds of the aggregate outstanding principal amount
of the Second Lien Loans shall have executed and delivered counterpart signature pages of this
Agreement to each of the Parties;

      (c)     the Sponsor shall have executed and delivered counterpart signature pages of this
Agreement to counsel to each of the Parties; and

       (d)      counsel to the Company Parties shall have given notice to counsel to the Consenting
Stakeholders in the manner set forth in Section 16.09 hereof (by email or otherwise) that the other
conditions to the Agreement Effective Date set forth in this Section 2(a) have occurred.

Section 3.     Definitive Documents.

        3.01. The Definitive Documents governing the Restructuring Transactions shall include
the following:

       (a)     the Confirmation Order;




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       (b)     the DIP Orders;

       (c)    all motions, filings, documents, and agreements related to the Sale Transaction,
including without limitation, the Sale Order, the Bidding Procedures, the Bidding Procedures
Motion, and the Bidding Procedures Order;

        (d)     all material pleadings filed by the Company Parties in connection with the Chapter
11 Cases (or related order), including the First Day Pleadings and all orders sought pursuant
thereto; provided, however, that monthly or quarterly operating reports, retention applications, fee
applications, fee statements, and any declarations in support thereof or related thereto shall not
constitute material pleadings; and

        (e)     any and all other deeds, agreements, filings, notifications, pleadings, orders,
certificates, letters, instruments or other documents reasonably necessary or desirable to
consummate and document the transactions contemplated by this Agreement or the Restructuring
Transactions (including any exhibits, amendments, modifications, or supplements from time to
time).

        3.02. The Definitive Documents not executed or in a form attached to this Agreement as
of the Agreement Effective Date remain subject to negotiation and completion. Upon completion,
the Definitive Documents and every other document, deed, agreement, filing, notification, letter,
or instrument related to the Restructuring Transactions shall contain terms, conditions,
representations, warranties, and covenants, as applicable, consistent with the terms of this
Agreement, as they may be modified, amended, or supplemented in accordance with Section 15.
Further, the Definitive Documents not executed or in a form attached to this Agreement as of the
Agreement Effective Date shall otherwise be in form and substance reasonably acceptable to the
Company Parties and the Required Consenting Lenders.

Section 4.     Milestones.

       4.01. The Company Parties shall implement the Restructuring Transactions in
accordance with the following milestones (the “Milestones”), unless extended or waived in writing
in advance by the DIP Agent at the direction of the Required DIP Lenders; provided that if any
such Milestone falls on a date which is not a Business Day, such Milestone shall be automatically
extended to the first Business Day thereafter:

        (a)     No later than 2 Business Days after the Petition Date, the Debtors shall file an
appropriate motion with the Bankruptcy Court for entry of an order providing for bidding
procedures for the sale of the Debtors’ assets that establishes a date that is no later than 60 calendar
days after the Petition Date as the deadline for the submission of binding bids with respect to their
assets;

       (b)     No later than 4 Business Days after the Petition Date, the Bankruptcy Court shall
have entered the Interim DIP Order;

        (c)     No later than 25 calendar days after the Petition Date, the Bankruptcy Court shall
have entered the Final DIP Order, subject to the availability of the Bankruptcy Court to conduct
the final hearing on the DIP Facility;


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        (d)     No later than 30 calendar days after the Petition Date, obtain entry of the Bidding
Procedures Order, which order shall be in form and substance acceptable to the DIP Agent at the
direction of the Required DIP Lenders;

        (e)    No later than 60 calendar days after the Petition Date, parties shall submit binding
bids to the Debtors for the acquired assets.

         (f)     No later than 65 calendar days after the Petition Date, the Debtors shall commence
an auction for the acquired assets, in accordance with the Bidding Procedures Order; provided that
if there is no higher or better offer submitted in comparison to the stalking horse bid(s), no auction
shall be held;

       (g)    No later than 70 calendar days after the Petition Date, the Bankruptcy Court shall
have entered one or more Sale Order(s) (which shall be in form and substance acceptable to
Required DIP Lenders) approving each of the winning bid(s) resulting from such sale(s); and

        (h)     Consummation of the sale and transactions contemplated thereby shall occur no
later than the date that is 105 calendar days after the Petition Date.

Section 5.      Commitments of the Consenting Lenders.

       5.01.    General Commitments, Forbearances, and Waivers.

      (a)    Affirmative Commitments. During the Agreement Effective Period, each
Consenting Lender agrees, severally and not jointly, subject to Section 6, in respect of all of its
Company Claims/Interests, to:

                (i)       support the Restructuring Transactions and vote and exercise any powers or
rights available to it (including in any board, shareholders’, or creditors’ meeting or in any process
requiring voting or approval to which they are legally entitled to participate) in each case in favor
of any matter requiring approval to the extent necessary to implement the Restructuring
Transactions;

             (ii)    use commercially reasonable efforts to cooperate with and assist the
Company Parties in obtaining additional support for the Restructuring Transactions from the
Company Parties’ other stakeholders;

               (iii)  use commercially reasonable efforts to oppose any party or person from
taking any actions contemplated in Section 5.02(a);

                (iv)    give any notice, order, instruction, or direction to the Agent necessary to
give effect to the Restructuring Transactions; and

               (v)      negotiate in good faith and use commercially reasonable efforts to execute
and implement the Definitive Documents that are consistent with this Agreement to which it is
required to be a party.




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        (b)     Negative Commitments. During the Agreement Effective Period, each Consenting
Lender agrees, severally and not jointly, in respect of all of its Company Claims/Interests, that it
shall not directly or indirectly:

              (i)   object to, delay, impede, or take any other action to interfere with
acceptance, implementation, or consummation of the Restructuring Transactions;

                (ii)   propose, file, support, or vote for any Alternative Restructuring Proposal;

               (iii)    file or join in any motion, objection, pleading, or other document with the
Bankruptcy Court or any other court (including any modifications or amendments thereof) that, in
whole or in part, is inconsistent with this Agreement;

                (iv)    initiate, or have initiated on its behalf, any litigation or proceeding of any
kind with respect to the Chapter 11 Cases, this Agreement, or the other Restructuring Transactions
contemplated herein against the Company Parties or the other Parties other than to enforce this
Agreement or any Definitive Document or as otherwise permitted under this Agreement; provided,
that any Consenting Lender may file motions, pleadings, or other documents with the Bankruptcy
Court or any other court (including any modifications or amendments thereof) with respect to its
or their rights under any Definitive Document and relating to or arising from matters and rights
not specifically set forth in this Agreement, including the Restructuring Term Sheet;

              (v)     exercise, or direct any other person to exercise, any right or remedy for the
enforcement, collection, or recovery of any of Claims against or Equity Interests in the Company
Parties; or

               (vi)    object to, delay, impede, or take any other action to interfere with the
Company Parties’ ownership and possession of their assets, wherever located, or interfere with the
automatic stay arising under section 362 of the Bankruptcy Code.

       5.02.    Commitments with Respect to Chapter 11 Cases.

       (a)      During the Agreement Effective Period, in the event that the Company Parties
determine it is in the best interests of the estates to seek confirmation of a Plan, each Consenting
Lender that is entitled to vote to accept or reject such Plan pursuant to its terms agrees, severally
and not jointly, that it shall

                (i)    support, and vote in favor of, an Acceptable Plan,

                (ii)   to the extent it is permitted to elect whether to opt out of the releases set
forth in any Acceptable Plan, elect not to opt out of the releases set forth in the Plan by timely
delivering its duly executed and completed ballot(s) indicating such election; and

               (iii)  not change, withdraw, amend, or revoke (or cause to be changed,
withdrawn, amended, or revoked) any vote or election referred to in clauses (i) and (ii) above;
provided that, nothing in this Agreement shall prevent any Consenting Lender from changing,




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withholding, amending, or revoking (or causing the same) its vote, election, or consent with respect
to an Acceptable Plan if this Agreement has been terminated as in accordance with its terms.

        (a)    During the Agreement Effective Period, each Consenting Stakeholder, in respect of
each of its Company Claims/Interests, will support, and will not directly or indirectly object to,
delay, impede, or take any other action in violation of this Agreement to interfere with any motion
or other pleading or document filed by a Company Party in the Bankruptcy Court that is consistent
with this Agreement.

Section 6.        Additional Provisions Regarding the Consenting Lenders’ Commitments.

         6.01.    Notwithstanding anything contained in this Agreement, nothing in this Agreement
shall:

       (a)     affect the ability of any Consenting Lender to consult with any other Consenting
Lender, the Company Parties, their related Affiliates or any other party in interest in the Chapter
11 Cases (including, but not limited to, any official committee and the United States Trustee);

       (b)    impair or waive the rights of any Consenting Lender to assert or raise any objection
permitted under this Agreement in connection with the Restructuring Transactions;

        (c)     constitute a waiver or amendment of any provision of the First Lien Credit
Agreement or Second Lien Credit Agreement or similar agreements executed in connection with
the First Lien Credit Agreement or Second Lien Credit Agreement;

       (d)     be construed to prevent any Consenting Lender from exercising any consent or
consultation rights provided with respect to the Required Consenting Lenders in the Definitive
Documents;

      (e)     prevent any Consenting Lender from enforcing this Agreement or contesting
whether any matter, fact, or thing is a breach of, or is inconsistent with, this Agreement;

        (f)      require any Consenting Lender to (1) incur any material expenses, liabilities or
other obligations, or agree to any commitments, undertakings, concessions, indemnities or other
arrangements that could result in expenses, liabilities, or other obligations to any Consenting
Lender or its affiliates or (2) provide any information that it reasonably determines to be sensitive
or confidential;

       (g)     prohibit any Consenting Lender from taking any action to prepare, commence, or
support any action or other legal proceeding that seeks to establish, or defend from challenge, the
amount, validity, allowance, character, enforceability, liens or encumbrances securing, or priority
of any Company Claim/Interest of any Consenting Lender; or

      (h)     limit the right of any Party to exercise any right or remedy provided under this
Agreement, the Confirmation Order, or any other Definitive Document.

Section 7.        Commitments of the Company Parties.



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        7.01. Affirmative Commitments. Except as set forth in Section 8, during the Agreement
Effective Period, the Company Parties agree to:

       (a)     support and take all steps reasonably necessary and desirable to consummate the
Restructuring Transactions in accordance with this Agreement;

       (b)     to the extent any legal or structural impediment arises that would prevent, hinder,
or delay the consummation of the Restructuring Transactions contemplated herein, take all steps
reasonably necessary and desirable to address any such impediment;

        (c)    use commercially reasonable efforts to obtain any and all required regulatory and/or
third-party approvals for the Restructuring Transactions;

        (d)    negotiate in good faith and use commercially reasonable efforts to execute and
deliver the Definitive Documents and any other required agreements to effectuate and consummate
the Restructuring Transactions as contemplated by this Agreement;

       (e)     use commercially reasonable efforts to seek additional support for the Restructuring
Transactions from their other material stakeholders to the extent reasonably prudent; and

        (f)    (1) provide counsel for the Consenting Stakeholders a reasonable opportunity to
review draft copies of all First Day Pleadings and, (2) to the extent reasonably practicable, provide
a reasonable opportunity to counsel to any Consenting Stakeholders materially affected by such
filing to review draft copies of other documents that the Company Parties intend to file with
Bankruptcy Court, as applicable.

        7.02. Negative Commitments. Except as set forth in Section 8, during the Agreement
Effective Period, each of the Company Parties shall not directly or indirectly:

      (a)    object to, delay, impede, or take any other action to interfere with acceptance,
implementation, or consummation of the Restructuring Transactions;

        (b)     take any action that is inconsistent in any material respect with, or is intended to
frustrate or impede approval, implementation and consummation of the Restructuring Transactions
described in, this Agreement; or

       (c)     file any motion, pleading, or Definitive Documents with the Bankruptcy Court or
any other court (including any modifications or amendments thereof) that, in whole or in part, is
not materially consistent with this Agreement.

Section 8.     Additional Provisions Regarding Company Parties’ Commitments.

        8.01. Notwithstanding anything to the contrary in this Agreement, nothing in this
Agreement shall require a Company Party or the board of directors, board of managers, or similar
governing body of a Company Party, after consulting with counsel, to take any action or to refrain
from taking any action with respect to the Restructuring Transactions to the extent taking or failing
to take such action would be inconsistent with applicable Law or its fiduciary obligations under



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applicable Law, and any such action or inaction pursuant to this Section 8.01 shall not be deemed
to constitute a breach of this Agreement.

        8.02. Notwithstanding anything to the contrary in this Agreement (but subject to
Section 8.01), each Company Party and their respective directors, officers, employees, investment
bankers, attorneys, accountants, consultants, and other advisors or representatives shall have the
rights to: (a) consider, respond to, and facilitate Alternative Restructuring Proposals; (b) provide
access to non-public information concerning any Company Party to any Entity or enter into
Confidentiality Agreements or nondisclosure agreements with any Entity; (c) maintain or continue
discussions or negotiations with respect to Alternative Restructuring Proposals; (d) otherwise
cooperate with, assist, participate in, or facilitate any inquiries, proposals, discussions, or
negotiation of Alternative Restructuring Proposals; and (e) enter into or continue discussions or
negotiations with holders of Claims against or Equity Interests in a Company Party (including any
Consenting Stakeholder), any other party in interest in the Chapter 11 Cases (including any official
committee and the United States Trustee), or any other Entity regarding the Restructuring
Transactions or Alternative Restructuring Proposals.

        8.03. Except as otherwise set forth in any order of the Bankruptcy Court, at all times prior
to the date on which the Company Parties enter into a definitive agreement in respect of an
Alternative Restructuring Proposal, the Company Parties shall provide the Consenting First Lien
Lenders Advisors and the Consenting Second Lien Lender Advisors reasonably detailed updates
on the status of discussions or negotiations regarding any Alternative Restructuring Proposal
(including the terms thereof subject to any applicable confidentiality restrictions) within three (3)
Business Days of the Company Parties’ or their advisors’ receipt of any such Alternative
Restructuring Proposal. The Company Parties and/or the Company Parties’ advisors will make
themselves reasonably available for separate weekly status update calls with the Consenting First
Lien Lenders Advisors and the Consenting Second Lien Lender Advisors.

        8.04. Nothing in this Agreement shall: (a) impair or waive the rights of any Company
Party to assert or raise any objection permitted under this Agreement in connection with the
Restructuring Transactions; or (b) prevent any Company Party from enforcing this Agreement or
contesting whether any matter, fact, or thing is a breach of, or is inconsistent with, this Agreement.

Section 9.     Commitments of the Sponsor.

       9.01. Affirmative Commitments. During the Agreement Effective Period (subject to
Section 10), the Sponsor agrees to:

        (a)      act in good faith to support, approve, implement, reasonably cooperate with each
of the Parties, and take all commercially reasonable actions necessary, or reasonably requested by
any other Party to facilitate the implementation and consummation of the Restructuring
Transactions as contemplated by this Agreement and the Restructuring Term Sheet;

        (b)    vote and exercise any powers or rights available to it (including in any meeting or
process requiring voting or approval in which it is legal entitled to participate) in favor of any
matter requiring approval to the extent necessary to implement the Restructuring Transactions;




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        (c)     consent to, support, and participate in all of the releases and exculpation provisions
contained herein or described in the Restructuring Term Sheet and, to the extent it is permitted to
elect whether to opt in or out of the release and exculpation provisions set forth in the Restructuring
Term Sheet, elect to opt in or not to opt out (as applicable) of such release and exculpation
provisions by timely delivering its duly executed and completed ballot(s) designating that it opts
in or does not opt out (as applicable) of the releases and exculpations to the extent permitted to
elect whether to opt out of the releases set forth in the Acceptable Plan, not to elect to opt out of
the releases set forth in the Acceptable Plan;

        (d)     use commercially reasonable efforts to cooperate with and assist the Company
Parties in obtaining additional support for the Restructuring Transactions from the Company
Parties’ other stakeholders;

       (e)     use commercially reasonable efforts to oppose, if requested by the Company Parties
or Required Consenting Lenders, the efforts of any person or Entity (including any other Party)
with respect to any action contemplated in Section 9.02 or any other action that would have the
direct or indirect effect of adversely impacting the consummation of the Restructuring
Transactions; and

        (f)    negotiate in good faith and use commercially reasonable efforts to execute and
implement the Definitive Documents that are consistent with this Agreement to which it is required
to be a party.

       9.02. Negative Commitments. During the Agreement Effective Period (subject to
Section 10), the Sponsor shall not, directly or indirectly, and shall not direct any other Entity to:

      (a)    object to, delay, impede, or take any other action to interfere with acceptance,
implementation, or consummation of the Restructuring Transactions;

       (b)     file or join in any motion, objection, pleading, or other document with the
Bankruptcy Court or any other court (including any modifications or amendments thereof) that, in
whole or in part, is inconsistent with this Agreement;

        (c)      initiate, or have initiated on its behalf, any litigation or proceeding of any kind with
respect to the Chapter 11 Cases, this Agreement, or the other Restructuring Transactions
contemplated herein against the Company Parties or the other Parties other than to enforce this
Agreement or any Definitive Document or as otherwise permitted under this Agreement; provided
that the Sponsor may file motions, pleadings, or other documents with the Bankruptcy Court or
any other court (including any modifications or amendments thereof) with respect to its rights
under any Definitive Document and relating to or arising from matters and rights not specifically
set forth in this Agreement, including the Restructuring Term Sheet;

        (d)     file or otherwise support, encourage, seek, solicit, pursue, initiate, assist, join or
participate in any challenge to the validity, enforceability, perfection or priority of, or any action
seeking avoidance, claw-back, recharacterization or subordination of, any portion of the First Lien
Claims, Second Lien Claims, or any liens or collateral securing the First Lien Claims or Second
Lien Claims; or



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        (e)     object to, join in any objection to, delay, impede, or take any other action to
interfere with the Company Parties’ ownership and possession of their assets, wherever located,
or interfere with the automatic stay arising under section 362 of the Bankruptcy Code.

Section 10. Additional Provisions Regarding the Sponsor’s Commitments. Notwithstanding
anything contained in this Agreement to the contrary, nothing in this Agreement shall:

        (a)    affect the ability of the Sponsor to consult with any Consenting Lender, the
Company Parties, their related Affiliates or any other party in interest in the Chapter 11 Cases
(including, but not limited to, any official committee and the United States Trustee);

       (b)     impair or waive the rights of the Sponsor to assert or raise any objection permitted
under this Agreement in connection with the Restructuring Transactions;

        (c)     prevent the Sponsor from enforcing this Agreement or contesting whether any
matter, fact, or thing is a breach of, or is inconsistent with, this Agreement; or

      (d)     limit the right of any Party to exercise any right or remedy provided under this
Agreement, the Confirmation Order, or any other Definitive Document.

Section 11.    Transfer of Equity Interests and Securities.

        11.01. During the Agreement Effective Period, no Consenting Stakeholder shall Transfer
any ownership (including any beneficial ownership as defined in the Rule 13d-3 under the
Securities Exchange Act of 1934, as amended) in any Company Claims/Interests to any affiliated
or unaffiliated party, including any party in which it may hold a direct or indirect beneficial
interest, unless:

         (a)    in the case of any Company Claims/Interests, the authorized transferee is either
(1) a qualified institutional buyer as defined in Rule 144A of the Securities Act, (2) a non-U.S.
person in an offshore transaction as defined under Regulation S under the Securities Act, (3) an
institutional accredited investor (as defined in the Rules), or (4) a Consenting Stakeholder; and

         (b)   either (i) the transferee executes and delivers to counsel to the Company Parties, at
or before the time of the proposed Transfer, a Transfer Agreement or (ii) the transferee is a
Consenting Stakeholder and the transferee provides notice of such Transfer (including the amount
and type of Company Claims/Interests Transferred) to counsel to (i) the Company Parties and
(ii) the Consenting Lenders at or before the time of the proposed Transfer.

        11.02. Upon compliance with the requirements of Section 11.01, the transferor shall be
deemed to relinquish its rights (and be released from its obligations) under this Agreement to the
extent of the rights and obligations in respect of such transferred Company Claims/Interests. Any
Transfer in violation of Section 11.01 shall be void ab initio.

        11.03. This Agreement shall in no way be construed to preclude the Consenting
Stakeholders from acquiring additional Company Claims/Interests; provided, however, that
(a) such additional Company Claims/Interests shall automatically and immediately upon
acquisition by a Consenting Stakeholder be deemed subject to the terms of this Agreement


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(regardless of when or whether notice of such acquisition is given to counsel to the Company
Parties or counsel to the Consenting Stakeholders) and (b) such Consenting Stakeholder must
provide notice of such acquisition (including the amount and type of Company Claim/Interest
acquired) to counsel to (i) the Company Parties and (ii) Consenting Lenders within five (5)
Business Days of such acquisition.

       11.04. This Section 10(a) shall not impose any obligation on any Company Party to issue
any “cleansing letter” or otherwise publicly disclose information for the purpose of enabling a
Consenting Stakeholder to Transfer any of its Company Claims/Interests. Notwithstanding
anything to the contrary herein, to the extent a Company Party and another Party have entered into
a Confidentiality Agreement, the terms of such Confidentiality Agreement shall continue to apply
and remain in full force and effect according to its terms, and this Agreement does not supersede
any rights or obligations otherwise arising under such Confidentiality Agreements.

        11.05. Notwithstanding Section 11.01, a Qualified Marketmaker that acquires any
Company Claims/Interests with the purpose and intent of acting as a Qualified Marketmaker for
such Company Claims/Interests shall not be required to execute and deliver a Transfer Agreement
in respect of such Company Claims/Interests if (i) such Qualified Marketmaker subsequently
transfers such Company Claims/Interests (by purchase, sale assignment, participation, or
otherwise) within five (5) Business Days of its acquisition to a transferee that is an entity that is
not an affiliate, affiliated fund, or affiliated entity with a common investment advisor; (ii) the
transferee otherwise is a Permitted Transferee under Section 11.01; and (iii) the Transfer otherwise
is a permitted Transfer under Section 11.01. To the extent that a Consenting Stakeholder is acting
in its capacity as a Qualified Marketmaker, it may Transfer (by purchase, sale, assignment,
participation, or otherwise) any right, title or interests in Company Claims/Interests that the
Qualified Marketmaker acquires from a holder of the Company Claims/Interests who is not a
Consenting Stakeholder without the requirement that the transferee be a Permitted Transferee.

        11.06. Notwithstanding anything to the contrary in this Section 11, the restrictions on
Transfer set forth in this Section 11 shall not apply to the grant of any liens or encumbrances on
any claims and interests in favor of a bank or broker-dealer holding custody of such claims and
interests in the ordinary course of business and which lien or encumbrance is released upon the
Transfer of such claims and interests.

Section 12. Representations and Warranties of Consenting Stakeholders. Each Consenting
Stakeholder severally, and not jointly, represents and warrants that, as of the date such Consenting
Stakeholder executes and delivers this Agreement:

       (a)     it is the beneficial or record owner of the face amount of the Company
Claims/Interests or is the nominee, investment manager, or advisor for beneficial holders of the
Company Claims/Interests reflected in, and, having made reasonable inquiry, is not the beneficial
or record owner of any Company Claims/Interests other than those reflected in, such Consenting
Stakeholder’s signature page to this Agreement or a Transfer Agreement, as applicable (as may be
updated pursuant to Section 11);

       (b)    it has the full power and authority to act on behalf of, vote and consent to matters
concerning, such Company Claims/Interests;


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         (c)    such Company Claims/Interests are free and clear of any pledge, lien, security
interest, charge, claim, equity, option, proxy, voting restriction, right of first refusal, or other
limitation on disposition, transfer, or encumbrances of any kind, that would adversely affect in any
way such Consenting Stakeholder’s ability to perform any of its obligations under this Agreement
at the time such obligations are required to be performed;

       (d)     it has the full power to vote, approve changes to, and transfer all of its Company
Claims/Interests referable to it as contemplated by this Agreement subject to applicable Law; and

        (e)     solely with respect to holders of Company Claims/Interests, (i) it is either (A) a
qualified institutional buyer as defined in Rule 144A of the Securities Act, (B) not a U.S. person
(as defined in Regulation S of the Securities Act), or (C) an institutional accredited investor
(as defined in the Rules), and (ii) any securities acquired by the Consenting Stakeholder in
connection with the Restructuring Transactions will have been acquired for investment and not
with a view to distribution or resale in violation of the Securities Act.

Section 13. Mutual Representations, Warranties, and Covenants. Each of the Parties
represents, warrants, and covenants to each other Party, as of the date such Party executed and
delivers this Agreement:

        (a)     it is validly existing and in good standing under the Laws of the state of its
organization, and this Agreement is a legal, valid, and binding obligation of such Party,
enforceable against it in accordance with its terms, except as enforcement may be limited by
applicable Laws relating to or limiting creditors’ rights generally or by equitable principles relating
to enforceability;

       (b)    except as expressly provided in this Agreement and the Bankruptcy Code, no
consent or approval is required by any other person or entity in order for it to effectuate the
Restructuring Transactions contemplated by, and perform its respective obligations under, this
Agreement;

        (c)     the entry into and performance by it of, and the transactions contemplated by, this
Agreement do not, and will not, conflict in any material respect with any Law or regulation
applicable to it or with any of its articles of association, memorandum of association or other
constitutional documents;

        (d)     it has not assigned, conveyed, sold, hypothecated or otherwise transferred all, any
part of or any interest in any claim or Cause of Action that would be released pursuant to the
releases set forth in the Restructuring Term Sheet or the Acceptable Plan;

        (e)     except as expressly provided in this Agreement, it has (or will have, at the relevant
time) all requisite corporate or other power and authority to enter into, execute, and deliver this
Agreement and to effectuate the Restructuring Transactions contemplated by, and perform its
respective obligations under, this Agreement; and

        (f)     except as expressly provided by this Agreement, it is not party to any restructuring
or similar agreements or arrangements with the other Parties to this Agreement that have not been
disclosed to all Parties to this Agreement.


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Section 14.    Termination Events.

        14.01. Consenting First Lien Lenders Termination Events. This Agreement may be
terminated with respect to the Consenting First Lien Lenders, by the Required Consenting Lenders,
by the delivery to the Company Parties of a written notice in accordance with Section 16.09 hereof
upon the occurrence of the following events:

        (a)     the breach in any material respect by a Company Party, the Consenting Second Lien
Lender or the Sponsor of any of the representations, warranties, or covenants of the Company
Parties set forth in this Agreement that (i) is adverse to the Consenting First Lien Lenders seeking
termination pursuant to this provision and (ii) remains uncured for seven (7) calendar days;

        (b)     the issuance by any governmental authority, including any regulatory authority or
court of competent jurisdiction, of any final, non-appealable ruling or order that (i) enjoins the
consummation of a material portion of the Restructuring Transactions and (ii) remains in effect for
thirty (30) calendar days after such terminating Consenting Lender transmit a written notice in
accordance with Section 16.09 hereof detailing any such issuance; provided, that this termination
right may not be exercised by any Party that sought or requested such ruling or order in
contravention of any obligation set out in this Agreement;

       (c)     [reserved]

       (d)     the entry of an order by the Bankruptcy Court, or the filing of a motion or
application by any Company Party or the Sponsor seeking an order (without the prior written
consent of the Required Consenting Lenders, not to be unreasonably withheld), (i) converting one
or more of the Chapter 11 Cases of a Company Party to a case under chapter 7 of the Bankruptcy
Code, (ii) appointing an examiner with expanded powers beyond those set forth in
sections 1106(a)(3) and (4) of the Bankruptcy Code or a trustee in one or more of the Chapter 11
Cases of a Company Party, or (iii) rejecting this Agreement;

       (e)     the failure to meet any Milestone, which has not been waived or extended in a
manner consistent with this Agreement; provided that, if the failure to achieve such Milestone is
caused by, or results from, the breach by any Consenting First Lien Lender, as applicable, of its
covenants, agreements, or other obligations under this Agreement, such Consenting First Lien
Lender(s) shall may not assert the right to terminate this Agreement pursuant to this Section
14.01(e);

        (f)      any Company Party, the Consenting Second Lien Lender, or the Sponsor (i) files,
waives, amends or modifies, or files a pleading seeking approval of any Definitive Document or
authority to waive, amend, or modify any Definitive Document (including any waiver of any term
or condition therein) in a manner that is materially inconsistent with, or constitutes a material
breach of, this Agreement (including with respect to the consent rights afforded the Consenting
Lenders under this Agreement), without the prior written consent of the Required Consenting
Lenders, (ii) files or supports any plan of reorganization or liquidation that prevents, prohibits or
otherwise restricts consummation of the Sale Transaction, or (iii) publicly announces its intention
to take any such acts listed in the foregoing clause (i) or (ii), in the case of each of the foregoing
clauses (i) through (iii), which remains uncured for seven (7) calendar days;



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         (g)    any Sponsor or the Consenting Second Lien Lender files, proposes, or otherwise
supports any plan of reorganization or liquidation other than an Acceptable Plan or an asset sale
of all or substantially all of a Company Party’s assets, as and to the extent contemplated under this
Agreement;

        (h)     any Company Party (i) voluntarily commences any case or files any petition
seeking bankruptcy, winding up, dissolution, liquidation, administration, moratorium,
reorganization, or other relief under any federal, state, or foreign bankruptcy, insolvency,
administrative receivership, or similar law now or hereafter in effect, except as provided for in this
Agreement, (ii) consents to the institution of, or fails to contest in a timely and appropriate manner,
any involuntary proceeding or petition, (iii) applies for or consents to the appointment of a receiver,
administrator, administrative receiver, trustee, custodian, sequestrator, conservator, or similar
official for an Company Party or for a substantial part of any Company Party’s assets, (iv) files an
answer admitting the material allegations of a petition filed against it in any such proceeding,
(v) makes a general assignment or arrangement for the benefit of creditors or (vi) takes any
corporate action for the purpose of authorizing any of the foregoing;

        (i)     any Company Party, the Consenting Second Lien Lender or the Sponsor files or
supports another party in filing (i) a motion or pleading challenging the amount, validity, or priority
of any Claims held by any Consenting Lender (or any liens securing such Claims) or (ii) a motion
or pleading asserting (or seeking standing to assert) any purported claims or causes of action
against any of the Consenting Lenders;

         (j)     the Bankruptcy Court enters an order terminating the Debtors’ exclusive right to
file or solicit acceptances of a plan of reorganization (including an Acceptable Plan);

       (k)      the Company Parties fail to pay any fees and expenses of the Consenting First Lien
Lenders Advisors in accordance with the terms of this Agreement or any order approving
postpetition financing (unless such failure to pay was required by the Bankruptcy Court), which
breach remains uncured for seven (7) calendar days after receipt by the Company Parties of notice
of such breach;

        (l)   any of the Definitive Documents (i) shall have been materially and adversely
amended or modified or (ii) shall have been withdrawn, in each case, without the consent of the
Required Consenting Lenders, in each case, unless cured (to the extent curable) within seven (7)
calendar days after receipt by the Company Parties of notice of any event described in this
clause (l);

      (m)      breach of the Direction Letter by the Consenting Second Lien Lender or the Second
Lien Agent;

       (n)    the termination of the Stalking Horse APA on account of any breach by the Debtors
under the terms of the Stalking Horse APA;

       (o)    the termination of the DIP Credit Agreement on account of any Event of Default
by the Debtors under the terms of the DIP Credit Agreement;

       (p)     the termination of the DIP Order;


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       (q)     any Company Party proposes, affirmatively pursues or approves any Alternative
Restructuring Proposal; or

        (r)     any event, development, state of facts, change, circumstance, occurrence, condition
or effect occurring after the Agreement Effective Date and prior to the closing of the Sale
Transaction, including, without limitation, the entry of an order by a court of competent
jurisdiction, that relates to or arises from the CFPB Action (as defined in the DIP Credit
Agreement) and that, either individually or in the aggregate, could reasonably be expected to have
an adverse effect on any of (i) the operations, assets, liabilities or financial condition of the
Company Parties taken as a whole, (ii) the ability of the Company Parties to perform any of their
payment obligations, or any other obligation, under any Loan Document (as defined in the DIP
Credit Agreement) or the DIP Orders, (iii) the closing of the Sale Transaction, (iv) the legality,
validity or enforceability of the DIP Facility, (v) the rights and remedies of any DIP Agent or any
DIP Lender under the DIP Facility or the DIP Orders and (vi) the validity, perfection or priority
of a Lien in favor of the DIP Agent for the benefit of the DIP Lenders.

        14.02. Consenting Second Lien Lender Termination Events. This Agreement may be
terminated with respect to the Consenting Second Lien Lender by the delivery to the Company
Parties of a written notice in accordance with Section 16.09 hereof upon the occurrence of the
following events:

         (a)     the breach in any material respect by a Company Party or the Sponsor of any of the
representations, warranties, or covenants of the Company Parties set forth in this Agreement that
(i) is adverse to the Consenting Second Lien Lender seeking termination pursuant to this provision
and (ii) remains uncured for seven (7) calendar days;

        (b)     the issuance by any governmental authority, including any regulatory authority or
court of competent jurisdiction, of any final, non-appealable ruling or order that (i) enjoins the
consummation of a material portion of the Restructuring Transactions and (ii) remains in effect for
thirty (30) calendar days after such terminating Consenting Lender transmit a written notice in
accordance with Section 16.09 hereof detailing any such issuance; provided, that this termination
right may not be exercised by any Party that sought or requested such ruling or order in
contravention of any obligation set out in this Agreement;

       (c)     [reserved]

       (d)     the entry of an order by the Bankruptcy Court, or the filing of a motion or
application by any Company Party or the Sponsor seeking an order (without the prior written
consent of the Required Consenting Lenders, not to be unreasonably withheld), (i) converting one
or more of the Chapter 11 Cases of a Company Party to a case under chapter 7 of the Bankruptcy
Code, (ii) appointing an examiner with expanded powers beyond those set forth in
sections 1106(a)(3) and (4) of the Bankruptcy Code or a trustee in one or more of the Chapter 11
Cases of a Company Party, or (iii) rejecting this Agreement;

       (e)     the failure to meet any Milestone, which has not been waived or extended in a
manner consistent with this Agreement; provided that, if the failure to achieve such Milestone is
caused by, or results from, the breach by the Consenting Second Lien Lender, as applicable, of its



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covenants, agreements, or other obligations under this Agreement, the Consenting Second Lien
Lender(s) may not assert the right to terminate this Agreement pursuant to this Section 14.02(e);

         (f)     any Company Party, the first Lien Lender, or the Sponsor (i) files, waives, amends
or modifies, or files a pleading seeking approval of any Definitive Document or authority to waive,
amend, or modify any Definitive Document (including any waiver of any term or condition
therein) in a manner that is materially inconsistent with, or constitutes a material breach of, this
Agreement (including with respect to the consent rights afforded the Consenting Lenders under
this Agreement), without the prior written consent of the Required Consenting Lenders, (ii) files
or supports any plan of reorganization or liquidation that prevents, prohibits or otherwise restricts
consummation of the Sale Transaction, or (iii) publicly announces its intention to take any such
acts listed in the foregoing clause (i) or (ii), in the case of each of the foregoing clauses (i) through
(iii), which remains uncured for seven (7) calendar days;

         (g)   any Sponsor or First Lien Lender files, proposes, or otherwise supports any plan of
reorganization or liquidation other than an Acceptable Plan or an asset sale of all or substantially
all of a Company Party’s assets, as and to the extent contemplated under this Agreement;

        (h)     any Company Party (i) voluntarily commences any case or files any petition
seeking bankruptcy, winding up, dissolution, liquidation, administration, moratorium,
reorganization, or other relief under any federal, state, or foreign bankruptcy, insolvency,
administrative receivership, or similar law now or hereafter in effect, except as provided for in this
Agreement, (ii) consents to the institution of, or fails to contest in a timely and appropriate manner,
any involuntary proceeding or petition, (iii) applies for or consents to the appointment of a receiver,
administrator, administrative receiver, trustee, custodian, sequestrator, conservator, or similar
official for an Company Party or for a substantial part of any Company Party’s assets, (iv) files an
answer admitting the material allegations of a petition filed against it in any such proceeding,
(v) makes a general assignment or arrangement for the benefit of creditors or (vi) takes any
corporate action for the purpose of authorizing any of the foregoing;

         (i)     any Company Party, First Lien Lender or the Sponsor files or supports another party
in filing (i) a motion or pleading challenging the amount, validity, or priority of any Claims held
by any Consenting Lender (or any liens securing such Claims) or (ii) a motion or pleading asserting
(or seeking standing to assert) any purported claims or causes of action against any of the
Consenting Lenders;

         (j)     the Bankruptcy Court enters an order terminating the Debtors’ exclusive right to
file or solicit acceptances of a plan of reorganization (including an Acceptable Plan);

       (k)      the Company Parties fail to pay any fees and expenses of the Consenting Second
Lien Lender Advisors in accordance with the terms of this Agreement or any order approving
postpetition financing (unless such failure to pay was required by the Bankruptcy Court), which
breach remains uncured for seven (7) calendar days after receipt by the Company Parties of notice
of such breach;

      (l)   any of the Definitive Documents (i) shall have been materially and adversely
amended or modified or (ii) shall have been withdrawn, in each case, without the consent of the



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Required Consenting Lenders, in each case, unless cured (to the extent curable) within seven (7)
calendar days after receipt by the Company Parties of notice of any event described in this
clause (l);

       (m)     breach of the Direction Letter by any First Lien Lender or the First Lien Agent;

       (n)    the termination of the Stalking Horse APA on account of any breach by the Debtors
under the terms of the Stalking Horse APA; or

       (o)    the termination of the DIP Credit Agreement on account of any Event of Default
by the Debtors under the terms of the DIP Credit Agreement.

       (p)     the termination of the DIP Order;

       (q)     any Company Party proposes, affirmatively pursues or approves any Alternative
Restructuring Proposal; or

        (r)     any event, development, state of facts, change, circumstance, occurrence, condition
or effect occurring after the Agreement Effective Date and prior to the closing of the Sale
Transaction, including, without limitation, the entry of an order by a court of competent
jurisdiction, that relates to or arises from the CFPB Action (as defined in the DIP Credit
Agreement) and that, either individually or in the aggregate, could reasonably be expected to have
an adverse effect on any of (i) the operations, assets, liabilities or financial condition of the
Company Parties taken as a whole, (ii) the ability of the Company Parties to perform any of their
payment obligations, or any other obligation, under any Loan Document (as defined in the DIP
Credit Agreement) or the DIP Orders, (iii) the closing of the Sale Transaction, (iv) the legality,
validity or enforceability of the DIP Facility, (v) the rights and remedies of any DIP Agent or any
DIP Lender under the DIP Facility or the DIP Orders and (vi) the validity, perfection or priority
of a Lien in favor of the DIP Agent for the benefit of the DIP Lenders.

       14.03. Company Party Termination Events. Any Company Party may terminate this
Agreement as to all Parties upon prior written notice to all Parties in accordance with Section 16.09
hereof upon the occurrence of any of the following events:

       (a)    the breach in any material respect by one or more of the Consenting Stakeholders
of any provision set forth in this Agreement that remains uncured for a period of fifteen (15)
Business Days after the receipt by the Consenting Stakeholders of notice of such breach;

       (b)    the board of directors, board of managers, or such similar governing body of any
Company Party determines, after consulting with counsel, (i) that proceeding with any of the
Restructuring Transactions would be inconsistent with the exercise of its fiduciary duties or
applicable Law or (ii) in the exercise of its fiduciary duties, to pursue an Alternative Restructuring
Proposal; or

        (c)    the issuance by any governmental authority, including any regulatory authority or
court of competent jurisdiction, of any final, non-appealable ruling or order that (i) enjoins the
consummation of a material portion of the Restructuring Transactions and (ii) remains in effect for
thirty (30) Business Days after such terminating Company Party transmits a written notice in


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accordance with Section 16.09 hereof detailing any such issuance; provided, that this termination
right shall not apply to or be exercised by any Company Party that sought or requested such ruling
or order in contravention of any obligation or restriction set out in this Agreement.

        14.04. Sponsor Termination Events. The Sponsor may terminate this Agreement as to all
Parties upon prior written notice to all Parties in accordance with Section 16.09 hereof upon the
occurrence of any of the following events:

        (a)    the breach in any material respect by one or more of the Company Party or
Consenting Lender of any provision set forth in this Agreement that remains uncured for a period
of seven (7) calendar days after the receipt by the Company Parties and Consenting Lenders of
notice of such breach;

       (b)     the entry of an order by the Bankruptcy Court, or the filing of a motion or
application by any Company Party or Consenting Lender seeking an order (i) converting one or
more of the Chapter 11 Cases of a Company Party to a case under chapter 7 of the Bankruptcy
Code or dismissing any of the Chapter 11 Cases or (ii) appointing an examiner with expanded
powers, a trustee or a receiver; provided that this termination right may not be exercised if the
Consenting Lender sought, requested or supported such order or failed to oppose such ruling or
order;

        (c)      the issuance by any governmental authority, including any regulatory authority or
court of competent jurisdiction, of any final, non-appealable ruling or order that (i) enjoins the
consummation of a material portion of the Restructuring Transactions and (ii) remains in effect for
thirty (30) calendar days after such terminating Company Party transmits a written notice in
accordance with Section 16.09 hereof detailing any such issuance; provided, that this termination
right shall not apply to or be exercised by any Company Party that sought or requested such ruling
or order in contravention of any obligation or restriction set out in this Agreement;

       (d)     any Definitive Document, without each respective Party’s express written
agreement (i) modifies or affects the release provisions related the Sponsor as identified in the
Restructuring Term Sheet or (ii) modifies or affects the rights or obligations of the Sponsor
pursuant to or identified in this Agreement or the Restructuring Term Sheet or implemented
pursuant to the Restructuring Transactions; or

      14.05. Mutual Termination. This Agreement, and the obligations of all Parties hereunder,
may be terminated by mutual written agreement among all of the following: (a) the Required
Consenting Lenders; (b) the Sponsor; and (c) each Company Party.

        14.06. Automatic Termination. This Agreement shall terminate automatically without any
further required action or notice immediately (i) on the date that is sixty (60) days following
consummation of the Sale Transaction, or (ii) in the event the Debtors file a Plan with the
Bankruptcy Court, the earlier of (a) ninety (90) days following the filing thereof and (b) the Plan
Effective Date.

        14.07. Effect of Termination. Upon the occurrence of a Termination Date as to a Party,
this Agreement shall be of no further force and effect as to such Party and each Party subject to
such termination shall be released from its commitments, undertakings, and agreements under or


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related to this Agreement and shall have the rights and remedies that it would have had, had it not
entered into this Agreement, and shall be entitled to take all actions, whether with respect to the
Restructuring Transactions or otherwise, that it would have been entitled to take had it not entered
into this Agreement, including with respect to any and all Claims or causes of action. Upon the
occurrence of a Termination Date prior to the Confirmation Order being entered by a Bankruptcy
Court, any and all consents or ballots tendered by the Parties subject to such termination before a
Termination Date shall be deemed, for all purposes, to be null and void from the first instance and
shall not be considered or otherwise used in any manner by the Parties in connection with the
Restructuring Transactions and this Agreement or otherwise; provided, however, any Consenting
Stakeholder withdrawing or changing its vote pursuant to this Section 14.07 shall promptly provide
written notice of such withdrawal or change to each other Parties to this Agreement and, if such
withdrawal or change occurs on or after the Petition Date, file notice of such withdrawal or change
with the Bankruptcy Court. Nothing in this Agreement shall be construed as prohibiting a
Company Party or any of the Consenting Stakeholders from contesting whether any such
termination is in accordance with its terms or to seek enforcement of any rights under this
Agreement that arose or existed before a Termination Date. Except as expressly provided in this
Agreement, nothing herein is intended to, or does, in any manner waive, limit, impair, or restrict
(a) any right of any Company Party or the ability of any Company Party to protect and reserve its
rights (including rights under this Agreement), remedies, and interests, including its claims against
any Consenting Stakeholder, and (b) any right of any Consenting Stakeholder, or the ability of any
Consenting Stakeholder, to protect and preserve its rights (including rights under this Agreement),
remedies, and interests, including its claims against any Company Party or Consenting
Stakeholder. No purported termination of this Agreement shall be effective under this
Section 14.07 or otherwise if the Party seeking to terminate this Agreement is in material breach
of this Agreement, except a termination pursuant to Section 14.03(b). Nothing in this
Section 14.07 shall restrict any Company Party’s right to terminate this Agreement in accordance
with Section 14.03(b).

Section 15.     Amendments and Waivers.

       (a)    This Agreement may not be modified, amended, or supplemented, and no condition
or requirement of this Agreement may be waived, in any manner except in accordance with this
Section 15.

        (b)    This Agreement may be modified, amended, or supplemented, or a condition or
requirement of this Agreement may be waived, in a writing signed by (a) each Company Party,
(b) the Required Consenting Lenders, and (c) the Sponsor; provided, however, that if the proposed
modification, amendment, waiver, or supplement has a material, disproportionate, and adverse
effect on any Consenting Stakeholder, then the consent of each such affected Consenting
Stakeholder shall also be required to effectuate such modification, amendment, waiver or
supplement.

      (c)     Any proposed modification, amendment, waiver or supplement that does not
comply with this Section 15 shall be ineffective and void ab initio.

       (d)     The waiver by any Party of a breach of any provision of this Agreement shall not
operate or be construed as a further or continuing waiver of such breach or as a waiver of any other


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or subsequent breach. No failure on the part of any Party to exercise, and no delay in exercising,
any right, power or remedy under this Agreement shall operate as a waiver of any such right, power
or remedy or any provision of this Agreement, nor shall any single or partial exercise of such right,
power or remedy by such Party preclude any other or further exercise of such right, power or
remedy or the exercise of any other right, power or remedy. All remedies under this Agreement
are cumulative and are not exclusive of any other remedies provided by Law.

Section 16.     Miscellaneous.

        16.01. Acknowledgement. Notwithstanding any other provision herein, this Agreement is
not and shall not be deemed to be an offer with respect to any securities or solicitation of votes for
the acceptance of a plan of reorganization for purposes of sections 1125 and 1126 of the
Bankruptcy Code or otherwise. Any such offer or solicitation will be made only in compliance
with all applicable securities Laws, provisions of the Bankruptcy Code, and/or other applicable
Law.

        16.02. Exhibits Incorporated by Reference; Conflicts. Each of the exhibits, annexes,
signatures pages, and schedules attached hereto is expressly incorporated herein and made a part
of this Agreement, and all references to this Agreement shall include such exhibits, annexes, and
schedules. In the event of any inconsistency between this Agreement (without reference to the
exhibits, annexes, and schedules hereto) and the exhibits, annexes, and schedules hereto, this
Agreement (without reference to the exhibits, annexes, and schedules thereto) shall govern.

        16.03. Further Assurances. Subject to the other terms of this Agreement, the Parties agree
to execute and deliver such other instruments and perform such acts, in addition to the matters
herein specified, as may be reasonably appropriate or necessary, or as may be required by order of
the Bankruptcy Court, from time to time, to effectuate the Restructuring Transactions, as
applicable.

        16.04. Complete Agreement. Except as otherwise explicitly provided herein, this
Agreement constitutes the entire agreement among the Parties with respect to the subject matter
hereof and supersedes all prior agreements, oral or written, among the Parties with respect thereto,
other than any Confidentiality Agreement.

        16.05. GOVERNING LAW; SUBMISSION TO JURISDICTION; SELECTION OF
FORUM; TRIAL BY JURY WAIVER. THIS AGREEMENT IS TO BE GOVERNED BY AND
CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK
APPLICABLE TO CONTRACTS MADE AND TO BE PERFORMED IN SUCH STATE,
WITHOUT GIVING EFFECT TO THE CONFLICT OF LAWS PRINCIPLES THEREOF. Each
Party hereto agrees that it shall bring any action or proceeding in respect of any claim arising out
of or related to this Agreement, to the extent possible, in the Bankruptcy Court, and solely in
connection with claims arising under this Agreement: (a) irrevocably submits to the exclusive
jurisdiction of the Bankruptcy Court; (b) waives any objection to laying venue in any such action
or proceeding in the Bankruptcy Court; and (c) waives any objection that the Bankruptcy Court is
an inconvenient forum or does not have jurisdiction over any Party hereto. EACH PARTY
HERETO IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY




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LEGAL PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE
TRANSACTIONS CONTEMPLATED HEREBY.

        16.06. Execution of Agreement. This Agreement may be executed and delivered in any
number of counterparts and by way of electronic signature and delivery, each such counterpart,
when executed and delivered, shall be deemed an original, and all of which together shall constitute
the same agreement. Except as expressly provided in this Agreement, each individual executing
this Agreement on behalf of a Party has been duly authorized and empowered to execute and
deliver this Agreement on behalf of said Party.

        16.07. Rules of Construction. This Agreement is the product of negotiations among the
Company Parties and the Consenting Stakeholders, and in the enforcement or interpretation hereof,
is to be interpreted in a neutral manner, and any presumption with regard to interpretation for or
against any Party by reason of that Party having drafted or caused to be drafted this Agreement, or
any portion hereof, shall not be effective in regard to the interpretation hereof. The Company
Parties and the Consenting Stakeholders were each represented by counsel during the negotiations
and drafting of this Agreement and continue to be represented by counsel.

        16.08. Successors and Assigns; Third Parties. This Agreement is intended to bind and
inure to the benefit of the Parties and their respective successors and permitted assigns, as
applicable. There are no third-party beneficiaries under this Agreement, and the rights or
obligations of any Party under this Agreement may not be assigned, delegated, or transferred to
any other person or entity.

       16.09. Notices. All notices hereunder shall be deemed given if in writing and delivered,
by electronic mail, courier, or registered or certified mail (return receipt requested), to the
following addresses (or at such other addresses as shall be specified by like notice):

       (a)     if to a Company Party, to:

               PGX Holdings, Inc.
               257 East 200 South, Suite 1200
               Salt Lake City, Utah 84111
               Attention:            Eric Kamerath
               E-mail address:       ekamerath@ekamlaw.com

               and

               John C. Heath, Attorney At Law PC
               P.O. Box 1173
               Salt Lake City, Utah 84110
               Attention:            John C. Heath
               E-mail address:       jch@johnheathlaw.com

               with copies to:

               Kirkland & Ellis LLP
               300 North LaSalle Street


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        Chicago, Illinois 60654
        Attention:            Spencer A. Winters
                              Whitney Fogelberg
                              Alison J. Wirtz
        E-mail address:       spencer.winters@kirkland.com
                              whitney.fogelberg@kirkland.com
                              alison.wirtz@kirkland.com

        and

        Kirkland & Ellis LLP
        601 Lexington Avenue
        New York, New York 10022
        Attention:           Joshua A. Sussberg, P.C.
        E-mail address:      joshua.sussberg@kirkland.com

(b)     if to the First Lien Lender, to:

        Blue Torch Finance LLC
        c/o Blue Torch Capital LP
        150 East 58th Street, 39th Floor
        New York, New York 10155
        E-mail address:        BlueTorchAgency@alterdomus.com

        with copies to:

        King & Spalding LLP
        1185 Avenue of the Americas, 34th Floor
        New York, New York 10036
        Attention:          Roger Schwartz
        E-mail address:     rschwartz@kslaw.com

        and

        King & Spalding LLP
        110 N. Wacker Drive, Suite 3800
        Chicago, IL 60606
        Attention:           Geoffrey King
        Email address:       gking@kslaw.com

(c)     if to the Consenting Second Lien Lender or Sponsor, to:

        Prospect Capital Corporation
        10 East 40th Street, 42nd Floor
        New York, New York 10016
        Attention:             General Counsel
                               Jason Wilson
        E-mail address:        fax@prospectcap.com


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                                       pl@prospectcap.com
                                       pacct@prospectcap.com
                                       jwilson@prospectcap.com

               with copies to:

               Proskauer Rose LLP
               One International Place
               Boston, Massachusetts 02110-2600
               Attention:            Peter Antoszyk
                                     David M. Hillman
               E-mail address:       pantoszyk@proskauer.com
                                     dhillman@proskauer.com

Any notice given by delivery, mail, or courier shall be effective when received.

        16.10. Independent Due Diligence and Decision Making. Each Consenting Stakeholder
hereby confirms that its decision to execute this Agreement has been based upon its independent
investigation of the operations, businesses, financial and other conditions, and prospects of the
Company Parties.

       16.11. Enforceability of Agreement. Each of the Parties to the extent enforceable waives
any right to assert that the exercise of termination rights under this Agreement is subject to the
automatic stay provisions of the Bankruptcy Code, and expressly stipulates and consents hereunder
to the prospective modification of the automatic stay provisions of the Bankruptcy Code for
purposes of exercising termination rights under this Agreement, to the extent the Bankruptcy Court
determines that such relief is required.

       16.12. Waiver. If the Restructuring Transactions are not consummated, or if this
Agreement is terminated for any reason, the Parties fully reserve any and all of their rights.
Pursuant to Federal Rule of Evidence 408 and any other applicable rules of evidence, this
Agreement and all negotiations relating hereto shall not be admissible into evidence in any
proceeding other than a proceeding to enforce its terms or the payment of damages to which a
Party may be entitled under this Agreement.

        16.13. Specific Performance. It is understood and agreed by the Parties that money
damages be an insufficient remedy for any breach of this Agreement by any Party, and each non-
breaching Party shall be entitled to specific performance and injunctive or other equitable relief
(without the posting of any bond and without proof of actual damages) as a remedy of any such
breach, including an order of the Bankruptcy Court or other court of competent jurisdiction
requiring any Party to comply promptly with any of its obligations hereunder.

        16.14. Several, Not Joint, Claims. Except where otherwise specified, the agreements,
representations, warranties, and obligations of the Parties under this Agreement are, in all respects,
several and not joint.

        16.15. Severability and Construction. If any provision of this Agreement shall be held by
a court of competent jurisdiction to be illegal, invalid, or unenforceable, the remaining provisions


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shall remain in full force and effect if essential terms and conditions of this Agreement for each
Party remain valid, binding, and enforceable.

        16.16. Remedies Cumulative. All rights, powers, and remedies provided under this
Agreement or otherwise available in respect hereof at Law or in equity shall be cumulative and
not alternative, and the exercise of any right, power, or remedy thereof by any Party shall not
preclude the simultaneous or later exercise of any other such right, power, or remedy by such Party.

        16.17. Capacities of Consenting Stakeholders. Each Consenting Stakeholder has entered
into this agreement on account of all Company Claims/Interests that it holds (directly or through
discretionary accounts that it manages or advises) and, except where otherwise specified in this
Agreement, shall take or refrain from taking all actions that it is obligated to take or refrain from
taking under this Agreement with respect to all such Company Claims/Interests.

        16.18. Survival. Notwithstanding (i) any Transfer of any Company Claims/Interests in
accordance with this Agreement or (ii) the termination of this Agreement in accordance with its
terms, the agreements and obligations of the Parties in Section 14 and the Confidentiality
Agreements shall survive such Transfer and/or termination and shall continue in full force and
effect for the benefit of the Parties in accordance with the terms hereof and thereof. For the
avoidance of doubt, the Parties acknowledge and agree that if this Agreement is terminated,
Section 13 shall survive such termination, and any and all Releases shall remain in full force and
effect.

       16.19. Email Consents. Where a written consent, acceptance, approval, or waiver is
required pursuant to or contemplated by this Agreement, pursuant to Section 3.02, Section 15, or
otherwise, including a written approval by the Company Parties or the Required Consenting
Stakeholders, such written consent, acceptance, approval, or waiver shall be deemed to have
occurred if, by agreement between counsel to the Parties submitting and receiving such consent,
acceptance, approval, or waiver, it is conveyed in writing (including electronic mail) between each
such counsel without representations or warranties of any kind on behalf of such counsel.
Notwithstanding the foregoing, this Section 16.19 shall not apply to amendments of this
Agreement in accordance with Section 15.

       IN WITNESS WHEREOF, the Parties hereto have executed this Agreement on the day
and year first above written.

                                     [Signature pages follow]




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                                        EXHIBIT A

                                      Company Parties

1. PGX Holdings, Inc.

2. Credit Repair UK, Inc.

3. CreditCo Limited

4. Credit.com, Inc.

5. Creditrepair.com Holdings, Inc.

6. Creditrepair.com, Inc.

7. eFolks Holdings, Inc.

8. eFolks, LLC

9. John C. Heath, Attorney At Law PC

10. Progrexion ASG, Inc.

11. Progrexion Holdings, Inc.

12. Progrexion IP, Inc.

13. Progrexion Marketing, Inc.

14. Progrexion Teleservices, Inc.
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                       EXHIBIT B

                Restructuring Term Sheet
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                                                                                          Execution Version

                                      PGX HOLDINGS, INC., ET AL.
                                   RESTRUCTURING TERM SHEET1

This term sheet (the “Restructuring Term Sheet”) sets forth the principal terms of the Restructuring
Transactions and certain related transactions concerning the Company Parties agreed to by the Consenting
Stakeholders and the Company Parties. This Restructuring Term Sheet does not contain a complete list of
all terms and conditions of the potential transactions described herein.

This Restructuring Term Sheet has been produced for discussion and settlement purposes only.
Accordingly, this Restructuring Term Sheet and the information contained herein are entitled to protection
from any use or disclosure to any party or person pursuant to Rule 408 of the Federal Rules of Evidence
and any other applicable rule, statute, or doctrine of similar import protecting the use or disclosure of
confidential settlement discussions.     This Restructuring Term Sheet is confidential and subject to
applicable confidentiality provisions and agreements.

The transactions described herein will be subject to the negotiation and completion of definitive documents
incorporating the terms set forth herein and the closing of any transaction shall be subject to the terms and
conditions set forth in such agreed and executed definitive documents. The regulatory, tax, accounting,
and other legal and financial matters and effects related to the Restructuring Transactions or any related
restructuring or similar transaction have not been fully evaluated and any such evaluation may affect the
terms and structure of any Restructuring Transactions or related transactions.

THIS RESTRUCTURING TERM SHEET DOES NOT CONSTITUTE (NOR SHALL IT BE
CONSTRUED AS) AN OFFER WITH RESPECT TO ANY SECURITIES, LOANS OR OTHER
INSTRUMENTS OR A SOLICITATION OF ACCEPTANCES OR REJECTIONS AS TO ANY PLAN,
IT BEING UNDERSTOOD THAT SUCH AN OFFER OR SOLICITATION, IF ANY, WILL BE MADE
ONLY IN COMPLIANCE WITH APPLICABLE LAW.

                                    Restructuring Transactions Overview
    Implementation                   The restructuring will be implemented through prearranged cases
                                     commenced by certain of the Company Parties under chapter 11 of title
                                     11 of the United States Code, 11 U.S.C. §§ 101–1532 (as amended,
                                     the “Bankruptcy Code”) in the United States Bankruptcy Court for the
                                     District of Delaware (the “Bankruptcy Court” and, such cases,
                                     the “Chapter 11 Cases”).

                                     The Restructuring Transactions will be subject to the Definitive
                                     Documents, the terms of the Restructuring Support Agreement
                                     (including the exhibits thereto), the Stalking Horse APA, and the
                                     consent rights set forth in each of the foregoing.

                                     The Restructuring Transactions will be effectuated pursuant to a sale
                                     involving all or substantially all of the Debtors’ assets to a purchaser
                                     formed by the Consenting Lenders or a higher or otherwise better bidder
                                     pursuant to section 363 of the Bankruptcy Code (the “Sale
                                     Transaction”) followed by a wind-down of the estates by the Debtors

1    Capitalized terms used but otherwise not defined herein shall have the meaning ascribed to such terms in the
     Restructuring Support Agreement or the Stalking Horse APA, as applicable.
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                                       through the Plan, if applicable, and based on a budget to be agreed upon
                                       between the Purchaser, the Consenting Lenders and the Debtors.

    Sale Transaction                   The Sale Transaction will be accomplished pursuant to a competitive
                                       bidding process to be conducted in accordance with the Bidding
                                       Procedures on the timeline contemplated by the milestones set forth in
                                       the Restructuring Support Agreement (the “Milestones”).

                                       The DIP Agent, at the direction of the Required DIP Lenders, shall,
                                       pursuant to the terms of this term sheet, (i) designate the buyer as the
                                       purchaser of the Acquired Assets (as defined herein) and (ii) contribute
                                       certain obligations owed to the lenders to the buyer, in order for the
                                       buyer to credit bid some or all of the obligations as consideration for
                                       the Acquired Assets as set forth below and/or designate the buyer to
                                       receive the Acquired Assets in exchange for the issuance of debt and
                                       equity to the lenders.
                                       The DIP Lenders2 and the Debtors shall, subject to the terms of the
                                       Restructuring Support Agreement, enter into a stalking horse credit bid
                                       asset purchase agreement for the sale of all or substantially all of their
                                       assets (collectively, the “Acquired Assets”) to an acquisition entity
                                       formed by the DIP Lenders (the “Purchaser”) pursuant to definitive
                                       transaction documents, including an asset purchase agreement (the
                                       “Stalking Horse APA” and together with all definitive transaction
                                       documentation, the “Sale Transaction Documentation”), pursuant to
                                       which DIP Lenders will agree to purchase the Acquired Assets, subject
                                       to the terms and conditions therein. The DIP Lenders acknowledge
                                       that their offer to purchase the Acquired Assets pursuant to the Stalking
                                       Horse APA shall be subject to higher and better offers proposed in
                                       accordance with the Bidding Procedures.
                                       The Debtors and the Required Consenting Lenders shall mutually agree
                                       upon the terms and conditions of such sale process and, following
                                       consummation of the Sale Transaction, a wind-down budget funding
                                       the wind-down of the Debtors estates in an amount no less than $2.625
                                       million acceptable to the Debtors and the DIP Lenders, to be held in
                                       escrow by the DIP Agent and to be released only upon the closing of
                                       the Sale Transaction, which shall automatically be increased on a dollar
                                       for dollar basis to the extent, as of the date of the consummation of the
                                       Sale Transaction, the Debtors have capital in excess of the amount set
                                       forth in the then-Approved Budget; provided, however, such that in no
                                       event shall the wind-down budget exceed $3,000,000 (the “Wind-Down
                                       Budget”).
    DIP Facility                       Pursuant to the DIP Orders, the DIP Lenders will finance a secured
                                       superpriority priming debtor-in-possession term loan facility available
                                       in multiple draws as set forth herein in (i) a new money term loan
                                       facility available in multiple draws for an aggregate maximum principal


2    “DIP Lenders” means First Lien Lenders that, either directly or through one or more affiliates (or funds or
     accounts advised or sub-advised by such person) finance the DIP Facility.


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                                     amount of $19,925,000 and (ii) a roll-up facility in an aggregate
                                     maximum principal amount of $42,750,000, each as set forth in the DIP
                                     Credit Agreement and related documents. The DIP Orders shall
                                     provide for the Debtors’ consensual use of cash collateral of the
                                     Prepetition Lenders.3
    Plan of Liquidation              In the event that the Debtors determine it is in the best interests of the
                                     estates to seek confirmation of a Plan following consummation of the
                                     Sale Transaction, the Consenting Lenders agree that they will not object
                                     to the confirmation of a Plan and will opt in to any release provisions
                                     provided in the Plan of Liquidation provided that such Plan will (i)
                                     provide for payment in full in cash of any remaining DIP Facility claims
                                     or otherwise render any such DIP Facility Claim unimpaired under
                                     section 1124 of the Bankruptcy Code, (ii) provide that First Lien
                                     Secured Claims and Second Lien Secured Claims receive a pro rata
                                     share of any distributable proceeds, in accordance with the Intercreditor
                                     Agreement and the Bankruptcy Code, up to the allowed amount of the
                                     First Lien Secured Claims and Second Lien Secured Claims,
                                     respectively, after taking into account any Credit Bid, (iii) include
                                     release and exculpation provisions in favor of the DIP Lenders, First
                                     Lien Lenders, First Lien Agent, Second Lien Agent and Second Lien
                                     Lenders (and their affiliates and related parties) substantially in form
                                     set forth in Annex 1 to this Restructuring Term Sheet, and (iv) be
                                     otherwise in form and substance acceptable to the Consenting Lenders
                                     (an “Acceptable Plan”)

                                                  Other Terms
    Plan Administrator               The person or Entity, or any successor thereto, designated by the
                                     Debtors, to be appointed on the Plan Effective Date and who will serve
                                     as the administrator for the Wind-Down Debtor as set forth in the Plan
                                     (the “Plan Administrator”).
    Wind-Down Debtor                 At least one Debtor shall continue in existence after the Plan Effective
                                     Date (the “Wind-Down Debtor”) for the purpose of (1) winding down
                                     the Debtors’ business and affairs as expeditiously as reasonably
                                     possible, conducting any going out of business sales, and liquidating
                                     any assets held by the Wind-Down Debtor after the Plan Effective Date,
                                     (2) performing any obligations under any transition services agreement
                                     entered into on or after the Plan Effective Date, (3) resolving any
                                     disputed Claims, (4) paying Allowed Claims, (5) filing appropriate tax
                                     returns, and (6) administering the Plan, if applicable, in an efficacious
                                     manner.
                                     The Wind-Down Debtor shall be deemed to be substituted as the
                                     party-in-lieu of the Debtors in all matters, including (1) motions,
                                     contested matters, and adversary proceedings pending in the
                                     Bankruptcy Court, and (2) all matters pending in any courts, tribunals,
                                     forums, or administrative proceedings outside of the Bankruptcy Court,


3    “Prepetition Lenders” means the First Lien Lenders and the Second Lien Lenders.


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                       in each case without the need or requirement for the Plan Administrator
                       to file motions or substitutions of parties or counsel in each such matter.
Tax Structure          The terms of the Restructuring Transactions will be structured to
                       maximize tax efficiencies for each of the Debtors and the Consenting
                       Stakeholders, as agreed to by the Debtors and the Required Consenting
                       Lenders.
Plan Releases and      Any Acceptable Plan shall include release and exculpation provisions
Exculpation            (and related definitions) substantially in the form set forth in Annex 1
                       to this Restructuring Term Sheet.
Definitive Documents   This Restructuring Term Sheet does not include a description of all of
                       the terms, conditions, and other provisions that will be contained in the
                       Definitive Documents, which shall be in form and substance subject to
                       the consent rights set forth herein and in the Restructuring Support
                       Agreement.




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                                                    Annex 1

                                 Plan Release and Exculpation Provisions4




4   Capitalized terms used but otherwise not defined herein shall have the meaning ascribed to such terms in the
    Plan.
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        “Agent” means, collectively, the First Lien Agent, the Second Lien Agent, and the DIP Agent.

       “Exculpated Parties” means, collectively, and in each case in its capacity as such: (a) each of the
Debtors; (b) each independent director or manager of any Debtor; and (c) any official committee of
unsecured creditors appointed in the Chapter 11 Cases.

        “Governing Body” means, in each case in its capacity as such, the board of directors, board of
managers, manager, general partner, investment committee, special committee, or such similar governing
body of any of the Debtors or the Wind-Down Debtor, as applicable.

        “Related Party” means, each of, and in each case in its capacity as such, current and former
directors, managers, officers, investment committee members, special committee members, equity holders
(regardless of whether such interests are held directly or indirectly), affiliated investment funds or
investment vehicles, managed accounts or funds, predecessors, participants, successors, assigns,
subsidiaries, affiliates, partners, limited partners, general partners, principals, members, management
companies, fund advisors or managers, employees, agents, trustees, advisory board members, financial
advisors, attorneys, accountants, investment bankers, consultants, representatives, and other professionals
and advisors. For the avoidance of doubt, the members of each Governing Body are Related Parties of the
Debtors.

         “Released Party” means, each of, and in each case in its capacity as such: (a) the Debtors; (b) the
Wind-Down Debtor; (c) the Plan Administrator; (d) each Consenting Stakeholder; (e) each Consenting
Lender; (f) each Company Party; (g) the Sponsor; (h) the Agent; (i) all holders of Equity Interests; (j) the
Purchaser; (k) each current and former Affiliate of each Entity in clause (a) through the following clause
(l); and (l) each Related Party of each Entity in clause (a) through this clause (l).

         “Releasing Party” means, each of, and in each case in its capacity as such: (a) the Debtors; (b) the
Wind-Down Debtor; (c) the Plan Administrator; (d) each Consenting Stakeholder; (e) each Consenting
Lender; (f) each Company Party; (g) the Sponsor; (h) the Agent; (i) all holders of Claims; (j) all holders of
Equity Interests; (k) the Purchaser; (l) each current and former Affiliate of each Entity in clause (a) through
the following clause (m); and (m) each Related Party of each Entity in clause (a) through this clause (m)
for which such Entity is legally entitled to bind such Related Party to the releases contained in the Plan
under applicable law; provided, however, that in each case, an Entity shall not be a Releasing Party if it:
(x) elects to opt out of the release contained in the Plan; or (y) timely objects to the Third-Party Release
and such objection is not withdrawn before Confirmation.

        Releases by the Debtors.

         Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b) of the
Bankruptcy Code, for good and valuable consideration, the adequacy of which is hereby confirmed, upon
entry of the Confirmation Order and effective as of the Plan Effective Date, to the fullest extent permitted
by applicable law, each Released Party is, and is deemed hereby to be, fully, conclusively, absolutely,
unconditionally, irrevocably, and forever released and discharged by each and all of the Debtors, the Wind-
Down Debtor, and their Estates, in each case on behalf of themselves and their respective successors,
assigns, and representatives, including any Estate representative appointed or selected pursuant to section
1123(b)(3) of the Bankruptcy Code, from any and all Claims, obligations, rights, suits, damages, Causes of
Action, remedies, and liabilities whatsoever, whether known or unknown, including any derivative claims,
asserted or assertable on behalf of any of the Debtors, the Wind-Down Debtor, or their Estates, that any
such Entity would have been legally entitled to assert in their own right (whether individually or
collectively) or on behalf of the Holder of any Claim against or Interest in a Debtor or other Entity, or that
any Holder of any Claim against or Interest in a Debtor or other Entity could have asserted on behalf of the
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Debtors, based on or relating to, or in any manner arising from, in whole or in part, the Debtors (including
the Debtors’ capital structure, management, ownership, or operation thereof or otherwise), the subject
matter of, or the transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
business or contractual arrangements between any Debtor and any Released Party, the Debtors’ in- or out-
of-court restructuring efforts, the purchase, sale, or rescission of any security of the Debtors, or the Wind-
Down Debtor, any Avoidance Actions (but excluding Avoidance Actions brought as counterclaims or
defenses to Claims asserted against the Debtors), intercompany transactions between or among a Debtor or
an affiliate of a Debtor and another Debtor or affiliate of a Debtor, the Chapter 11 Cases, the formulation,
preparation, dissemination, solicitation, negotiation, entry into, or filing of the Restructuring Support
Agreement, the Disclosure Statement, the Plan, the Plan Supplement, the Sale Transaction any other
Definitive Document or any Restructuring Transaction, or any contract, instrument, release, or other
agreement or document created or entered into in connection with the Restructuring Support Agreement,
the Disclosure Statement, the Plan, the Plan Supplement, the Sale Transaction, any other Definitive
Document, any of the Restructuring Transactions, the Chapter 11 Cases, the filing of the Chapter 11 Cases,
the pursuit of Confirmation, the administration and implementation of the Plan, including the issuance or
distribution of securities pursuant to the Plan, or the distribution of property under the Plan, or upon any
other act or omission, transaction, agreement, event, or other occurrence taking place on or before the Plan
Effective Date.

         Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
release: (1) any obligations arising on or after the Plan Effective Date of any party or Entity under the Plan,
the Confirmation Order, or any post-Effective Date transaction contemplated by the Plan or the
Restructuring Transactions, or any document, instrument, or agreement (including those set forth in the
Plan Supplement) executed to implement the Plan or the Restructuring Transactions; or (2) any matters
retained by the Debtors, and the Wind-Down Debtor pursuant to the Schedule of Retained Causes of Action.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the related provisions
and definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s finding that the
Debtor Release is: (1) in exchange for the good and valuable consideration provided by the Released
Parties, including, the Released Parties’ contribution to facilitating the Restructuring Transactions and
implementing the Plan; (2) a good faith settlement and compromise of the Claims released by the Debtor
Release; (3) in the best interests of the Debtors and all Holders of Claims and Interests; (4) fair, equitable,
and reasonable; (5) given and made after due notice and opportunity for a hearing; and (6) a bar to any of
the Debtors, the Wind-Down Debtor, or the Debtors’ Estates asserting any Claim or Cause of Action
released pursuant to the Debtor Release.

        Releases by the Releasing Parties.

         Except as otherwise expressly set forth in this Plan or the Confirmation Order, effective as of the
Plan Effective Date, in exchange for good and valuable consideration, the adequacy of which is hereby
confirmed, each Released Party is, and is deemed hereby to be, fully, conclusively, absolutely,
unconditionally, irrevocably, and forever released and discharged by each Releasing Party from any and all
claims and Causes of Action, whether known or unknown, including any derivative claims, asserted or
assertable on behalf of any of the Debtors, the Wind-Down Debtor, or the Estates, that such Entity would
have been legally entitled to assert (whether individually or collectively), based on or relating to or in any
manner arising from, in whole or in part, the Debtors (including the Debtors’ capital structure, management,
ownership, or operation thereof or otherwise), the subject matter of, or the transactions or events giving rise
to, any Claim or Interest that is treated in the Plan, the business or contractual arrangements between any
Debtor and any Released Party, the Debtors’ in- or out-of-court restructuring efforts, the purchase, sale, or
rescission of any security of the Debtors, or the Wind-Down Debtor, any Avoidance Actions (but excluding

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Avoidance Actions brought as counterclaims or defenses to Claims asserted against the Debtors),
intercompany transactions, the Chapter 11 Cases, the formulation, preparation, dissemination, solicitation,
negotiation, entry into, or filing of the Restructuring Support Agreement, the Disclosure Statement, the
Plan, the Plan Supplement, the Sale Transaction, any other Definitive Document or any Restructuring
Transaction, or any contract, instrument, release, or other agreement or document created or entered into in
connection with the Restructuring Support Agreement, the Disclosure Statement, the Plan, the Plan
Supplement, the Sale Transaction, any other Definitive Document, any of the Restructuring Transactions,
the Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan, including the issuance or distribution
of securities pursuant to the Plan, or the distribution of property under the Plan, or upon any other related
act or omission, transaction, agreement, event, or other occurrence taking place on or before the Plan
Effective Date.

        Notwithstanding anything to the contrary in the foregoing, the Third-Party Release does not release
(1) any obligations arising on or after the Plan Effective Date of any party or Entity under the Plan, the
Confirmation Order, or any post-Effective Date transaction contemplated by the Plan or the Restructuring
Transactions, or any document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan or the Restructuring Transactions; or (2) the rights of any Holder of
Allowed Claims to receive distributions under the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference each of the related
provisions and definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s finding
that the Third-Party Release is: (1) consensual; (2) essential to the Confirmation of the Plan; (3) given in
exchange for the good and valuable consideration provided by the Released Parties; (4) a good faith
settlement and compromise of the Claims released by the Third-Party Release; (5) in the best interests of
the Debtors and their Estates; (6) fair, equitable, and reasonable; (7) given and made after due notice and
opportunity for a hearing; and (8) a bar to any of the Releasing Parties asserting any Claim or Cause of
Action released pursuant to the Third-Party Release.

        Exculpation.

          Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur any
liability for, and each Exculpated Party shall be released and exculpated from any Cause of Action for any
claim related to any act or omission in connection with, relating to or arising out of the Chapter 11 Cases
prior to the Plan Effective Date, the formulation, preparation, dissemination, negotiation, or filing of the
Restructuring Support Agreement and related prepetition transactions, the Disclosure Statement, the Sale
Transaction, the Plan, the Plan Supplement, any other Definitive Document, or any Restructuring
Transaction, or any contract, instrument, release or other agreement or document created or entered into in
connection with the Restructuring Support Agreement, the Disclosure Statement, the Plan, the Plan
Supplement, the Sale Transaction, any other Definitive Document, any of the Restructuring Transactions,
the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of the Sale Transaction, the
pursuit of Consummation, the administration and implementation of the Plan, including the issuance of
securities pursuant to the Plan, or the distribution of property under the Plan or any other related agreement,
except for claims related to any act or omission that is determined in a Final Order to have constituted gross
negligence, willful misconduct, or actual fraud. The Exculpated Parties have, and upon completion of the
Plan shall be deemed to have, participated in good faith and in compliance with the applicable laws with
regard to the solicitation of votes and distribution of consideration pursuant to the Plan and, therefore, are
not, and on account of such distributions shall not be, liable at any time for the violation of any applicable
law, rule, or regulation governing the solicitation of acceptances or rejections of the Plan or such
distributions made pursuant to the Plan. Notwithstanding anything to the contrary in the foregoing, the

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exculpation set forth above does not exculpate any obligations arising on or after the Plan Effective Date
of any Person or Entity under the Plan, any post-Effective Date transaction contemplated by the
Restructuring Transactions, or any document, instrument, or agreement (including those set forth in the
Plan Supplement) executed to implement the Plan.

        Injunction.

         Effective as of the Plan Effective Date, all Entities that have held, hold, or may hold Claims,
Interests, or Causes of Actions that have been released, discharged, or are subject to exculpation are
permanently enjoined, from and after the Plan Effective Date, from taking any of the following actions
against, as applicable, the Debtors, the Wind-Down Debtor, the Exculpated Parties, or the Released Parties:
(1) commencing or continuing in any manner any action or other proceeding of any kind on account of or
in connection with or with respect to any such Claims, Interests, or Causes of Actions; (2) enforcing,
attaching, collecting, or recovering by any manner or means any judgment, award, decree, or order against
such Entities on account of or in connection with or with respect to any such Claims, Interests, or Causes
of Actions; (3) creating, perfecting, or enforcing any encumbrance of any kind against such Entities or the
property or the estates of such Entities on account of or in connection with or with respect to any such
Claims, Interests, or Causes of Actions; (4) asserting any right of setoff, subrogation, or recoupment of any
kind against any obligation due from such Entities or against the property of such Entities on account of or
in connection with or with respect to any such Claims, Interests, or Causes of Actions unless such Holder
has filed a motion requesting the right to perform such setoff on or before the Plan Effective Date, and
notwithstanding an indication of a claim or interest or otherwise that such Holder asserts, has, or intends to
preserve any right of setoff pursuant to applicable law or otherwise; and (5) commencing or continuing in
any manner any action or other proceeding of any kind on account of or in connection with or with respect
to any such Claims, Interests, or Causes of Actions released, settled or subject to exculpation pursuant to
the Plan. Notwithstanding anything to the contrary in the foregoing, the injunction set forth above does
not enjoin the enforcement of any obligations arising on or after the Plan Effective Date of any Person or
Entity under the Plan, any post-Effective Date transaction contemplated by the Restructuring Transactions,
or any document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan.

         Upon entry of the Confirmation Order, all Holders of Claims and Interests and their respective
current and former employees, agents, officers, directors, managers, principals, and direct and indirect
Affiliates, in their capacities as such, shall be enjoined from taking any actions to interfere with the
implementation or Consummation of the Plan. Each Holder of an Allowed Claim or Allowed Interest, as
applicable, by accepting, or being eligible to accept, distributions under or Reinstatement of such Claim or
Interest, as applicable, pursuant to the Plan, shall be deemed to have consented to the injunction provisions
set forth in this [Error! Reference source not found..F].

        No Person or Entity may commence or pursue a Claim or Cause of Action of any kind against the
Debtors, the Wind-Down Debtor, the Exculpated Parties, or the Released Parties that relates to or is
reasonably likely to relate to any act or omission in connection with, relating to, or arising out of a Claim
or Cause of Action subject to [Article VIII.C, Article VIII.D, and Article VIII.E] hereof, without the
Bankruptcy Court (i) first determining, after notice and a hearing, that such Claim or Cause of Action
represents a colorable Claim of any kind, and (ii) specifically authorizing such Person or Entity to bring
such Claim or Cause of Action against any such Debtor, Wind-Down Debtor, Exculpated Party, or Released
Party.

        The Bankruptcy Court will have sole and exclusive jurisdiction to adjudicate the underlying
colorable Claim or Causes of Action.


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                                                  EXHIBIT C

                                                Form of Joinder

        The undersigned (“Joinder Party”) hereby acknowledges that it has read and understands
the Restructuring Support Agreement, dated as of June [●], 2023 (the “Agreement”)1 by and
among PGX Holdings, Inc. (“PGX”), John C. Heath, Attorney At Law PC (d/b/a Lexington Law
Firm), the other Company Parties, and the Consenting Stakeholders and agrees to be bound by the
terms and conditions of the Agreement as a Consenting Stakeholder, and shall be deemed a
“Consenting Stakeholder” and a “Party” under the terms of the Agreement.

         The Joinder Party specifically agrees to be bound by the terms and conditions of the
Agreement and makes all representations and warranties contained in the Agreement as of the date
of this Joinder and any further date specified in the Agreement.

          This Joinder shall be governed by the governing law set forth in the Agreement.

Date Executed:

[JOINDER PARTY]

______________________________________
Name:
Title:

Address:

E-mail address(es):


    Aggregate Amounts Beneficially Owned or Managed on Account of:

    First Lien Claims

    Second Lien Claims

    Equity Interests




1     Capitalized terms not used but not otherwise defined in this joinder shall have the meanings ascribed to such
      terms in the Agreement.
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                                                   EXHIBIT D

                                     Provision for Transfer Agreement

       The undersigned (“Transferee”) hereby acknowledges that it has read and understands the
Restructuring Support Agreement, dated as of June ___, 2023 (the “Agreement”),1 by and among
PGX Holdings, Inc. and its affiliates and subsidiaries bound thereto (including John C. Heath,
Attorney At Law PC (d/b/a Lexington Law Firm)), and the Consenting Stakeholders, including
the transferor to the Transferee of any Company Claims/Interests (each such transferor, a
“Transferor”), and agrees to be bound by the terms and conditions thereof to the extent the
Transferor was thereby bound, and shall be deemed a “Consenting Stakeholder” and a “Consenting
Lender” under the terms of the Agreement.

        The Transferee specifically agrees to be bound by the terms and conditions of the
Agreement and makes all representations and warranties contained therein as of the date of the
Transfer, including the agreement to be bound by the vote of the Transferor if such vote was cast
before the effectiveness of the Transfer discussed herein.

Date Executed:

______________________________________
Name:
Title:
Address:
E-mail address(es):



    Aggregate Amounts Beneficially Owned or Managed on Account of:

    First Lien Claims

    Second Lien Claims

    Equity Interests




1     Capitalized terms used but not otherwise defined herein shall having the meaning ascribed to such terms in the
      Agreement.
